Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further1 of 429. PageID #: 213354
                                                      Confidentiality      Review

     1                    UNITED STATES DISTRICT COURT
     2                 FOR THE NORTHERN DISTRICT OF OHIO
     3                            EASTERN DIVISION
     4

     5    -----------------------------x
     6    IN RE: NATIONAL PRESCRIPTION             ) Case No.
     7    OPIATE LITIGATION                        ) 1:17-MD-2804
     8    APPLIES TO ALL CASES                     ) Hon. Dan A. Polster
     9    -----------------------------x
    10

    11

    12

                  VIDEOTAPED DEPOSITION OF GARY L. BOGGS
    13

                                WASHINGTON, D.C.
    14

                          THURSDAY, JANUARY 17, 2019
    15

                                    9:07 A.M.
    16

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    23    Pages: 1 - 429
    24    Reported by: Leslie A. Todd

   Golkow Litigation Services                                             Page 1
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further2 of 429. PageID #: 213355
                                                      Confidentiality      Review

     1        Deposition of GARY L. BOGGS, held at the law

     2    offices of:

     3

     4

     5                     COVINGTON & BURLING, LLP

     6                     One CityCenter

     7                     850 Tenth Street, N.W.

     8                     Washington, D.C. 20001

     9                     (202) 662-6000

    10

    11

    12

    13        Pursuant to notice, before Leslie Anne Todd,

    14    Court Reporter and Notary Public in and for the

    15    District of Columbia, who officiated in

    16    administering the oath to the witness.

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   Golkow Litigation Services                                             Page 2
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further3 of 429. PageID #: 213356
                                                      Confidentiality      Review

     1                         A P P E A R A N C E S

     2

     3    ON BEHALF OF PLAINTIFFS:

     4           WILLIAM HAWAL, ESQUIRE

     5           SPANGENBERG SHIBLEY & LIBER, LLP

     6           1001 Lakeside Avenue, East, Suite 1700

     7           Cleveland, Ohio 44114

     8           (216) 697-3232

     9

    10           TROY RAFFERTY, ESQUIRE

    11           LEVIN PAPANTONIO THOMAS MITCHELL RAFFERTY &

    12             PROCTOR, P.A.

    13           316 South Baylen Street

    14           Pensacola, Florida 32502

    15           (850) 435-7163

    16

    17    ON BEHALF OF THE WORCESTER, MASSACHUSETTS

    18    PLAINTIFFS:

    19           BETH KASWAN, ESQUIRE

    20           SEAN T. MASSON, ESQUIRE

    21           SCOTT & SCOTT ATTORNEYS AT LAW, LLP

    22           230 Park Avenue, 17th Floor

    23           New York, New York 10169-1820

    24           (212) 223-6444

   Golkow Litigation Services                                             Page 3
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further4 of 429. PageID #: 213357
                                                      Confidentiality      Review

     1    APPEARANCES (Continued):

     2    ON BEHALF OF McKESSON CORPORATION:

     3           ANDREW STANNER, ESQUIRE

     4           MEGHAN E. MONAGHAN, ESQUIRE

     5           COVINGTON & BURLING LLP

     6           One City Center

     7           850 Tenth Street, N.W.

     8           Washington, D.C. 20001-4956

     9           (202) 662-5261

    10

    11    ON BEHALF OF THE WITNESS:

    12           MICHAEL J. SATIN, ESQUIRE

    13           MILLER & CHEVALIER

    14           900 16th Street, N.W.

    15           Washington, D.C. 20006

    16           (202) 626-6009

    17

    18    ON BEHALF OF AMERISOURCEBERGEN DRUG:

    19           STAN PERRY, ESQUIRE

    20           LINDSAY A. DEFRANCESCO, ESQUIRE

    21           REED SMITH, LLP

    22           811 Main Street, Suite 1700

    23           Houston, Texas 77002-6110

    24           (713) 469-3847

   Golkow Litigation Services                                             Page 4
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further5 of 429. PageID #: 213358
                                                      Confidentiality      Review

     1    APPEARANCES (Continued):

     2

     3    ON BEHALF OF CARDINAL HEALTH:

     4           JOSEPH S. BUSHUR, ESQUIRE

     5           WILLIAMS & CONNOLLY LLP

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     7           Washington, D.C. 20005

     8           (202) 434-5013

     9

    10    ON BEHALF OF HBC CO.:

    11           SCOTT D. LIVINGSTON, ESQUIRE

    12           MARCUS & SHAPIRA, LLP

    13           One Oxford Centre, 35th Floor

    14           Pittsburgh, Pennsylvania 15219

    15           (412) 471-3490

    16

    17    ON BEHALF OF JANSSEN PHARMACEUTICALS AND JOHNSON &

    18       JOHNSON:

    19           EMILIE WINCKEL, ESQUIRE (Telephonically)

    20           O'MELVENY & MYERS, LLP

    21           1625 Eye Street, N.W.

    22           Washington, D.C. 20006

    23           (202) 383-5300

    24

   Golkow Litigation Services                                             Page 5
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further6 of 429. PageID #: 213359
                                                      Confidentiality      Review

     1    APPEARANCES (Continued):

     2

     3    ON BEHALF OF ENDO PHARMACEUTICALS AND PAR:

     4           SETH WIENER, ESQUIRE (Telephonically)

     5           ARNOLD & PORTER KAYE SCHOLER LLP

     6           601 Massachusetts Avenue, N.W.

     7           Washington, D.C. 20001-3743

     8           (202) 942-5435

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    10    ON BEHALF OF WALMART:

    11           RICHARD M. BRODSKY, ESQUIRE (Telephonically)

    12           JONES DAY

    13           150 West Jefferson Avenue, Suite 2100

    14           Detroit, Michigan 48226-4438

    15           (313) 733-3939

    16

    17    ON BEHALF OF UCB:

    18           DIANE E. LIFTON, ESQUIRE (Telephonically)

    19           HUGHES HUBBARD & REED, LLP

    20           One Battery Park Plaza

    21           New York, New York 10004-1482

    22           (212) 837-6000

    23

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   Golkow Litigation Services                                             Page 6
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further7 of 429. PageID #: 213360
                                                      Confidentiality      Review

     1    APPEARANCES (Continued):

     2

     3    ON BEHALF OF C&R PHARMACY:

     4           AMANDA ROSENTHAL, ESQUIRE (Telephonically)

     5

     6    ALSO PRESENT:

     7           EVAN WOLFE (Trial technician)

     8           DANIEL HOLMSTOCK (Videographer)

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   Golkow Litigation Services                                             Page 7
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further8 of 429. PageID #: 213361
                                                      Confidentiality      Review

     1                            C O N T E N T S

     2    EXAMINATION OF GARY L. BOGGS                                   PAGE

     3           By Mr. Hawal                                       17, 387

     4           By Mr. Rafferty                                         266

     5           By Mr. Stanner                                          353

     6

     7                          E X H I B I T S

     8                     (Attached to transcript)

     9    MCKESSON-BOGGS DEPOSITION EXHIBITS                             PAGE




   Golkow Litigation Services                                             Page 8
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-5 Filed:
                               Subject   to 07/24/19
                                             Further9 of 429. PageID #: 213362
                                                      Confidentiality      Review

     1                    E X H I B I T S (Continued)

     2                     (Attached to transcript)

     3    MCKESSON-BOGGS DEPOSITION EXHIBITS                             PAGE




    23

    24

   Golkow Litigation Services                                             Page 9
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 10 Confidentiality
                                                         of 429. PageID #: 213363
                                                                              Review

      1                    E X H I B I T S (Continued)

      2                      (Attached to transcript)

      3    MCKESSON-BOGGS DEPOSITION EXHIBITS                               PAGE




   Golkow Litigation Services                                               Page 10
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 11 Confidentiality
                                                         of 429. PageID #: 213364
                                                                              Review

      1                    E X H I B I T S (Continued)

      2                      (Attached to transcript)

      3    MCKESSON-BOGGS DEPOSITION EXHIBITS                               PAGE




   Golkow Litigation Services                                               Page 11
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 12 Confidentiality
                                                         of 429. PageID #: 213365
                                                                              Review

      1                    E X H I B I T S (Continued)

      2                      (Attached to transcript)

      3    MCKESSON-BOGGS DEPOSITION EXHIBITS                               PAGE




   Golkow Litigation Services                                               Page 12
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 13 Confidentiality
                                                         of 429. PageID #: 213366
                                                                              Review

      1                    E X H I B I T S (Continued)

      2                      (Attached to transcript)

      3    MCKESSON-BOGGS DEPOSITION EXHIBITS                               PAGE




     23

     24

   Golkow Litigation Services                                               Page 13
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 14 Confidentiality
                                                         of 429. PageID #: 213367
                                                                              Review

      1                    E X H I B I T S (Continued)

      2                      (Attached to transcript)

      3    MCKESSON-BOGGS DEPOSITION EXHIBITS                               PAGE




   Golkow Litigation Services                                               Page 14
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 15 Confidentiality
                                                         of 429. PageID #: 213368
                                                                              Review

      1                    E X H I B I T S (Continued)

      2                      (Attached to transcript)

      3    MCKESSON-BOGGS DEPOSITION EXHIBITS                               PAGE




     16

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   Golkow Litigation Services                                               Page 15
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 16 Confidentiality
                                                         of 429. PageID #: 213369
                                                                              Review

      1                        P R O C E E D I N G S

      2                          -------------------

      3                   THE VIDEOGRAPHER:         We are now on the

      4    record.     My name is Daniel Holmstock.             I'm the

      5    videographer for Golkow Litigation Services.

      6    Today's date is January 17th, 2019.               The time on

      7    the video screen is 9:07 a.m.

      8                   This video deposition is being held at

      9    the law offices of Covington & Burling LLP at One

     10    City Center, 850 10th Street, Northwest, in

     11    Washington, D.C., in the matter of In Re:

     12    National Prescription Opiate Litigation, pending

     13    before the United States District Court for the

     14    Northern District of Ohio, Eastern Division.

     15                   Our deponent today is Mr. Gary Boggs.

     16                   Counsel will be noted on the

     17    stenographic record for appearances.

     18                   The court reporter is Leslie A. Todd,

     19    who will now administer the oath to the witness.

     20                            GARY L. BOGGS,

     21               and having been first duly sworn,

     22            was examined and testified as follows:

     23                          DIRECT EXAMINATION

     24    BY MR. HAWAL:

   Golkow Litigation Services                                               Page 16
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 17 Confidentiality
                                                         of 429. PageID #: 213370
                                                                              Review

      1            Q      Good morning, Mr. Boggs.

      2            A      Good morning.

      3            Q      Please tell us your full name.

      4            A      Gary Lee Boggs.

      5            Q      Mr. Boggs, you've given depositions

      6    before?

      7            A      I have.

      8            Q      Approximately how many times?

      9            A      Dozens of times throughout my career.

     10            Q      All right.      You understand that you're

     11    testifying as if you would be in front of a judge

     12    and a jury this morning?

     13            A      I do.

     14            Q      All right.      What have you done to

     15    prepare yourself for this deposition today?

     16            A      I've had meetings with counsel in

     17    preparation for it.

     18            Q      How many meetings?

     19            A      There was about four.

     20            Q      All right.      And how long were those

     21    meetings?      How much time total did you spend with

     22    counsel?

     23            A      I didn't keep track of it.            I mean it

     24    was four days.

   Golkow Litigation Services                                               Page 17
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 18 Confidentiality
                                                         of 429. PageID #: 213371
                                                                              Review

      1            Q      Approximately.

      2            A      Approximately six, seven hours a day

      3    times four.

      4            Q      And have you reviewed any deposition

      5    transcripts that have been taken in this case of

      6    other witnesses?

      7            A      I have not.

      8            Q      Okay.    What is your current position

      9    with McKesson?

     10            A      I am Vice President of Regulatory

     11    Affairs and Compliance.

     12            Q      And how long have you had that position?

     13            A      Since August of last year.

     14            Q      And can you tell me what your job

     15    responsibilities are or a description of what --

     16    what you do, what your role is?

     17            A      Sure.    I'm responsible for overseeing

     18    the controlled substance monitoring program at

     19    McKesson for the independent small, medium chain

     20    pharmacies, hospitals, veterans, government

     21    accounts, and overseeing a team that implements

     22    that program across the United States.

     23            Q      Who do you report to?

     24            A      I report to Barbara Rowland, who is the

   Golkow Litigation Services                                               Page 18
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 19 Confidentiality
                                                         of 429. PageID #: 213372
                                                                              Review

      1    senior vice president of Regulatory Affairs and

      2    Compliance.

      3            Q      And prior to the current position that

      4    you hold, what position did you have at McKesson?

      5            A      I was a senior director of Regulatory

      6    Affairs for the East region.

      7            Q      And over what period of time did you

      8    hold that position?

      9            A      From late November of 2013 until August

     10    of 2018.

     11            Q      And is that when you started with

     12    McKesson, in late 2013?

     13            A      In late November 2013, yes.

     14            Q      And what was your job responsibility as

     15    senior director of Regulatory Affairs for the East

     16    region?

     17            A      It's similar to what it is now, except I

     18    covered only half of the United States, the

     19    eastern half of the United States.

     20            Q      Would I understand your job

     21    responsibility to have been, for the entire time

     22    that you've been with McKesson, to see to it that

     23    McKesson complies with the federal laws and

     24    regulations which exist in an effort to prevent

   Golkow Litigation Services                                               Page 19
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 20 Confidentiality
                                                         of 429. PageID #: 213373
                                                                              Review

      1    the diversion of controlled substances outside of

      2    the legal framework or legal channels?

      3                   MR. STANNER:       Object to the form.

      4                   THE WITNESS:       I believe that that's part

      5    of the responsibilities, yes.

      6    BY MR. HAWAL:

      7            Q      As I understand it, before you joined

      8    McKesson in 2013, you were an employee of the Drug

      9    Enforcement Administration, the DEA?

     10            A      I was.

     11            Q      All right.      Over what period of time

     12    were you with the DEA?

     13            A      From approximately June of 1985 until

     14    the end of June 2012.

     15            Q      And starting in June of 1985, I'm going

     16    to ask you to take us through what positions you

     17    held with the DEA.         Can you tell us what your

     18    position was when you first started and what your

     19    responsibilities were?

     20            A      Sure, I'd be happy to.

     21                   I became a special agent with the Drug

     22    Enforcement Administration in 1985, was

     23    transferred from Orlando, Florida, to Detroit.                   I

     24    was a special agent in the Detroit office until

   Golkow Litigation Services                                               Page 20
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 21 Confidentiality
                                                         of 429. PageID #: 213374
                                                                              Review

      1    about March of 1999, when I was promoted to a

      2    group supervisor in Detroit.             I --

      3            Q      Excuse me, if I can interrupt for a

      4    minute.

      5                   Up through March of 1999, did you have

      6    any responsibilities in dealing with manufacturers

      7    or distributors of controlled substances?

      8            A      Not very much, no.         Very little.

      9            Q      So you stopped at March of 1999.              Can

     10    you continue and take us forward with your

     11    positions with the DEA.

     12            A      Sure.    I was a group supervisor

     13    beginning around March of 1999.              I oversaw as a

     14    group supervisor two or three different units.

     15    Then I was a unit chief, also in Detroit, over the

     16    special services section.

     17                   I was then transferred to headquarters

     18    here in the District in 2003.             I was a unit chief

     19    in the Office of Special Intelligence.                Was then

     20    promoted in January of 2006 to be the executive

     21    assistant in the Office of Diversion Control, and

     22    I held that position until I retired from the DEA

     23    in June of 2012.

     24            Q      All right.      And as executive assistant

   Golkow Litigation Services                                               Page 21
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 22 Confidentiality
                                                         of 429. PageID #: 213375
                                                                              Review

      1    in the division of -- what -- what was that again?

      2    What --

      3            A      At the time it was called the Office of

      4    Diversion Control.         It's now the Diversion Control

      5    Division.

      6            Q      And what were your responsibilities in

      7    that position?

      8            A      My responsibilities were, I would sort

      9    of say like a chief of staff to the person

     10    overseeing that section.           We had day-to-day

     11    responsibilities for the implementation of the

     12    regulatory aspect of the Controlled Substances

     13    Act, overseeing the DEA registrants that were

     14    authorized to handle controlled substances.

     15    That's essentially it.

     16            Q      And the DEA registrants that you're

     17    referring to would be wholesalers like McKesson?

     18            A      That's one example of them.

     19            Q      Another would be manu- --

     20                   (Interruption by counsel on the phone.)

     21            Q      Another would --

     22                   MR. HAWAL:      Can we please have people on

     23    the phone mute their lines?

     24                   (A discussion was held off the record.)

   Golkow Litigation Services                                               Page 22
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 23 Confidentiality
                                                         of 429. PageID #: 213376
                                                                              Review

      1                   MR. HAWAL:      Yeah, let's go off the

      2    record.

      3                   THE VIDEOGRAPHER:         The time is 9:15 a.m.

      4    We're going off the record.

      5                   (Resolving technical difficulties.)

      6                   THE VIDEOGRAPHER:         The time is 9:20 a.m.

      7    We're back on the record.

      8                   MR. HAWAL:      Bill Hawal for plaintiffs.

      9                   MR. RAFFERTY:       Troy Rafferty for

     10    plaintiffs.

     11                   MR. WOLFE:      Evan Wolfe, technical

     12    support, for plaintiffs.

     13                   MS. KASWAN:      Beth Kaswan for plaintiffs

     14    in the Massachusetts state action.

     15                   MR. LIVINGSTON:        Scott Livingston for

     16    Defendant HPC.

     17                   MR. BUSHUR:      Joseph Bushur for Cardinal

     18    Health.

     19                   MR. PERRY:      Stan Perry of Reed Smith for

     20    AmerisourceBergen.

     21                   MR. SATIN:      Michael Satin for Miller &

     22    Chevalier on behalf of Gary Boggs.

     23                   MS. MONAGHAN:       Meghan Monaghan from

     24    Covington & Burling on behalf of McKesson.

   Golkow Litigation Services                                               Page 23
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 24 Confidentiality
                                                         of 429. PageID #: 213377
                                                                              Review

      1                   MR. STANNER:       Andrew Stanner of

      2    Covington & Burling on behalf of McKesson.

      3                   MR. HAWAL:      Folks on the phone, can you

      4    please identify yourselves?

      5                   MR. WIENER:      This is Seth Wiener from

      6    Arnold & Porter for Endo and PAR defendants.

      7                   MS. WINCKEL:       Emilie Winckel from

      8    O'Melveny for Janssen and J&J.

      9                   MR. BRODSKY:       Richard Brodsky from Jones

     10    Day for Walmart.

     11                   MS. ROSENTHAL:       Amanda Rosenthal --

     12                   MR. HAWAL:      One at a time, please.

     13                   THE REPORTER:       Amanda --

     14                   MS. ROSENTHAL:       Rosenthal.

     15                   MR. HAWAL:      For whom?

     16                   MS. ROSENTHAL:       C&R Pharmacy.

     17                   MR. HAWAL:      Anyone else?

     18                   MS. LIFTON:      Diane Lifton, Hughes

     19    Hubbard, for UCB.

     20                   THE REPORTER:       Can you repeat your name,

     21    please?

     22                   MS. LIFTON:      Diane Lifton, L-I-F-T-O-N.

     23                   THE REPORTER:       Thank you.

     24    BY MR. HAWAL:

   Golkow Litigation Services                                               Page 24
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 25 Confidentiality
                                                         of 429. PageID #: 213378
                                                                              Review

      1            Q      Mr. Boggs, before we went off the

      2    record, I believe that you mentioned that you

      3    joined DEA's Office of Diversion Control in

      4    January of 2006; is that correct?

      5            A      That's correct, yes.

      6            Q      And were you -- in that position, were

      7    you responsible for interacting with wholesalers

      8    and manufacturers of controlled substances?

      9            A      I was.

     10            Q      And was part of your job responsibility

     11    to ensure that they were complying with the

     12    Controlled Substances Act and federal laws and

     13    regulations relating to controlled substances?

     14            A      It was.

     15            Q      All right.      And was your direct

     16    supervisor Mr. Rannazzisi?

     17            A      He was.

     18            Q      And how long was he your direct

     19    supervisor?

     20            A      The entire -- from 2000 -- January 2006

     21    till I retired in June of 2012.

     22            Q      Before you became an employee of

     23    McKesson in late 2013, was there a period of time

     24    that you were a consultant for McKesson?

   Golkow Litigation Services                                               Page 25
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 26 Confidentiality
                                                         of 429. PageID #: 213379
                                                                              Review

      1            A      I consulted for McKesson just for a

      2    couple of times prior to becoming an employee of

      3    McKesson, yes.

      4            Q      And over what period of time did that

      5    occur?

      6            A      It would have been, I believe, around

      7    the summer of 2013, on and off a couple of times.

      8            Q      And what did -- what was your role --

      9    what did you -- what were you doing or what were

     10    you asked to do as a consultant for McKesson?

     11            A      I was asked to look at the Regulatory

     12    Affairs program that they had.             I was asked to

     13    provide some training.          I was asked to speak at a

     14    couple of different conferences that McKesson had

     15    put on for other folks outside of McKesson.

     16            Q      And who at -- who at McKesson recruited

     17    you or retained you to be a consultant?

     18            A      Don Walker.

     19            Q      Did you know Don Walker prior to that

     20    time?    Were you acquainted with him in any way?

     21            A      I might have -- in my capacity at DEA,

     22    may have been at a meeting that he was at, but

     23    other than that, I did not know him.

     24            Q      And who was it that encouraged you or

   Golkow Litigation Services                                               Page 26
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 27 Confidentiality
                                                         of 429. PageID #: 213380
                                                                              Review

      1    recruited you as an employee to join McKesson in

      2    2013?

      3                   MR. STANNER:       Objection.      Form.

      4                   THE WITNESS:       They advertised a

      5    position, and I talked to Don Walker about it.

      6    BY MR. HAWAL:

      7            Q      When you were with the DEA, did you

      8    always try to fairly and accurately set forth the

      9    policies and positions of the DEA in your

     10    communications with pharmaceutical distributors

     11    and their trade association, HDMA?

     12                   MR. SATIN:      Mr. Boggs, I'm going to

     13    instruct you not to answer that question to the

     14    extent doing so would require you to disclose

     15    information you acquired while you were at DEA --

     16    at the DEA, to the extent that information is not

     17    public and part of your official responsibilities

     18    and duties.

     19    BY MR. HAWAL:

     20            Q      Will you answer the question, sir?

     21            A      I -- I did not receive clearance from

     22    the government to speak while I was there, so I

     23    don't believe that I can answer that question.

     24            Q      Is it your position that your

   Golkow Litigation Services                                               Page 27
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 28 Confidentiality
                                                         of 429. PageID #: 213381
                                                                              Review

      1    interactions with various distributors is in some

      2    way confidential information?

      3                   MR. SATIN:      Objection.      Sir, it's not

      4    his decision to make.

      5                   MR. HAWAL:      I under- --

      6                   MR. SATIN:      It's the government's

      7    decision to make, so it's not a question for him.

      8    He doesn't have authorization to speak.                The

      9    government can't be here.           So he can't provide

     10    those answers until the government gives him

     11    clearance to do so.

     12                   MR. HAWAL:      Well, the government -- the

     13    government's position, as I understand it and as

     14    was expressed at the time of a conference with the

     15    court, is that if there is information that was in

     16    the public domain, that the witness is permitted

     17    to provide answers to those kinds of questions.

     18                   Is that -- is your understanding

     19    different?

     20                   MR. SATIN:      If it is public information,

     21    that's correct.        Your question, as I understood

     22    it, was not calling for just public information.

     23    BY MR. HAWAL:

     24            Q      Well, sir, what is your understanding

   Golkow Litigation Services                                               Page 28
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 29 Confidentiality
                                                         of 429. PageID #: 213382
                                                                              Review

      1    of -- of what HDMA was?

      2            A      HDMA is a trade association for

      3    manufacturers and distributors.

      4            Q      And is it your understanding that the

      5    HDMA had periodic meetings where representatives

      6    of various pharmaceutical distributors of

      7    controlled substances would attend?

      8                   MR. SATIN:      You may answer that question

      9    to the extent doing so would not require you to

     10    disclose non-public information that you acquired

     11    during the course of your employment.

     12                   THE WITNESS:       It's my understanding that

     13    they would have those types of meetings, yes.

     14    BY MR. HAWAL:

     15            Q      And those meetings would also be

     16    attended by employees or representatives of HDMA,

     17    the trade association?

     18                   MR. STANNER:       Object to the form of the

     19    question.      Vague, time frame.

     20                   THE WITNESS:       Could you be more

     21    specific?

     22    BY MR. HAWAL:

     23            Q      During the time that you were with the

     24    Office of Diversion Control, would meetings that

   Golkow Litigation Services                                               Page 29
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 30 Confidentiality
                                                         of 429. PageID #: 213383
                                                                              Review

      1    would be attended by pharmaceutical manu- --

      2    pharmaceutical distributor representatives also be

      3    attended by employees or representatives of HDMA?

      4            A      They may have, and other times they may

      5    not have.

      6            Q      Did you attend such meetings?

      7                   MR. SATIN:      Mr. Boggs, I'm going to

      8    instruct you not to answer that question for the

      9    same reasons we expressed earlier.

     10                   MR. HAWAL:      The HDMA would indicate --

     11    attendance at meetings of HDMA would indicate that

     12    that's public information.            There's -- there's

     13    nothing that's confidential about HDMA as it

     14    relates to Mr. Boggs, is there?

     15                   MR. SATIN:      I don't know.

     16                   The instruction to Mr. Boggs is,

     17    Mr. Boggs, to the extent he believes that it was

     18    public information, he can answer it.                To the

     19    extent the information -- he's revealing

     20    information that's not public, he can't.

     21    BY MR. HAWAL:

     22            Q      Mr. Boggs, when you attended meetings

     23    with the HDMA, did you consider those -- that

     24    information to be generally public?

   Golkow Litigation Services                                               Page 30
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 31 Confidentiality
                                                         of 429. PageID #: 213384
                                                                              Review

      1            A      I did not, no.

      2            Q      In terms of your work with the Office of

      3    Diversion Control, did you attend public meetings

      4    where you set forth the positions of the DEA -- of

      5    the DEA with respect to maintaining appropriate

      6    obligations under the Controlled Substances Act?

      7            A      I believe that I did speak at some

      8    public conferences about the Drug Enforcement

      9    Administration and the regulatory requirements.

     10            Q      And its positions with regard to the

     11    obligations of wholesalers like McKesson to

     12    maintain appropriate legal obligations with

     13    respect to avoiding the diversion of controlled

     14    substances?

     15            A      In some form of that, yes.

     16            Q      And would those be meetings in which or

     17    presentations in which HDMA members and/or

     18    representatives of drug wholesalers like McKesson

     19    would also be in attendance at?

     20            A      I don't recall whether or not any of

     21    those representatives were in attendance or not.

     22            Q      When you were with the Office of

     23    Diversion Control, were you required to know what

     24    the legal obligations of pharmaceutical

   Golkow Litigation Services                                               Page 31
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 32 Confidentiality
                                                         of 429. PageID #: 213385
                                                                              Review

      1    distributors were with regard to their compliance

      2    with federal laws and regulations?

      3                   MR. SATIN:      Objection.

      4                   Mr. Boggs, don't answer that question to

      5    the extent it would require you to disclose

      6    non-public information that you have obtained in

      7    the course of your work at DEA.

      8    BY MR. HAWAL:

      9            Q      Do you -- do you refuse to answer, sir?

     10            A      I am -- do not want to break the law, so

     11    I don't -- I have not been cleared to answer

     12    non-public information.

     13            Q      Well, sir, do you have knowledge about

     14    the substance of the Controlled Substances Act?

     15                   MR. SATIN:      To the extent that knowledge

     16    comes from your time at the DEA, don't answer

     17    that.

     18                   If you want to ask him about his time at

     19    McKesson and his knowledge of those laws, you may

     20    do so.

     21                   THE WITNESS:       I -- from my time at

     22    McKesson, I am aware of what some of the

     23    regulatory obligations are, yes.

     24    BY MR. HAWAL:

   Golkow Litigation Services                                               Page 32
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 33 Confidentiality
                                                         of 429. PageID #: 213386
                                                                              Review

      1            Q      Were those regulatory obligations that

      2    you became aware of when -- since you've been with

      3    McKesson, were they the same obligations that

      4    existed prior to that time as -- as to the period

      5    of time that you were with the DEA?

      6                   MR. SATIN:      That question necessarily

      7    calls for his knowledge when he was at DEA, so

      8    object.

      9                   Don't answer that question.

     10                   MR. STANNER:       Object to the form.

     11                   THE WITNESS:       For the most part, I

     12    believe they are.         There have been some recent

     13    legislative changes to some of the regulatory

     14    obligations.

     15    BY MR. HAWAL:

     16            Q      The regulatory obligations that apply to

     17    distributors of controlled substances were created

     18    with the Controlled Substances Act in 1970; is

     19    that correct?

     20            A      Approximately that time, yes.

     21            Q      And up until the time of recent changes

     22    in the law as a result of Congressional action,

     23    have the obligations under the Controlled

     24    Substances Act been fairly consistent and uniform

   Golkow Litigation Services                                               Page 33
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 34 Confidentiality
                                                         of 429. PageID #: 213387
                                                                              Review

      1    since 1970?

      2                   MR. STANNER:       Objection to the form.

      3                   THE WITNESS:       To the best of my

      4    knowledge, the regulatory obligations as written

      5    in the 21 CFR have not changed.

      6    BY MR. HAWAL:

      7            Q      Are you familiar with the Distributor

      8    Initiative Program?

      9                   MR. SATIN:      To the extent that your

     10    knowledge comes from your time with the DEA, don't

     11    answer that question.

     12                   THE WITNESS:       I am familiar with the

     13    Distributor Initiative in general, yes.

     14    BY MR. HAWAL:

     15            Q      And are you familiar with the purpose of

     16    the Distributor Initiative Program?

     17            A      I don't believe that I'm cleared to

     18    answer that question.

     19            Q      What is your understanding as to when

     20    the opioid crisis was first appreciated in the

     21    United States?

     22            A      I believe that it began approximately

     23    three decades ago.

     24            Q      And is it your understanding that the

   Golkow Litigation Services                                               Page 34
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 35 Confidentiality
                                                         of 429. PageID #: 213388
                                                                              Review

      1    opioid crisis since that time has consistently

      2    worsened in terms of its effect on individuals as

      3    well as communities and governmental entities in

      4    the United States?

      5                   MR. STANNER:       Object to the form.

      6                   THE WITNESS:       I believe that that is an

      7    accurate representation.

      8    BY MR. HAWAL:

      9            Q      Were you aware that Mr. Rannazzisi sent

     10    a letter to all distributors in the United States

     11    on September 27th, 2006?

     12                   MR. SATIN:      Objection to the extent that

     13    calls for --

     14                   THE REPORTER:       I'm sorry, Counsel, can

     15    you speak up a little bit?

     16                   MR. SATIN:      Yeah, I'm sorry.

     17                   Objection to the question.

     18                   And I instruct Mr. Boggs not to answer

     19    that question insofar as it requires him to

     20    disclose information about his time when he was at

     21    the DEA.

     22                   THE WITNESS:       I'm aware that that --

     23    that letter's -- that the distributors have that

     24    letter, yes.

   Golkow Litigation Services                                               Page 35
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 36 Confidentiality
                                                         of 429. PageID #: 213389
                                                                              Review

      1    BY MR. HAWAL:

      2            Q      All right.      And what is your

      3    understanding as to the purpose of

      4    Mr. Rannazzisi's letter?

      5                   MR. SATIN:      Objection.

      6                   Mr. Boggs, don't answer that question.

      7                   MR. HAWAL:      Counsel, we've already taken

      8    Mr. Boggs' deposition and he answered questions

      9    about that letter in some detail earlier this

     10    year.    Is it your position that something has

     11    changed since his last deposition?

     12                   MR. SATIN:      Yes, I've spoken to the

     13    government -- I spoke to Mr. Bennett yesterday,

     14    and he made very clear that he should not be

     15    answering questions about his time at the DEA for

     16    information that is non-public and as part of his

     17    official duties without authorization from the

     18    government.

     19                   So I wasn't at that hearing, but I can

     20    tell you that Mr. Boggs does not have

     21    authorization to do that.

     22                   MR. HAWAL:      Let's take a break.

     23                   THE VIDEOGRAPHER:         The time is

     24    9:35 a.m., and we're going off the record.

   Golkow Litigation Services                                               Page 36
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 37 Confidentiality
                                                         of 429. PageID #: 213390
                                                                              Review

      1                   (Recess.)

      2                   THE VIDEOGRAPHER:         The time is 9:53 a.m.

      3    We're back on the record.

      4                   (Plaintiffs' Exhibit No. 1 was

      5                   marked for identification.)

      6    BY MR. HAWAL:

      7            Q      Mr. Boggs, I'm going to hand you what

      8    we've marked as Plaintiffs' Exhibit 1.

      9                   Plaintiffs' Exhibit 1 is the

     10    September 27th, 2006 Department of Justice, Drug

     11    Enforcement Administration letter to McKesson,

     12    correct?

     13            A      It is.     It's a generic letter.          I

     14    don't -- I don't know if this specific one was to

     15    McKesson.

     16            Q      And since you've joined McKesson, have

     17    you seen this letter since you've joined McKesson?

     18            A      I have.

     19            Q      And do you know since you've joined

     20    McKesson that this letter was sent to every

     21    distributor by Mr. Rannazzisi in September of

     22    2006?

     23                   MR. STANNER:       Object to the form.

     24                   THE WITNESS:       I believe that that's

   Golkow Litigation Services                                               Page 37
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 38 Confidentiality
                                                         of 429. PageID #: 213391
                                                                              Review

      1    correct, yes.

      2    BY MR. HAWAL:

      3            Q      All right.      In fact, in the first

      4    paragraph, Mr. Rannazzisi indicates that this

      5    letter is being sent to every commercial entity in

      6    the United States registered with the Drug

      7    Enforcement Administration to distribute

      8    controlled substances, correct?

      9            A      You've read that correctly, yes.

     10            Q      All right.      And you know since you've

     11    seen this letter that Mr. Rannazzisi, his

     12    intention was to reiterate to the distributors,

     13    including McKesson, the responsibilities of

     14    controlled substance distributors in view of the

     15    prescription drug abuse problem in our nation --

     16    our nation currently faces, correct?

     17                   MR. STANNER:       Object to the form.

     18                   THE WITNESS:       I believe you would have

     19    to ask him about his intention.              I --

     20    BY MR. HAWAL:

     21            Q      Well, when was the first time that you

     22    saw this letter?

     23                   MR. SATIN:      Objection, pursuant to

     24    Touhy.

   Golkow Litigation Services                                               Page 38
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 39 Confidentiality
                                                         of 429. PageID #: 213392
                                                                              Review

      1                   THE REPORTER:       Pursuant to?

      2                   MR. STANNER:       Touhy, T-U-O-H-Y, I

      3    believe is the correct spelling.

      4                   MR. STANNER:       T-O-U.     O-U.

      5                   MR. SATIN:      T-O-U-H-Y.

      6                   THE WITNESS:       I'm sorry, I don't know

      7    that I can answer that question.

      8    BY MR. HAWAL:

      9            Q      How long have you been aware that

     10    controlled prescription drugs, that their abuse is

     11    a serious and growing health problem in the United

     12    States?

     13                   MR. STANNER:       Object to the form.

     14                   THE WITNESS:       I know that prescription

     15    drug abuse has been around for decades and

     16    decades.

     17    BY MR. HAWAL:

     18            Q      And you know that it continually

     19    worsened over time?

     20                   MR. STANNER:       Object to the form.

     21                   THE WITNESS:       I believe that's correct,

     22    yes.

     23    BY MR. HAWAL:

     24            Q      Now, since you've joined McKesson, did

   Golkow Litigation Services                                               Page 39
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 40 Confidentiality
                                                         of 429. PageID #: 213393
                                                                              Review

      1    you know that distributors must be vigilant in

      2    deciding whether a prospective customer can be

      3    trusted to deliver controlled substances only for

      4    lawful purposes?

      5                   MR. STANNER:       Object to the form.

      6                   THE WITNESS:       I can't speak for all

      7    distributors.       For -- for McKesson, I understand

      8    that we have an obligation to maintain control.

      9    BY MR. HAWAL:

     10            Q      And do you understand that that

     11    responsibility is critical?

     12            A      I understand that --

     13                   MR. STANNER:       Object to the form.

     14                   THE WITNESS:       -- it's very important,

     15    yes.

     16    BY MR. HAWAL:

     17            Q      Mr. Rannazzisi in his letter in the

     18    third paragraph in the last sentence indicated

     19    that:    "This responsibility is critical, as

     20    Congress has expressly declared that the illegal

     21    distribution of controlled substances has a

     22    substantial and detrimental effect on the health

     23    and general welfare of the American people."

     24                   Is it your understanding as a McKesson

   Golkow Litigation Services                                               Page 40
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 41 Confidentiality
                                                         of 429. PageID #: 213394
                                                                              Review

      1    employee that that is a true statement?

      2            A      I believe that that's a true statement,

      3    yes.

      4            Q      And have you known since you joined

      5    McKesson that, as Mr. Rannazzisi indicates in the

      6    next paragraph:        "Although most distributors are

      7    already well aware of the following legal

      8    principles, they are reiterated here as additional

      9    background for this discussion"?

     10                   Did you know that he was reiterating

     11    what distributors should have known as of 2006

     12    based upon your work at McKesson?

     13                   MR. STANNER:       Object to the form.

     14                   MR. SATIN:      Objection that -- as I

     15    understand the question, even though you're

     16    asking as -- at McKesson, you're asking him to

     17    talk about what he understood Mr. Rannazzisi --

     18    I'm not pronouncing his name correctly -- but what

     19    that gentleman was doing as of 2006.

     20                   So I would instruct you not to answer

     21    that to the extent the answer requires you to

     22    disclose information from that time period.

     23                   THE WITNESS:       I -- you'd have to ask

     24    his -- him what his intent was.

   Golkow Litigation Services                                               Page 41
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 42 Confidentiality
                                                         of 429. PageID #: 213395
                                                                              Review

      1    BY MR. HAWAL:

      2            Q      Let's go to page 2 of this letter.

      3                   In the second paragraph, Mr. Rannazzisi

      4    says:    "Even just one distributor that uses its

      5    DEA registration to facilitate -- facilitate

      6    diversion can cause enormous harm."

      7                   As an employee of McKesson with your --

      8    based on your current knowledge, do you agree with

      9    that statement?

     10            A      I -- I think that you would have to look

     11    at the facts and circumstances of what -- whatever

     12    the incident was and to the extent of whether or

     13    not it was horrific or not.

     14            Q      Well, let's assume for the sake of my

     15    question that a distributor fails to report

     16    suspicious orders or block orders that are

     17    suspicious and delivers them to a customer.

     18                   Do you believe, based upon your current

     19    understanding of federal laws, regulations and how

     20    the distribution of controlled substances work,

     21    that just one distributor that facilitates

     22    diversion can cause enormous harm?

     23                   MR. STANNER:       Object to the form,

     24    compound, vague.

   Golkow Litigation Services                                               Page 42
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 43 Confidentiality
                                                         of 429. PageID #: 213396
                                                                              Review

      1                   THE WITNESS:       I think the first part of

      2    your statement was about failure to report a

      3    suspicious order.         That's a reporting requirement.

      4    And it -- you may be assuming that that order was

      5    shipped and maybe it wasn't shipped.

      6                   The other second part of that is

      7    assuming that even if it was shipped, that it

      8    somehow may or may not have been diverted.

      9    BY MR. HAWAL:

     10            Q      Well, let's assume it was diverted.               If

     11    it was diverted, do you agree that that would

     12    cause or could cause enormous harm?

     13                   MR. STANNER:       Object to the form.

     14                   THE WITNESS:       It depends on the facts

     15    and circumstances.         I mean you could have one

     16    shipment that might be a hundred pills that could

     17    be diverted -- that could be diverted and simply

     18    cause some harm.        Whether or not that's, quote,

     19    enormous harm, I think is relevant to the fact of

     20    the volume of what was shipped.

     21    BY MR. HAWAL:

     22            Q      Well, so -- so in your -- in your

     23    opinion, volume matters?

     24            A      It could matter.        It depends on the

   Golkow Litigation Services                                               Page 43
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 44 Confidentiality
                                                         of 429. PageID #: 213397
                                                                              Review

      1    facts and circumstances.

      2            Q      Well, assuming sufficient volume

      3    diverted into elicit channels, do you believe that

      4    that could cause enormous harm as set forth in

      5    Mr. Rannazzisi's letter?

      6                   MR. STANNER:       Object to the form.

      7                   THE WITNESS:       It could.

      8    BY MR. HAWAL:

      9            Q      And what kind of harm would you

     10    contemplate could be caused by diversion?

     11            A      If people illegally took it, they could

     12    become addicted from it or any other consequences

     13    associated with that.

     14            Q      Including harms to communities?

     15                   MR. STANNER:       Object to the form.

     16                   THE WITNESS:       I -- I wouldn't want to

     17    speculate without more facts, and I -- you would

     18    have to look at the facts and circumstances.

     19    BY MR. HAWAL:

     20            Q      Well --

     21            A      I don't want to paint with a broad

     22    brush.

     23            Q      Well, hypothetically, if diversion

     24    occurs in sufficient quantities, do you agree,

   Golkow Litigation Services                                               Page 44
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 45 Confidentiality
                                                         of 429. PageID #: 213398
                                                                              Review

      1    based upon your understanding from your work at

      2    McKesson in the diversion arena, that that can

      3    cause harm to communities?

      4            A      It could cause harm in there.             It

      5    depends.

      6            Q      And could cause harm to governmental

      7    agencies?

      8                   MR. STANNER:       Object to the form.

      9                   THE WITNESS:       I -- you'd have to be more

     10    specific.

     11    BY MR. HAWAL:

     12            Q      Well, increased costs for treatment of

     13    individuals who are addicted, for example?

     14                   MR. STANNER:       Object to the form.

     15    Speculation.

     16                   THE WITNESS:       That may be a consequence

     17    of someone becoming addicted, that they need to

     18    seek treatment.        Whether or not that was directly

     19    related to the diversion of that or something that

     20    they had legitimately, I think you'd have to look

     21    at the facts.

     22    BY MR. HAWAL:

     23            Q      To -- in the -- continue on --

     24    continuing on in Mr. Rannazzisi's letter in 2006,

   Golkow Litigation Services                                               Page 45
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 46 Confidentiality
                                                         of 429. PageID #: 213399
                                                                              Review

      1    he says:     "The DEA regulations require all

      2    distributors to report suspicious orders of

      3    controlled substances."

      4                   Based upon your understanding of -- of

      5    the federal laws and regulations as a McKesson

      6    employee, is that a true statement?

      7            A      The regulations do require distributors

      8    to build and operate a system to identify and

      9    report suspicious orders.

     10            Q      And how long has that been the case?

     11            A      I believe --

     12                   MR. SATIN:      Objection to the extent that

     13    requires you to rely on your work when you were at

     14    the DEA.

     15                   THE WITNESS:       It's my understanding that

     16    that was a regulation that was implemented with

     17    the enactment of the Controlled Substances Act.

     18    BY MR. HAWAL:

     19            Q      In 1970?

     20            A      Around that time frame, yes.

     21            Q      At -- from your work at McKesson, did

     22    you know that at the time that this letter was

     23    sent, the DEA was actively investigating McKesson

     24    for violations of the Controlled Substances Act?

   Golkow Litigation Services                                               Page 46
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 47 Confidentiality
                                                         of 429. PageID #: 213400
                                                                              Review

      1                   MR. STANNER:       Objection to the form.

      2                   THE WITNESS:       Could you -- could you

      3    repeat the question?

      4    BY MR. HAWAL:

      5            Q      Yes.    As an employee of McKesson, do you

      6    know that at the time this letter was sent, the

      7    DEA and the DOJ was actively investigating

      8    McKesson for violations of the Controlled

      9    Substances Act for failing to maintain effective

     10    controls against diversion of certain

     11    pharmaceutical opioid products?

     12                   MR. SATIN:      And objection.

     13                   You can't rely, though, on your time at

     14    the DEA to answer that question, so it would only

     15    be based on information you obtained while at

     16    McKesson.

     17                   MR. STANNER:       Object to the form, calls

     18    for speculation.

     19                   THE WITNESS:       I believe that that was

     20    the case, yes.

     21    BY MR. HAWAL:

     22            Q      Did you bring with you when you joined

     23    McKesson your wealth of knowledge that you gained

     24    as a DEA agent, and do you use that knowledge in

   Golkow Litigation Services                                               Page 47
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 48 Confidentiality
                                                         of 429. PageID #: 213401
                                                                              Review

      1    your current position and employment?

      2            A      I use my experiences gained from there,

      3    yes.

      4            Q      I assume that's why McKesson retained

      5    you, for your knowledge and experience as a DEA

      6    agent.      True?

      7            A      I think that that's partially accurate,

      8    yes.

      9                   MR. HAWAL:      Evan, can we bring up 910,

     10    Bates, the second Rannazzisi letter.

     11                   (Plaintiffs' Exhibit No. 2 was

     12                   marked for identification.)

     13    BY MR. HAWAL:

     14            Q      Mr. Boggs, I'm handing you what has been

     15    marked as Exhibit 2 is a U.S. Department of

     16    Justice, Drug Enforcement Administration letter to

     17    McKesson Corporation, dated December 27th, 2007,

     18    signed by Joseph Rannazzisi.             Bates No.

     19    MCKMDL00478910.

     20                   Have you seen this letter since you've

     21    left the DEA?

     22            A      The copy that I have is not a complete

     23    document.      Only -- only one page.

     24                   MR. STANNER:       Oh, sorry.      What -- some

   Golkow Litigation Services                                               Page 48
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 49 Confidentiality
                                                         of 429. PageID #: 213402
                                                                              Review

      1    of these look like they're double-sided.                 This one

      2    is not.     The actual exhibit is not.

      3                   MR. HAWAL:      Well, can you peel that off?

      4                   MR. STANNER:       I can.     Lucky break.

      5    BY MR. HAWAL:

      6            Q      Have you seen this letter since you've

      7    left the DEA?

      8            A      I have.

      9            Q      And Mr. Rannazzisi apparently in

     10    December of 2007 thought it was necessary to send

     11    McKesson and other distributors a second reminder

     12    of their legal obligations under the Controlled

     13    Substances Act and federal regulations.

     14                   MR. SATIN:      Object --

     15    BY MR. HAWAL:

     16            Q      True?

     17                   MR. SATIN:      Objection.

     18                   Do not answer that question.

     19                   MR. STANNER:       Object to the form.

     20    BY MR. HAWAL:

     21            Q      The first paragraph of the letter

     22    indicates that:        "The purpose of this letter is to

     23    reiterate the responsibilities of controlled

     24    substance manufacturers, distributors -- and

   Golkow Litigation Services                                               Page 49
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 50 Confidentiality
                                                         of 429. PageID #: 213403
                                                                              Review

      1    distributors to inform DEA of suspicious orders in

      2    accordance with 21 CFR 1301.74(b)."

      3                   Is it your understanding that that

      4    obligation exists today based upon your work at

      5    McKesson?

      6            A      It is.

      7            Q      And existed as far back as 1970?

      8            A      That's correct.

      9            Q      And according to Mr. Rannazzisi, the DEA

     10    regulations require all manufacturers and

     11    distributors to report suspicious orders of

     12    controlled substances.

     13                   That's a true statement, accurate?

     14            A      That's what the regulation requires,

     15    yes.

     16            Q      And he goes on to say:          "It specifically

     17    requires that a registrant," quote, "design and

     18    operate a system to disclose to the registrant

     19    suspicious orders of controlled substances," close

     20    quote.

     21                   Is it your understanding that that's an

     22    accurate statement?

     23            A      That's what the regulation says, yes.

     24            Q      And he goes on to say:          "The regulations

   Golkow Litigation Services                                               Page 50
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 51 Confidentiality
                                                         of 429. PageID #: 213404
                                                                              Review

      1    clearly indicates that it is the sole

      2    responsibility of the registrant to design and

      3    operate such a system."

      4                   Do you agree with that statement?

      5            A      That's what the regulation requires,

      6    yes.

      7            Q      He goes on in the next paragraph to say

      8    that:    "The regulation also requires that the

      9    registrant inform the local DEA division office of

     10    suspicious orders when discovered by the

     11    registrant," and he emphasized the words "when

     12    discovered."

     13                   Is that an accurate statement as to what

     14    the regulations require?

     15            A      I believe that's what the regulations

     16    require, yes.

     17            Q      And he goes on to say in that paragraph:

     18    "Registrants are reminded that their

     19    responsibility does not end merely with the filing

     20    of a suspicious order report.             Registrants must

     21    conduct an independent analysis of suspicious

     22    orders prior to completing a sale to determine

     23    whether the controlled substances are likely to be

     24    diverted from legitimate channels."

   Golkow Litigation Services                                               Page 51
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 52 Confidentiality
                                                         of 429. PageID #: 213405
                                                                              Review

      1                   Is that an accurate statement --

      2                   MR. STANNER:       Object --

      3    BY MR. HAWAL:

      4            Q      -- based upon your work at McKesson?

      5                   MR. STANNER:       Object to the form.

      6    Vague.

      7                   THE WITNESS:       I don't know that that's

      8    specifically in the regulation.

      9    BY MR. HAWAL:

     10            Q      Well, do you agree that that's an

     11    accurate statement?

     12                   MR. STANNER:       Object to the form.

     13                   THE WITNESS:       I believe that part of

     14    McKesson's regulatory program encompasses due

     15    diligence that we conduct on our customers.

     16    BY MR. HAWAL:

     17            Q      In the next paragraph he goes on to say

     18    that:    "The regulation specifically states that

     19    suspicious orders include orders of an unusual

     20    size, orders deviating substantially from a normal

     21    pattern, and orders of an unusual frequency."

     22                   Is that a fair and accurate statement?

     23            A      I believe that is what the regulations

     24    require.

   Golkow Litigation Services                                               Page 52
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 53 Confidentiality
                                                         of 429. PageID #: 213406
                                                                              Review

      1            Q      And he goes on to say that:            "The size

      2    of an order alone, whether or not it deviates from

      3    a normal pattern, is enough to trigger the

      4    registrant's responsibility to report the order as

      5    suspicious."

      6                   Do you agree with that statement as

      7    being accurate?

      8                   MR. STANNER:       Object to the form.

      9                   THE WITNESS:       I believe that that could

     10    be part of the analysis in determining whether or

     11    not the order is of unusual size or deviating

     12    substantially from a pattern or unusual frequency.

     13    BY MR. HAWAL:

     14            Q      As a -- as a McKesson employee, do you

     15    believe that that is one of the responsibilities

     16    of a distributor in -- in terms of performing its

     17    due diligence?

     18                   MR. STANNER:       Object to the form, vague.

     19                   THE WITNESS:       I believe our

     20    responsibility is to design and operate a system

     21    to disclose suspicious orders as defined in the

     22    regulations.

     23    BY MR. HAWAL:

     24            Q      Well, do you believe that an order that

   Golkow Litigation Services                                               Page 53
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 54 Confidentiality
                                                         of 429. PageID #: 213407
                                                                              Review

      1    deviates from a normal pattern should trigger a

      2    responsibility to determine whether the order is

      3    suspicious?

      4                   MR. STANNER:       Object to the form.

      5                   THE WITNESS:       That is one of the

      6    definitions of "a suspicious order" under the

      7    regulations.

      8    BY MR. HAWAL:

      9            Q      On page 2 of this letter in the second

     10    paragraph, Mr. Rannazzisi states:              "Daily, weekly

     11    or monthly reports submitted by a registrant

     12    indicating," quote, "excessive purchases," close

     13    quote, "do not comply with the requirement to

     14    report suspicious orders, even if the registrant

     15    calls such reports suspicious order reports."

     16                   Do you agree that that is an accurate

     17    statement as you understand it from your work at

     18    McKesson?

     19                   MR. STANNER:       Object to the form.

     20                   THE WITNESS:       Well, it depends on what

     21    those orders were that were contained in the --

     22    what they -- what's defined as "an excessive

     23    order."     An excessive order could be an order of

     24    unusual size, frequency or pattern, and therefore

   Golkow Litigation Services                                               Page 54
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 55 Confidentiality
                                                         of 429. PageID #: 213408
                                                                              Review

      1    would be a suspicious order as defined under the

      2    regulations.

      3    BY MR. HAWAL:

      4            Q      In the next paragraph, he says:

      5    "Lastly, registrants that routinely report

      6    suspicious orders, yet fill these orders without

      7    first determining that the order is not being

      8    diverted into other than legitimate medical,

      9    scientific and industrial channels may be failing

     10    to maintain effective controls against diversion."

     11                   Do you agree that that is an accurate

     12    statement as set forth by Mr. Rannazzisi?

     13                   MR. STANNER:       Object to the form.

     14                   THE WITNESS:       The -- at my time at

     15    McKesson, my understanding is that a registrant

     16    such as distributors have an obligation to

     17    maintain effective controls against diversion.

     18    BY MR. HAWAL:

     19            Q      And so you agree that that's an accurate

     20    statement?

     21                   MR. STANNER:       Object to the form.

     22    Vague, "accurate."

     23                   THE WITNESS:       I think it describes, at

     24    least in part, what could be a review or a due

   Golkow Litigation Services                                               Page 55
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 56 Confidentiality
                                                         of 429. PageID #: 213409
                                                                              Review

      1    diligence that is conducted to determine whether

      2    or not something might be diverted.

      3    BY MR. HAWAL:

      4            Q      Are you -- do you disagree with that

      5    statement?

      6            A      I don't know that I disagree with it.

      7    I -- I understand what our obligations are under

      8    the regulations.

      9            Q      You're aware of, since you joined

     10    McKesson, that McKesson prior to 2010 was not

     11    complying with its obligations to main- --

     12    maintain effective controls to prevent diversion

     13    of controlled substances; mainly -- namely, opioid

     14    pills into the illegal marketplace?

     15                   MR. SATIN:      Mr. Boggs, to answer that

     16    question, you can only rely on information you

     17    learned at -- while at McKesson.

     18                   MR. STANNER:       Object to the form.

     19                   THE WITNESS:       Could you repeat the

     20    question?

     21    BY MR. HAWAL:

     22            Q      Yes.    Since you've joined McKesson, have

     23    you become aware that prior to 2010, McKesson was

     24    not complying with its obligations to maintain

   Golkow Litigation Services                                               Page 56
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 57 Confidentiality
                                                         of 429. PageID #: 213410
                                                                              Review

      1    effective controls to prevent the diversion of

      2    controlled substances?

      3                   MR. STANNER:       Object to the form.

      4                   MR. SATIN:      Same instruction.

      5                   THE WITNESS:       It was my understanding

      6    that they were not necessarily reporting

      7    suspicious orders.

      8    BY MR. HAWAL:

      9            Q      You're aware that in May of 2008,

     10    McKesson entered into a settlement agreement and

     11    signed a memorandum of understanding or memorandum

     12    of agreement with the U.S. Department of Justice

     13    and the DEA whereby McKesson agreed to pay a fine

     14    of $13.25 million for failing to maintain

     15    effective controls against diversion of certain

     16    controlled substances at various of its

     17    distribution centers in the United States?

     18                   MR. STANNER:       Object to the form.

     19                   THE WITNESS:       I'm aware of that

     20    settlement, that that settlement agreement

     21    happened.

     22                   (Plaintiffs' Exhibit No. 3 was

     23                   marked for identification.)

     24                   MR. HAWAL:      Andrew.

   Golkow Litigation Services                                               Page 57
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 58 Confidentiality
                                                         of 429. PageID #: 213411
                                                                              Review

      1                   MR. STANNER:       I'm sorry.

      2    BY MR. HAWAL:

      3            Q      Mr. Boggs, I handed you what's been

      4    marked as Exhibit 3.          It is a document marked --

      5    Bates stamped MCKMDL00536478.             It is a Settlement

      6    and Release Agreement and Administrative

      7    Memorandum of Agreement, which is dated May 2nd,

      8    2008.

      9                   You've seen this document previously?

     10            A      Not since my time at McKesson, no.

     11            Q      Well, did you see this document when

     12    your deposition was taken this past summer?                  Do

     13    you recall that?

     14            A      No, I don't recall.

     15            Q      In any event, you're aware that this

     16    agreement was executed between the Department of

     17    Justice and McKesson?

     18            A      I do.

     19            Q      And if we look at page 10 of this

     20    document, it's a document that was signed by

     21    various individuals, including John Hammergren,

     22    president of McKesson Corporation, and Donald

     23    Walker, senior vice president.

     24            A      I see that.

   Golkow Litigation Services                                                Page 58
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 59 Confidentiality
                                                         of 429. PageID #: 213412
                                                                              Review

      1                   MR. STANNER:       Sorry.     The Bates number

      2    is MCKMDL00536487.         The page numbers jump around.

      3    BY MR. HAWAL:

      4            Q      Mr. Hammergren is the president of

      5    McKesson today?

      6            A      He is not.

      7            Q      When did he stop being president of

      8    McKesson?

      9            A      I don't know.

     10            Q      Well, can you give me an approximation?

     11            A      I can't.

     12            Q      Don Walker is still with McKesson?

     13            A      He is not.

     14            Q      When did he leave McKesson?

     15            A      Maybe a year after I was hired by

     16    McKesson, approximately.

     17            Q      On page 3 of this document, at the very

     18    top, "McKesson was alleged to have failed to

     19    maintain adequate controls against the diversion

     20    of controlled substances on or prior to

     21    December 31st, 2007, at all distribution

     22    facilities operated, owned or controlled by it."

     23                   Do you see that?

     24            A      I do.

   Golkow Litigation Services                                               Page 59
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 60 Confidentiality
                                                         of 429. PageID #: 213413
                                                                              Review

      1            Q      And paragraph 4, it says that "McKesson

      2    was alleged to have failed to detect and report

      3    suspicious orders of controlled substances."

      4                   Is it your understanding that this was

      5    the basis for this settlement resulting in

      6    McKesson agreeing to make changes to its diversion

      7    control efforts and to pay a fine of $13.25

      8    million?

      9                   MR. STANNER:       Object to the form, vague,

     10    compound.

     11                   THE WITNESS:       I believe that that's what

     12    it says in the document, yes.

     13    BY MR. HAWAL:

     14            Q      And if you look at the terms and

     15    conditions below that where McKesson assumed --

     16    did McKesson assume certain obligations as a

     17    result of this settlement with the Department of

     18    Justice and the DEA?

     19            A      That's what it says in the document,

     20    yes.

     21            Q      Well, did you know that that was in fact

     22    true as a result of your employment with McKesson?

     23                   MR. STANNER:       Objection.      Form.

     24                   THE WITNESS:       Only inasmuch as what's in

   Golkow Litigation Services                                               Page 60
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 61 Confidentiality
                                                         of 429. PageID #: 213414
                                                                              Review

      1    the document.

      2    BY MR. HAWAL:

      3            Q      As a result of this settlement, McKesson

      4    agreed to maintain a compliance program designed

      5    to detect and prevent diversion of controlled

      6    substances as required under the CSA, the

      7    Controlled Substances Act, and applicable DEA

      8    regulations, and then it goes on to indicate that

      9    McKesson would establish thresholds for controlled

     10    substances.

     11                   Is it your understanding that that was

     12    part of the obligations assumed by McKesson as a

     13    result of the settlement?

     14            A      That's what it says on the document,

     15    yes.

     16            Q      And the document also indicates that

     17    McKesson would have its employees be trained in

     18    the detection of suspicious orders.               True?

     19            A      That's correct.

     20            Q      And required McKesson to not only

     21    identify orders that are suspicious but report

     22    those suspicious orders to the DEA.               True?

     23                   MR. STANNER:       Object to the form, vague.

     24                   THE WITNESS:       That's correct.

   Golkow Litigation Services                                               Page 61
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 62 Confidentiality
                                                         of 429. PageID #: 213415
                                                                              Review

      1    BY MR. HAWAL:

      2            Q      As an employee of McKesson, did you --

      3    would you expect that McKesson would take this

      4    obligation seriously?

      5                   MR. STANNER:       Object to the form.

      6                   THE WITNESS:       Since my time at McKesson,

      7    I've seen nothing more than them taking their

      8    regulatory obligations seriously.

      9    BY MR. HAWAL:

     10            Q      Well, was it your -- would it be your

     11    expectation that by virtue of Mr. Walker and

     12    Mr. Hammergren signing this settlement agreement

     13    with the DEA, that it would in fact take the

     14    obligations that it is said to have assumed on

     15    page 3 as being taken seriously?

     16                   MR. STANNER:       Object to the form,

     17    speculation.

     18                   THE WITNESS:       I assume that to be

     19    correct.

     20    BY MR. HAWAL:

     21            Q      At this point in time in 2008, would it

     22    be fair to say that the opioid crisis in the

     23    United States was exploding?

     24                   MR. STANNER:       Object to the form,

   Golkow Litigation Services                                               Page 62
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 63 Confidentiality
                                                         of 429. PageID #: 213416
                                                                              Review

      1    characterization, vague, speculation.

      2                   MR. SATIN:      And objection to the extent

      3    you're relying on your official work at the DEA,

      4    don't answer with respect to that work.

      5                   THE WITNESS:       I don't know that I can

      6    answer that question.

      7    BY MR. HAWAL:

      8            Q      Well, sir, I mean, were you -- you

      9    weren't living in a DEA bubble in 2008, were you?

     10    Were you paying attention to what was in the news

     11    media and in various forms, whether it be print

     12    or -- or television?

     13            A      I was paying attention to my duties and

     14    responsibilities at the Drug Enforcement

     15    Administration.

     16            Q      Were you also aware that in the public

     17    domain, by virtue of media reports, that it was

     18    prominently identified in this time period that

     19    the opioid epidemic was exploding in the United

     20    States?

     21                   MR. STANNER:       Object to the form.

     22                   THE WITNESS:       I know that there were

     23    media articles about the opioid epidemic during

     24    that time frame.

   Golkow Litigation Services                                               Page 63
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 64 Confidentiality
                                                         of 429. PageID #: 213417
                                                                              Review

      1                   (Plaintiffs' Exhibit No. 4 was

      2                   marked for identification.)

      3                   MR. HAWAL:      Andrew.

      4                   I'm going to use the ELMO.

      5    BY MR. HAWAL:

      6            Q      Mr. Boggs, I'm handing you what has been

      7    marked as Plaintiffs' Exhibit 4.              It's a 2000 --

      8    May of 2002 report of the United States General

      9    Accounting Office, entitled "Prescription drugs:

     10    State monitoring programs provide useful tools to

     11    reduce diversion."

     12                   Have you seen this document?

     13                   MR. STANNER:       So let me just clarify,

     14    Mr. Hawal.      What this appears to be is the cover

     15    page --

     16                   MR. HAWAL:      Yeah.

     17                   MR. STANNER:       -- and an excerpt.         This

     18    is not the entire document.            Is that accurate?

     19                   MR. HAWAL:      It's not the entire

     20    document.

     21                   MR. STANNER:       I just want to clarify.

     22                   MR. HAWAL:      I'm just going to ask him

     23    about one paragraph on page 2.             Well, actually,

     24    it's on page 4.

   Golkow Litigation Services                                               Page 64
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 65 Confidentiality
                                                         of 429. PageID #: 213418
                                                                              Review

      1    BY MR. HAWAL:

      2            Q      On the back of page 4, on the back of

      3    the exhibit that you have in front of you, it

      4    states:     "The diversion and abuse of prescription

      5    drugs are associated with incalculable costs to

      6    society in terms of addiction, overdose, death and

      7    related criminal activities.             DEA has stated that

      8    the diversion and abuse of legitimately produced

      9    controlled pharmaceuticals constitute a

     10    multibillion dollar illicit market nationwide."

     11                   Based upon your experience, sir, is that

     12    a true statement?

     13                   MR. STANNER:       Object to the form.

     14                   MR. SATIN:      And object to the extent

     15    it's calling for you to rely on your time at the

     16    DEA.    You can't rely on that information or

     17    disclose information about your work at the DEA in

     18    answering that question.

     19                   THE WITNESS:       I think that the abuse of

     20    prescription drugs can cause societal issues and

     21    costs associated with societal issues.

     22    BY MR. HAWAL:

     23            Q      So you do agree with that statement?

     24                   MR. STANNER:       Same objection.

   Golkow Litigation Services                                               Page 65
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 66 Confidentiality
                                                         of 429. PageID #: 213419
                                                                              Review

      1                   THE WITNESS:       Without some of -- seeing

      2    some of the specific facts in terms of the

      3    adjectives used in there, I don't know whether I

      4    can necessarily agree.          I mean, it is a horrific

      5    problem in this country.

      6                        (Counsel conferring.)

      7                   (Plaintiffs' Exhibit No. 5 was

      8                   marked for identification.)

      9    BY MR. HAWAL:

     10            Q      Mr. Boggs, I have handed you a

     11    PowerPoint presentation marked as Exhibit 5.                  Have

     12    you -- have you seen this document before?

     13                   MR. SATIN:      We have a document that's

     14    got writing in the middle.            I don't know if that's

     15    a mistake.

     16                   MR. HAWAL:      No, it's -- it's the way it

     17    was produced to me.         I don't know whose writing it

     18    is, but...

     19                   MR. STANNER:       Do you -- I see there's no

     20    Bates number on it.         Are you aware of where it was

     21    produced from?

     22                   MR. HAWAL:      I -- I am not.        And I don't

     23    have one with the Bates number on it.

     24    BY MR. HAWAL:

   Golkow Litigation Services                                               Page 66
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 67 Confidentiality
                                                         of 429. PageID #: 213420
                                                                              Review

      1            Q      In any event, this is a document that

      2    was apparently created by someone at the DEA.

      3    Would that be a fair statement, Mr. Boggs?

      4            A      I don't recall --

      5                   MR. STANNER:       Object.     Form and

      6    foundation.

      7                   THE WITNESS:       I don't recall ever seeing

      8    this document before.

      9    BY MR. HAWAL:

     10            Q      Well, are you familiar with the logos on

     11    the front page of the document as being logos

     12    associated with the Department of Justice and the

     13    DEA, Office of Diversion Control?

     14            A      They certainly appear to be, yes.

     15            Q      Are you aware that such a meeting or

     16    that such meetings occurred in approximately 2009,

     17    2008, and the late 2000s?

     18                   MR. SATIN:      Objection.

     19                   MR. STANNER:       Vague.     Object to the form

     20    of the question.

     21                   MR. SATIN:      And objection pursuant to

     22    Touhy.      Do not answer that.

     23    BY MR. HAWAL:

     24            Q      Let's go to slide number 3 under "Closed

   Golkow Litigation Services                                               Page 67
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 68 Confidentiality
                                                         of 429. PageID #: 213421
                                                                              Review

      1    System."

      2                   MR. HAWAL:      Do you have it?

      3                       (Counsel conferring.)

      4    BY MR. HAWAL:

      5            Q      Slide number 3.        Do you see that the --

      6    where it identifies "Closed System," it's reported

      7    that:    "When a registrant fails to adhere to their

      8    responsibilities, those violations represent a

      9    danger to the public and jeopardize the closed

     10    system of distribution."

     11                   Is it your understanding that as a

     12    result of your work at McKesson that that is in

     13    fact an accurate and true statement?

     14                   MR. STANNER:       Object to the form.

     15                   THE WITNESS:       I would agree that if --

     16    potential failure to adhere to a responsibility

     17    could have some consequences to that.

     18    BY MR. HAWAL:

     19            Q      And on slide number 15, this slide

     20    reiterates what the obligations of a wholesaler,

     21    including McKesson, is and has been since 1970 as

     22    it relates to suspicious orders.              True?

     23                   MR. STANNER:       Object to the form of the

     24    question and foundation.

   Golkow Litigation Services                                               Page 68
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 69 Confidentiality
                                                         of 429. PageID #: 213422
                                                                              Review

      1                   THE WITNESS:       It appears to reiterate

      2    the regulation, yes.

      3    BY MR. HAWAL:

      4            Q      And on the next page, slide 16, is it

      5    your understanding that the reporting of a

      6    suspicious order does not relieve a distributor,

      7    including McKesson, of the responsibility to

      8    maintain effective controls against diversion?

      9                   MR. STANNER:       Object to the form.

     10                   THE WITNESS:       It's my understanding that

     11    the distributors, you know, have an obligation to

     12    identify and report suspicious orders, and they

     13    have an obligation to maintain effective controls

     14    against diversion.

     15    BY MR. HAWAL:

     16            Q      Well, other than just reporting

     17    suspicious orders, what other obligations does a

     18    distributor have such as McKesson?

     19            A      I --

     20                   MR. STANNER:       Objection.      Calls for a

     21    narrative.

     22                   THE WITNESS:       A distributor has a

     23    responsibility to maintain security over those

     24    controlled substances that are maintained in our

   Golkow Litigation Services                                               Page 69
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 70 Confidentiality
                                                         of 429. PageID #: 213423
                                                                              Review

      1    warehouses, and we do that through cages and

      2    vaults and security cameras, and all of those

      3    kinds of things, while those things are in our

      4    possession.

      5    BY MR. HAWAL:

      6            Q      Well, we're talking about reporting

      7    suspicious orders.

      8                   What other -- in the context of this

      9    statement, what other responsibilities does a

     10    distributor have which is not relieved simply by

     11    reporting suspicious orders?

     12                   MR. STANNER:       Objection to the form of

     13    the question.

     14                   THE WITNESS:       Well, what the -- what

     15    you're asking me about is the -- maintaining

     16    effective controls against diversion, and part of

     17    that is the security while they're in our

     18    possession.

     19    BY MR. HAWAL:

     20            Q      Well --

     21            A      That's maintaining effective controls

     22    against diversion.

     23            Q      Well, let's -- let's just focus for a

     24    moment on suspicious orders as this slide is

   Golkow Litigation Services                                               Page 70
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 71 Confidentiality
                                                         of 429. PageID #: 213424
                                                                              Review

      1    focused on.

      2                   What other responsibilities does a

      3    distributor like McKesson have beyond simply

      4    reporting a suspicious order as it relates to

      5    suspicious orders?

      6                   MR. STANNER:       Object to the form of the

      7    question.

      8                   THE WITNESS:       Well, there's two

      9    different obligations that we have.               Under the --

     10    as you're asking me about suspicious orders, our

     11    obligation under the regulation is to design and

     12    operate a system to identify suspicious orders,

     13    and then report those to the DEA.              That's the

     14    regulation for suspicious orders.

     15    BY MR. HAWAL:

     16            Q      Well, does that obligation also require

     17    McKesson to not ship a suspicious order unless

     18    it's determined through due diligence that it is

     19    unlikely to be diverted into illicit channels?

     20                   MR. STANNER:       Objection to the form.

     21                   THE WITNESS:       I'm not -- I'm not aware

     22    anywhere in the regulation it says not to ship.

     23    It says to identify and report suspicious orders.

     24    BY MR. HAWAL:

   Golkow Litigation Services                                               Page 71
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 72 Confidentiality
                                                         of 429. PageID #: 213425
                                                                              Review




     12    BY MR. HAWAL:

     13            Q      Or at least should have been, true?

     14                   MR. STANNER:       Object to the form of the

     15    question.

     16                   THE WITNESS:       The regulation does not

     17    say that we -- to block.           It says to identify and

     18    report suspicious orders.

     19    BY MR. HAWAL:

     20            Q      Since you have joined McKesson, have you

     21    gone back to determine what McKesson was doing

     22    with suspicious orders in 2007 and 2008?

     23            A      I have reviewed some materials of the

     24    type of programs that they had back in -- around

   Golkow Litigation Services                                               Page 72
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 73 Confidentiality
                                                         of 429. PageID #: 213426
                                                                              Review

      1    2007, 2008.




     10    BY MR. HAWAL:

     11            Q      Is it your understanding that that was

     12    one of the responsibilities that McKesson assumed

     13    and undertook as part of its settlement with the

     14    Department of Justice and DEA in 2008?

     15                   MR. STANNER:       Objection.      Speculation.

     16                   THE WITNESS:       I think it was part of the

     17    program that they created in response to the

     18    settlement agreement.

     19    BY MR. HAWAL:

     20            Q      In other words, McKesson made an

     21    obligation or set forth an obligation and

     22    undertook an obligation, according to that

     23    settlement agreement, that it would not only

     24    report suspicious orders to the DEA but it would

   Golkow Litigation Services                                               Page 73
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 74 Confidentiality
                                                         of 429. PageID #: 213427
                                                                              Review

      1    block and not ship suspicious orders.                True?

      2                   MR. STANNER:       Objection to the form,

      3    speculation.

      4                   THE WITNESS:       I believe as part of the

      5    settlement agreement that they were required or

      6    agreed to design and operate a system to identify

      7    suspicious orders and that they would block those

      8    orders.

      9    BY MR. HAWAL:

     10            Q      And if we look at slide number 17, the

     11    DEA, according to this PowerPoint presentation,

     12    indicated that it cannot advise a distributor of

     13    an order if an order is legitimate or not.

     14                   Do you see that?

     15            A      I see that, yes.

     16            Q      Has the DEA ever -- since you've been at

     17    McKesson, has the DEA ever advised you or anyone

     18    at McKesson otherwise than what is stated here?

     19                   MR. STANNER:       Object to the form to the

     20    extent he knows about anyone at McKesson.

     21                   THE WITNESS:       I don't recall having any

     22    discussions with anyone from DEA regarding that

     23    specific area.

     24    BY MR. HAWAL:

   Golkow Litigation Services                                               Page 74
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 75 Confidentiality
                                                         of 429. PageID #: 213428
                                                                              Review

      1            Q      Well, has DEA ever, to your knowledge,

      2    informed McKesson that -- anything contrary to

      3    what is stated here, that the DEA cannot advise a

      4    distributor if an order is legitimate or not?

      5                   MR. SATIN:      And objection to the extent

      6    it's asking you for your knowledge while at the

      7    DEA, don't answer that.

      8                   THE WITNESS:       Since I've been at

      9    McKesson, I have not seen anything from DEA that

     10    even -- that discusses this topic.

     11    BY MR. HAWAL:

     12            Q      Is it your understanding as an employee

     13    of McKesson that it is McKesson's obligation, and

     14    not the DEA's, to determine whether an order is

     15    suspicious or legitimate?

     16                   MR. STANNER:       Object to the form.

     17                   THE WITNESS:       I understand the

     18    regulation requires businesses such as McKesson to

     19    design and operate a system that discloses to

     20    McKesson or other distributors suspicious orders

     21    as defined in the regulation.

     22    BY MR. HAWAL:

     23            Q      Is it your understanding as an employee

     24    of McKesson that it would not be appropriate

   Golkow Litigation Services                                               Page 75
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 76 Confidentiality
                                                         of 429. PageID #: 213429
                                                                              Review

      1    simply to accumulate suspicious order reports and

      2    provide them in bulk to the DEA at the end of the

      3    month, but, rather, the obligation is to report to

      4    the DEA suspicious orders when they are

      5    discovered?

      6                   MR. STANNER:       Object to the form of the

      7    question.

      8                   THE WITNESS:       I'm not sure if there are

      9    certain parts of agreements that McKesson may have

     10    entered into with the DEA to report things in a

     11    different manner other than what the regulation

     12    requires.      It's my understanding a regulation

     13    requires us to report them when discovered.

     14    However, I know that there are certain terms of

     15    the settlement agreements that somewhat deviate a

     16    little bit from the way the regulation is actually

     17    written.

     18    BY MR. HAWAL:

     19            Q      Well, are you aware of any document

     20    which sets forth an agreement between the DEA and

     21    McKesson whereby it would be appropriate for

     22    McKesson to accumulate suspicious order reports

     23    and send them in bulk at the end of a month as

     24    opposed to sending them when they are discovered?

   Golkow Litigation Services                                               Page 76
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 77 Confidentiality
                                                         of 429. PageID #: 213430
                                                                              Review

      1                   MR. STANNER:       Object to the form.

      2                   THE WITNESS:       I don't know if there's

      3    any agreements between McKesson and the DEA prior

      4    to my employment that would have deviated from the

      5    regulatory requirements.

      6    BY MR. HAWAL:

      7            Q      As a result of your work with McKesson,

      8    are you aware of any published calculations or

      9    algorithms from the DEA which informed McKesson or

     10    other distributors as to what orders should or

     11    should not be reported to the DEA as suspicious?

     12            A      Not that I'm aware of.

     13            Q      According to slide number 17, the DEA is

     14    identifying to distributors that it is their

     15    responsibility to determine which orders are

     16    suspicious and make their own decisions as to

     17    whether or not those orders should be shipped or

     18    not.    True?

     19                   MR. STANNER:       Objection.      Vague, "true."

     20                   THE WITNESS:       I understand under the

     21    regulations that the distributor has an obligation

     22    to design and operate a system that discloses to

     23    the distributor those suspicious orders.

     24    BY MR. HAWAL:

   Golkow Litigation Services                                               Page 77
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 78 Confidentiality
                                                         of 429. PageID #: 213431
                                                                              Review

      1            Q      Since you've been with McKesson, have

      2    you ever seen or are you aware of the DEA ever

      3    endorsing any calculations that were proposed by

      4    any distributor, including McKesson, that would be

      5    used to identify suspicious orders?

      6            A      Are you asking strictly for calculations

      7    or --

      8            Q      Yes, sir.      For -- for calculations that

      9    were created or proposed by DEA on how a

     10    distributor like McKesson should be used to

     11    identify suspicious orders.

     12                   MR. STANNER:       Object to the form.

     13                   THE WITNESS:       Not calculations

     14    specifically.       There's been other guidance, but

     15    not calculations.

     16    BY MR. HAWAL:

     17            Q      As to your knowledge, as a result of

     18    your work at McKesson, has the DEA ever published

     19    or provided any kind of advisory opinion to

     20    McKesson or any other distributor regarding the

     21    identify -- identification of an order as

     22    suspicious?

     23            A      I believe that --

     24                   MR. STANNER:       Object -- I'm going to

   Golkow Litigation Services                                               Page 78
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 79 Confidentiality
                                                         of 429. PageID #: 213432
                                                                              Review

      1    object that it's vague.           Sorry.

      2                   THE WITNESS:       I believe if you read the

      3    September 27th, 2006 letter from Joe Rannazzisi

      4    that you have submitted as an exhibit to me today,

      5    it puts forth some red flags that might be used in

      6    understanding of -- identification of certain

      7    suspicious orders.

      8    BY MR. HAWAL:

      9            Q      All right.      So you're referring to

     10    Exhibit 1, the third page of Mr. Rannazzisi's

     11    letter of September 27th, 2006?

     12            A      That's correct.

     13            Q      And in that letter, Mr. Rannazzisi is

     14    identifying examples of circumstances that might

     15    be indicative of diversion of controlled

     16    substances?

     17            A      I am.

     18            Q      And in paragraph 1, it says:            "Ordering

     19    excessive quantities of a limited variety of

     20    controlled substances while ordering few, if any,

     21    other drugs might be an indication that diversion

     22    is occurring."

     23            A      That's correct.

     24            Q      And the same would be true with bullet

   Golkow Litigation Services                                               Page 79
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 80 Confidentiality
                                                         of 429. PageID #: 213433
                                                                              Review

      1    point number 2:        "Ordering a limited variety of

      2    controlled substances in quantities that are

      3    disproportionate to non-controlled medications

      4    that are ordered"?

      5            A      That's correct.

      6                   MR. STANNER:       Object -- I'm going to

      7    object to the form of that question.               It's unclear

      8    if you're asking if that's true or if that's what

      9    it says.

     10                   MR. HAWAL:      I'm asking whether or not --

     11    well, let me clarify.          Obviously it's what he

     12    said.

     13    BY MR. HAWAL:

     14            Q      But do you agree that that's an accurate

     15    statement?

     16            A      I believe that it -- it is a red flag or

     17    could be indicative of diversion, depending on the

     18    facts and circumstances.

     19            Q      And number 3:       "Ordering excessive

     20    quantities of a limited variety of controlled

     21    substances in combination with excessive

     22    quantities of lifestyle drugs."              Is that an

     23    accurate statement?

     24            A      That's what it says, yes.

   Golkow Litigation Services                                               Page 80
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 81 Confidentiality
                                                         of 429. PageID #: 213434
                                                                              Review

      1            Q      And what are lifestyle drugs?             Opioids?

      2            A      No, I believe in the context of this,

      3    lifestyle drugs may be things like testosterone

      4    or -- you know, steroids or Viagra, or other

      5    things like that, hair growth drugs.               People have

      6    different definitions of "lifestyle drugs."

      7            Q      And number 4:       "Ordering the same

      8    controlled substances from multiple distributors"

      9    could be another red flag?

     10            A      That's what --

     11                   MR. STANNER:       Object to the form of the

     12    question.

     13    BY MR. HAWAL:

     14            Q      So Mr. -- and then -- and then

     15    Mr. Rannazzisi has ten additional bullet points.

     16    I will not read them all.           But he is attempting to

     17    provide distributors with examples of what they

     18    should be looking for as part of their due

     19    diligence with regard to their responsibility to

     20    identify suspicious orders and not ship them.

     21                   MR. SATIN:      Object --

     22    BY MR. HAWAL:

     23            Q      True?

     24                   MR. SATIN:      Objection.      Do not answer

   Golkow Litigation Services                                               Page 81
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 82 Confidentiality
                                                         of 429. PageID #: 213435
                                                                              Review

      1    that question as it calls for the witness to

      2    testify about what Mr. Rannazzisi's intentions

      3    were back then.

      4    BY MR. HAWAL:

      5            Q      Well, would it be a fair interpretation

      6    of these various bullet points that Mr. Rannazzisi

      7    set forth on this page as setting forth examples

      8    of what distributors should look for in

      9    determining whether an order is suspicious and

     10    shouldn't be shipped?          Would that be fair -- as

     11    you sit here, a fair understanding of what this

     12    document is intended to express?

     13                   MR. STANNER:       Objection to the form of

     14    the question.

     15                   MR. SATIN:      Objection as well.         Do not

     16    answer that.

     17    BY MR. HAWAL:




   Golkow Litigation Services                                               Page 82
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 83 Confidentiality
                                                         of 429. PageID #: 213436
                                                                              Review




     21                   MR. STANNER:       Object to the form of the

     22    question.

     23    BY MR. HAWAL:

     24            Q      Have you -- did you see these letters

   Golkow Litigation Services                                               Page 83
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 84 Confidentiality
                                                         of 429. PageID #: 213437
                                                                              Review

      1    before they went out, these Rannazzisi letters,

      2    both Exhibit 1 and Exhibit 2?

      3                   MR. STANNER:       Object to the form of the

      4    question.

      5                   You're referring to 2006?

      6                   MR. HAWAL:      Yes, and 2007.

      7                   MR. SATIN:      Objection.      Don't answer

      8    that question.

      9    BY MR. HAWAL:

     10            Q      Did you have any role in drafting these

     11    letters?

     12                   MR. SATIN:      Objection.      Don't answer

     13    that question.

     14    BY MR. HAWAL:




   Golkow Litigation Services                                               Page 84
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 85 Confidentiality
                                                         of 429. PageID #: 213438
                                                                              Review




   Golkow Litigation Services                                               Page 85
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 86 Confidentiality
                                                         of 429. PageID #: 213439
                                                                              Review




   Golkow Litigation Services                                               Page 86
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 87 Confidentiality
                                                         of 429. PageID #: 213440
                                                                              Review




      3            Q      Was it ever contemplated -- well, strike

      4    that.

      5                   Since you've come to McKesson, did you

      6    ever learn from the DEA that McKesson could

      7    delegate to its customers the legal obligations to

      8    prevent diversion of controlled substances?

      9                   MR. STANNER:       Objection to the form.

     10                   THE WITNESS:       I'm not sure I understand

     11    your question.

     12    BY MR. HAWAL:

     13            Q      Well, we've talked about all the legal

     14    obligations that a company like McKesson has as a

     15    distributor to put in place a system to prevent

     16    the diversion of controlled substances, right?

     17            A      That's correct.

     18            Q      Have you ever been told by the DEA that

     19    McKesson could delegate that legal obligation to

     20    its pharmacy customers?

     21            A      It -- the pharmacy customers have their

     22    own regulatory obligations to maintain effective

     23    controls against diversion.

     24            Q      So does -- does McKesson delegate its

   Golkow Litigation Services                                               Page 87
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 88 Confidentiality
                                                         of 429. PageID #: 213441
                                                                              Review

      1    obligations under the Controlled Substances Act to

      2    customers?

      3            A      Not to my knowledge.

      4            Q      I mean, it's McKesson's obligation, and

      5    it's a non-delegable obligation, true?

      6            A      Well, all registrants have various

      7    obligations.       So, you know, it's not just

      8    McKesson's obligation and nobody else's.

      9            Q      I under- --

     10            A      Other registrants have obligations as

     11    well.

     12            Q      I understand.       But my question relates

     13    to the obligations of a distributor like McKesson.

     14    It has certain legal obligations, correct?

     15            A      That's correct.

     16            Q      You agree with me that McKesson cannot

     17    delegate its obligations to a customer?

     18            A      I agree.




   Golkow Litigation Services                                               Page 88
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 89 Confidentiality
                                                         of 429. PageID #: 213442
                                                                              Review




   Golkow Litigation Services                                               Page 89
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 90 Confidentiality
                                                         of 429. PageID #: 213443
                                                                              Review




   Golkow Litigation Services                                               Page 90
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 91 Confidentiality
                                                         of 429. PageID #: 213444
                                                                              Review




   Golkow Litigation Services                                               Page 91
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 92 Confidentiality
                                                         of 429. PageID #: 213445
                                                                              Review




   Golkow Litigation Services                                               Page 92
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 93 Confidentiality
                                                         of 429. PageID #: 213446
                                                                              Review




   Golkow Litigation Services                                               Page 93
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 94 Confidentiality
                                                         of 429. PageID #: 213447
                                                                              Review




     17            Q      And do you agree that the law requires

     18    that suspicious orders that are blocked should not

     19    be shipped to the customer?

     20                   MR. STANNER:       Sorry.     Object to the form

     21    of the question.        "Orders that are blocked" --

     22                   MR. HAWAL:      Yes, sir.

     23                   MR. STANNER:       -- "should not be

     24    shipped."

   Golkow Litigation Services                                               Page 94
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 95 Confidentiality
                                                         of 429. PageID #: 213448
                                                                              Review

      1                   THE WITNESS:       I don't know that there's

      2    anything in the law that there's a requirement to

      3    not ship that -- that.          It says to identify and

      4    report suspicious orders.

      5    BY MR. HAWAL:

      6            Q      So is it your position that a suspicious

      7    order that is identified and reported can be

      8    shipped or should be shipped?

      9                   MR. STANNER:       Object to the form of the

     10    question, calls for a legal conclusion.

     11                   THE WITNESS:       Under our program, we

     12    block the order and don't ship it.

     13    BY MR. HAWAL:




     23    BY MR. HAWAL:

     24            Q      You -- you do that in order to

   Golkow Litigation Services                                               Page 95
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 96 Confidentiality
                                                         of 429. PageID #: 213449
                                                                              Review

      1    effectively exercise your responsibility to avoid

      2    diversion, true?

      3                   MR. STANNER:       Object to the form.

      4                   THE WITNESS:       Well, I think, first of

      5    all, you have to understand that a suspicious

      6    order does not equal a suspicious customer.                  It's

      7    important to understand that -- that orders that

      8    are simply of unusual size or deviate

      9    substantially from a normal pattern or -- or

     10    frequency are simply that.            Without further

     11    knowing more about the customer, you don't know

     12    whether or not that suspicious order is destined

     13    for diversion or not.          And we know from our

     14    experience, more likely than not that that's not

     15    the case.

     16                   So to focus on a suspicious order is

     17    actually misplaced.         If you really want to know

     18    whether or not diversion may or may not occur, you

     19    need to know the customer.            And so part of our

     20    program is extensive due diligence so that we know

     21    our customer.

     22    BY MR. HAWAL:




   Golkow Litigation Services                                               Page 96
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 97 Confidentiality
                                                         of 429. PageID #: 213450
                                                                              Review




     13    BY MR. HAWAL:

     14            Q      I understand that there are all sorts of

     15    possibilities, but the fact of the matter is that

     16    suspicious orders can lead you to a suspicious

     17    customer, true?

     18                   MR. STANNER:       Object to the form of the

     19    question.

     20                   THE WITNESS:       Without knowing more about

     21    the customer, no.

     22    BY MR. HAWAL:

     23            Q      Well --

     24            A      There is an assumption that a suspicious

   Golkow Litigation Services                                               Page 97
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 98 Confidentiality
                                                         of 429. PageID #: 213451
                                                                              Review

      1    order equals a suspicious customer, and that's

      2    very misplaced from my experience.

      3            Q      Well, sir, are you talking about --

      4    what -- what experience are you talking about?

      5            A      My experience at McKesson.

      6            Q      Well, the -- the terms and conditions of

      7    the 2008 settlement agreement called for the

      8    identification and detection of suspicious orders.

      9    True?

     10            A      That's correct.

     11            Q      Do you see one word in this entire

     12    agreement that talks about suspicious customers?

     13                   MR. STANNER:       I'm sorry, which exhibit

     14    are you referring to?

     15                   MR. HAWAL:      I don't remember the -- the

     16    number, but it's the settlement release and

     17    agreement.

     18                   MS. MONAGHAN:       This is 3.

     19                   MR. STANNER:       Obviously we don't want

     20    him to read the entire thing here.

     21                   MR. HAWAL:      Yeah, I don't.

     22    BY MR. HAWAL:

     23            Q      Did you ever see anything in this

     24    obligation that McKesson undertook in 2008 that

   Golkow Litigation Services                                               Page 98
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-5
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 99 Confidentiality
                                                         of 429. PageID #: 213452
                                                                              Review

      1    talks about anything other than suspicious orders

      2    and the need to identify them and report them?

      3                   MR. STANNER:       Object to the form of the

      4    question, assumes facts.

      5                   THE WITNESS:       It talks about maintaining

      6    effective controls against diversion.

      7    BY MR. HAWAL:

      8            Q      Mm-hmm.     And I think we went through --

      9            A      Sure.

     10            Q      -- a number of times that

     11    paragraph 1(a) identifies suspicious orders.                  And

     12    by my count, it's three in that paragraph.                 And if

     13    you go to paragraph (c), it again talks about

     14    suspicious orders.

     15                   But nowhere do I see anything about

     16    suspicious customers.          Am I incorrect?

     17            A      I don't -- without reading the entire

     18    document, I don't know that it speaks to it or

     19    not.    I'm not sure what your question is.

     20            Q      Well, if you would like to at -- you

     21    know, during the course of the break to -- to read

     22    the entire document and tell me where you find

     23    suspicious customers, I'll be happy to allow you

     24    to come back and correct -- correct me.                Okay?

   Golkow Litigation Services                                               Page 99
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further100Confidentiality
                                                           of 429. PageID #: 213453
                                                                               Review

      1                    MR. SATIN:      Counsel, I don't think he

      2     can do that.       If you want him to read this now and

      3     give you an answer, he can do it.              But he can't --

      4     you can't ask him to do work outside of the

      5     hearing.     If you want an answer --

      6                    MR. HAWAL:      Well, I can -- I can ask him

      7     anything I'd like.         I mean, we are going to be

      8     taking breaks during -- and including a lunch

      9     break, and if -- if you or McKesson's counsel

     10     wants to assist the witness to identify suspicious

     11     customers in this document, I would be happy to do

     12     that as well.

     13     BY MR. HAWAL:

     14             Q      As part of this settlement agreement,

     15     did it -- does it appear to you that the DEA and

     16     the Department of Justice expected McKesson to

     17     provide its employees, including sales

     18     representatives, with adequate training and

     19     guidance on how to implement and obey this new

     20     Controlled Substance Monitoring Program?

     21                    MR. STANNER:       Object --

     22                    MR. SATIN:      Objection -- sorry.

     23     Objection.      Do not answer that as it's asking for

     24     what the DEA was intending.

    Golkow Litigation Services                                             Page 100
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further101Confidentiality
                                                           of 429. PageID #: 213454
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      You've read this -- you've read this

      3     document previously, correct?

      4             A      I only -- I have not read it cover to

      5     cover, no.

      6             Q      Well, is it your expectation as a

      7     McKesson employee that McKesson's sales

      8     representatives and Regulatory Affairs

      9     representatives should have adequate training on

     10     how to implement and effectively follow the

     11     Controlled Substance Monitoring Program that

     12     McKesson has created?

     13                    MR. STANNER:       Object to the form.

     14                    THE WITNESS:       I believe that that was

     15     part of the settlement agreement for the -- for

     16     the terms of the -- during the terms of the

     17     settlement agreement.

     18     BY MR. HAWAL:

     19             Q      And do you believe as a McKesson

     20     employee that that should be an obligation that

     21     McKesson should have followed and adhere to?

     22                    MR. STANNER:       Object to the form.

     23                    THE WITNESS:       I believe that it was part

     24     of the agreement during the terms of the life of

    Golkow Litigation Services                                             Page 101
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further102Confidentiality
                                                           of 429. PageID #: 213455
                                                                               Review

      1     this agreement and what they were responsible for.

      2     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 102
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further103Confidentiality
                                                           of 429. PageID #: 213456
                                                                               Review




    Golkow Litigation Services                                             Page 103
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further104Confidentiality
                                                           of 429. PageID #: 213457
                                                                               Review




    Golkow Litigation Services                                             Page 104
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further105Confidentiality
                                                           of 429. PageID #: 213458
                                                                               Review




    Golkow Litigation Services                                             Page 105
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further106Confidentiality
                                                           of 429. PageID #: 213459
                                                                               Review




    Golkow Litigation Services                                             Page 106
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further107Confidentiality
                                                           of 429. PageID #: 213460
                                                                               Review




     20     BY MR. HAWAL:

     21             Q      As of 2011, did you make occasional

     22     public statements expressing your frustration as a

     23     DEA agent whereby you believed that certain

     24     distributors were not following their obligations

    Golkow Litigation Services                                             Page 107
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further108Confidentiality
                                                           of 429. PageID #: 213461
                                                                               Review

      1     under the law to prevent diversion of controlled

      2     substances?

      3             A      I'm not sure that I agree with the

      4     characterization of it being my frustration.                  I --

      5     I'm sure that I -- during that time frame, I made

      6     public statements on a variety of different

      7     topics.

      8             Q      Well, did you make some public

      9     statements that were critical of distributors with

     10     respect to violating their obligations under the

     11     law to prevent diversion of controlled substances?

     12             A      If you have a specific example that we

     13     could talk about --

     14             Q      Well, we --

     15             A      -- I would be more than happy to.              I --

     16     I don't recall every --

     17             Q      You don't recall ever doing that?

     18             A      I don't recall every statement I made.

     19             Q      Do you recall making a statement to

     20     USA Today which was published in 2012?

     21             A      During my time at DEA, I made dozens of

     22     statements to the media.           I don't recall off --

     23     any one in particular.

     24                    MR. HAWAL:      I think we're on Exhibit 6.

    Golkow Litigation Services                                             Page 108
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further109Confidentiality
                                                           of 429. PageID #: 213462
                                                                               Review

      1                    (Plaintiffs' Exhibit No. 6 was

      2                    marked for identification.)

      3                    MR. HAWAL:      I'm going to use the ELMO.

      4     BY MR. HAWAL:

      5             Q      Mr. Boggs, I'm handing you what has been

      6     marked as Exhibit 6.          Is an article that was in

      7     the USA Today on February 28, 2012, where it says:

      8     "DEA aims big to stem painkiller black market."

      9     And then below that it says:            "Cardinal Health

     10     says it didn't look the other way."

     11                    Do you remember seeing this article at

     12     or near the time that it came out?

     13             A      I don't recall it, no.

     14             Q      All right.      If we go to -- I think it's

     15     the fourth page, it attributes certain statements

     16     to you.     And the paragraph starts with:             "'Within

     17     the closed system, each license holder has

     18     responsibilities to maintain control of the drugs

     19     and keep them from getting to illegitimate

     20     players,' DEA Special Agent Gary Boggs said."

     21                    First of all, is that an accurate

     22     statement?

     23                    MR. STANNER:       Object to the form, vague.

     24                    THE WITNESS:       The registrants have a

    Golkow Litigation Services                                             Page 109
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further110Confidentiality
                                                           of 429. PageID #: 213463
                                                                               Review

      1     legal obligation to maintain effective controls --

      2     BY MR. HAWAL:

      3             Q      So it is --

      4             A      -- against diversion.

      5             Q      It is an accurate statement.

      6             A      I agree.

      7             Q      And do you deny having made that

      8     statement to a USA Today reporter in that context?

      9             A      I don't.

     10             Q      Do you deny having a conversation with a

     11     USA Today reporter about the subject of diversion

     12     of controlled substances and distributors'

     13     obligations?

     14             A      I do not.

     15             Q      Okay.    And then it goes on to say:

     16     "'The law requires distributors, such as Cardinal

     17     Health, to have systems to detect suspicious

     18     orders, which must then be reported to the DEA.

     19     The Agency repeatedly warns distributors that the

     20     size of an order alone triggers the distributors'

     21     responsibility to report it to the DEA,' Boggs

     22     said."

     23                    First of all, was that an accurate

     24     statement?

    Golkow Litigation Services                                             Page 110
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further111Confidentiality
                                                           of 429. PageID #: 213464
                                                                               Review

      1                    MR. STANNER:       Object to the form.

      2     Accurate that it's there, or accurate that he said

      3     it, or is the statement itself substantively

      4     accurate?

      5                    THE WITNESS:       I believe you read it

      6     correctly.

      7     BY MR. HAWAL:

      8             Q      Well, is it -- is it a true statement?

      9             A      It's a paraphrase of the regulation,

     10     yes.

     11             Q      Again, do you have any reason to deny

     12     having made that statement to a USA Today

     13     reporter?

     14             A      I do not.

     15             Q      Then it says:       "'Distributors must cut

     16     sales to those drugstores with suspicious orders,

     17     even if they have a valid DEA license,' he said."

     18                    Is that also a true statement?

     19                    MR. STANNER:       Same objection.

     20                    THE WITNESS:       I don't know that I agree

     21     with the characterization of that.               We have an

     22     obligation to maintain effective controls against

     23     diversion, and if that means stopping sales, that

     24     could be, based upon the facts and circumstances,

    Golkow Litigation Services                                             Page 111
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further112Confidentiality
                                                           of 429. PageID #: 213465
                                                                               Review

      1     the outcome.

      2     BY MR. HAWAL:

      3             Q      And then it has a statement in

      4     quotations:      "If all those players involved are

      5     either complicit or not doing their due diligence

      6     correctly, that whole system comes tumbling down."

      7                    Do you disagree that you made that

      8     statement?

      9             A      I don't.

     10             Q      And then below that it has further

     11     statements attributable to you.             It says:

     12     "'Distributors can act more quickly than law

     13     enforcement if they know something is wrong,'

     14     Boggs said."

     15                    Do you have any reason to dispute having

     16     said that statement?

     17                    MR. STANNER:       Again, I'm going -- I'm

     18     going to object to the foundation on all the

     19     questions that are clearly paraphrases and not

     20     quotations.

     21     BY MR. HAWAL:

     22             Q      Do you agree -- do you have any reason

     23     to disagree that you made such a statement or a

     24     statement to that effect?

    Golkow Litigation Services                                             Page 112
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further113Confidentiality
                                                           of 429. PageID #: 213466
                                                                               Review

      1             A      I do not.

      2             Q      And then it goes on to say:            "'We have

      3     to investigate things in a different manner than a

      4     company that can act on a suspicious order.                  We

      5     have to meet constitutional and legal

      6     requirements.       They don't have to sell to

      7     someone,' Boggs said.          'They have a moral

      8     obligation as keepers of powerful and dangerous

      9     substances to make sure those substances are used

     10     for legitimate medical purposes.'"

     11                    Do you have any reason to dispute having

     12     made those statements?

     13             A      I do not.

     14             Q      Looking at the context of these

     15     statements and in terms of what this article is

     16     reported to be about, would it be fair to say that

     17     you as a DEA agent at the time were expressing

     18     dissatisfaction or frustration with certain

     19     distributors as to their failure to maintain

     20     effective controls to prevent the diversion of

     21     controlled substances?

     22                    MR. STANNER:       Object to the form.

     23                    MR. SATIN:      And I -- objection.         I'm

     24     objecting pursuant to Touhy.

    Golkow Litigation Services                                             Page 113
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further114Confidentiality
                                                           of 429. PageID #: 213467
                                                                               Review

      1                    I don't quite understand the question.

      2     You can ask him about what he said but not why he

      3     said it or what was going on at DEA at the time

      4     that may have informed this statement.

      5                    MR. HAWAL:      Counsel, this -- this is --

      6     he clearly made a public statement, and I believe

      7     that the Touhy requirements allow me to explore

      8     the circumstances of this public statement.                  I

      9     don't understand how you can object in the context

     10     of what he says here.

     11                    MR. SATIN:      So I -- I had a conversation

     12     with the AUSA, Mr. Bennett, on this subject, and

     13     while it's permissible to ask about the fact of

     14     those public statements, but what is behind those

     15     statements, the circumstances, the motives, the

     16     background material, that is off-limits.                 That's

     17     an issue you'll have to take up with the

     18     government.

     19                    MS. KASWAN:      We've been going quite a

     20     while.    Can we take a break?

     21                    MR. STANNER:       The witness is fine, so

     22     we're happy to keep going.            Obviously, people

     23     should feel free to use the restroom.

     24                    MS. KASWAN:      I could use a break.

    Golkow Litigation Services                                               Page 114
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further115Confidentiality
                                                           of 429. PageID #: 213468
                                                                               Review

      1                    THE VIDEOGRAPHER:        The time is

      2     11:24 a.m.      We're going off the record.

      3                    (Recess.)

      4                    THE VIDEOGRAPHER:        The time is

      5     11:41 a.m., and we're back on the record.

      6     BY MR. HAWAL:

      7             Q      Mr. Boggs, continuing on with the

      8     USA Today article that we've been discussing,

      9     there's another statement that is attributable to

     10     you, and it says:        "'You can have the ostrich

     11     approach.      You can stick your head in the sand and

     12     ignore blatant signs,' Boggs said."

     13                    And then it goes on to say:            "This

     14     company is sitting in a state that has been the

     15     epicenter of the problem.           It's no secret that the

     16     drug of choice is oxycodone.            I don't think you

     17     have to be that strong of an investigator to put

     18     two and two together," close quote.

     19                    Are those statements that you would have

     20     made?

     21                    MR. STANNER:       Object to the form of the

     22     question, the word "attributable."

     23                    THE WITNESS:       I -- I believe that

     24     they're correct, yes.

    Golkow Litigation Services                                             Page 115
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further116Confidentiality
                                                           of 429. PageID #: 213469
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Were these -- were these the kinds of

      3     statements that are attributive -- attributed to

      4     you in this article that you would have been

      5     generally making during this frame?

      6                    MR. STANNER:       Object to the form of the

      7     question.

      8     BY MR. HAWAL:

      9             Q      In 2012.

     10                    MR. STANNER:       Same objection.

     11                    THE WITNESS:       I don't know that I

     12     understand your question when you say --

     13     BY MR. HAWAL:

     14             Q      Well --

     15             A      -- "generally making."

     16             Q      Well, were these the kinds of statements

     17     that you were generally making to individuals who

     18     would have been inquiring about the opioid crisis

     19     and certain distributors not living up to their

     20     obligations under federal regulations?

     21                    MR. SATIN:      Counsel, I'm sorry to

     22     interrupt.      Are you asking about statements he was

     23     making --

     24                    MR. HAWAL:      In the public domain.

    Golkow Litigation Services                                             Page 116
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further117Confidentiality
                                                           of 429. PageID #: 213470
                                                                               Review

      1                    MR. SATIN:      -- in the public domain?

      2                    MR. HAWAL:      Yes, sir.

      3                    THE WITNESS:       This is a statement I made

      4     in this particular article.            I don't recall every

      5     statement that I made during that time frame.

      6     BY MR. HAWAL:

      7             Q      Let me ask you this:         When you left DEA,

      8     did you get some type of clearance from the DEA to

      9     go work for McKesson?

     10             A      I believe that I was interviewed by

     11     McKesson counsel on -- on that.

     12             Q      Well, I'm not so concerned about

     13     McKesson's counsel.         But did you seek clearance

     14     from the DEA to go work for a distributor?

     15             A      I don't recall doing that, no.

     16             Q      So you don't have any type of written

     17     agreement with the DEA that allowed you to go work

     18     for McKesson?

     19             A      I do not.

     20             Q      Okay.    So as far as you know, there were

     21     no restrictions placed upon you by the DEA as to

     22     what you could or could not communicate with

     23     McKesson about as it relates to your pre, or --

     24     prior employment with the DEA?

    Golkow Litigation Services                                             Page 117
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further118Confidentiality
                                                           of 429. PageID #: 213471
                                                                               Review

      1                    MR. STANNER:       Object to the form of the

      2     question.

      3                    THE WITNESS:       I don't have any

      4     restrictions that I'm aware of, no, other than

      5     what we're talking about today.

      6                    MR. STANNER:       Mr. Hawal, I think someone

      7     on the phone is complaining about the microphones.

      8                    Can the people on the phone hear us?

      9                    (UNIDENTIFIED SPEAKER):           It sounds like

     10     the mics have been turned down a little bit.                  I

     11     don't know if there's a way to adjust the volume.

     12     We were fine before the break.

     13                    MR. STANNER:       I think we just tried to

     14     do that.     Has there -- have you -- have you

     15     noticed any change?         We just tried -- we just

     16     changed the volume.

     17                    (UNIDENTIFIED SPEAKER):           No, not yet.

     18                    THE VIDEOGRAPHER:        Do you hear anything

     19     better now?

     20                    (UNIDENTIFIED SPEAKER):           Yes.    Much

     21     better.     Thank you.

     22                    MR. STANNER:       Great.    If people on the

     23     phone could mute their phones, that would be very

     24     helpful.     Thanks.

    Golkow Litigation Services                                              Page 118
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further119Confidentiality
                                                           of 429. PageID #: 213472
                                                                               Review

      1                    (Plaintiffs' Exhibit No. 7 was

      2                    marked for identification.)

      3     BY MR. HAWAL:

      4             Q      Mr. Boggs, I'm handing you what has been

      5     marked as Plaintiffs' Exhibit 7, which is a

      6     different article but also from 2012.                And this

      7     was published in Bloomberg Businessweek.                 The

      8     title of the article is "American Pain:                The

      9     Largest U.S. Pill Mill's Rise and Fall."                 "There

     10     were 335 million prescriptions for painkillers

     11     written in 2011.        Is it any wonder some of them

     12     were from criminals?"

     13                    And my question is, do you recall being

     14     interviewed by someone from Bloomberg Businessweek

     15     at or around this time where you made certain

     16     statements that were -- that appeared in this

     17     article?

     18             A      I do not.

     19             Q      I'm going to put on the screen a

     20     paragraph that has certain statements that are

     21     attributable to you.          And it says:       "Gary Boggs,

     22     Special Agent with the DEA's Office of Diversion

     23     Control says, 'The cases that the DEA has brought

     24     in recent years involved wholesalers knowingly

    Golkow Litigation Services                                             Page 119
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further120Confidentiality
                                                           of 429. PageID #: 213473
                                                                               Review

      1     making enormous sales to customers that were

      2     per se in violation of DEA rules.              The notion put

      3     out by HDMA that somehow or another the DEA is not

      4     providing essential information to them is simply

      5     not accurate,' says Boggs.            'It's a smoke screen.

      6     It's a step out of desperation.'"

      7                    Do you remember making such statements

      8     in 2012?

      9                    MR. STANNER:       Object to the form,

     10     compound.      Vague if you're referring to the

     11     quotation on the preceding sentence.

     12                    MR. HAWAL:      Yes.

     13     BY MR. HAWAL:

     14             Q      Do you -- do you remember making such

     15     statement?

     16                    MR. HAWAL:      I'm sorry?

     17                    MR. STANNER:       I'm sorry, you said,

     18     "Yes."      Do you mean -- are you referring just to

     19     the quotation --

     20                    MR. HAWAL:      Yes.

     21                    MR. STANNER:       -- or to the entire --

     22                    MR. HAWAL:      Yeah, quotations.

     23                    THE WITNESS:       I -- I don't recall making

     24     them.

    Golkow Litigation Services                                             Page 120
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further121Confidentiality
                                                           of 429. PageID #: 213474
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Were these statements that were

      3     consistent with statements that you would have

      4     been making at that time in the public domain?

      5             A      It appears a statement that I made for

      6     this article.

      7             Q      Okay.    And in -- in June of 2012, were

      8     you still a DEA employee or had you retired as of

      9     that time?

     10             A      I retired at the end of that month.

     11             Q      Okay.    I'm going to hand you another

     12     exhibit.     I think we're at Exhibit 8.

     13                    (Plaintiffs' Exhibit No. 8 was

     14                    marked for identification.)

     15     BY MR. HAWAL:

     16             Q      With regard to the statement that was in

     17     the Bloomberg publication, you referred to HDMA.

     18     HDMA is the trade association for pharmaceutical

     19     wholesalers like McKesson and Cardinal and

     20     AmerisourceBergen?

     21             A      It was formerly HDA -- or HDMA.             Now

     22     it's HDA.      Yes, it is.

     23             Q      And you have attended HDMA meetings?

     24                    MR. SATIN:      Are you asking about since

    Golkow Litigation Services                                             Page 121
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further122Confidentiality
                                                           of 429. PageID #: 213475
                                                                               Review

      1     he left the government or before?

      2     BY MR. HAWAL:

      3             Q      Well, let's talk about since you left

      4     the DEA, have you attended HDMA meetings?

      5             A      I don't believe I have, no.




    Golkow Litigation Services                                             Page 122
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further123Confidentiality
                                                           of 429. PageID #: 213476
                                                                               Review




    Golkow Litigation Services                                             Page 123
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further124Confidentiality
                                                           of 429. PageID #: 213477
                                                                               Review




    Golkow Litigation Services                                             Page 124
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further125Confidentiality
                                                           of 429. PageID #: 213478
                                                                               Review




    Golkow Litigation Services                                             Page 125
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further126Confidentiality
                                                           of 429. PageID #: 213479
                                                                               Review




      8     BY MR. HAWAL:

      9             Q      Well, would you agree with me that it

     10     would be difficult to make improvements if one

     11     didn't go back and determine where improvements

     12     were necessary or needed?

     13                    MR. STANNER:       Object to the form,

     14     misstates the testimony.

     15                    THE WITNESS:       I -- I think in some times

     16     that's an opportunity to do that.              I think other

     17     times you have to take into consideration that,

     18     you know, what may or may not have led to some

     19     issues that, you know, many years ago was for a

     20     different time and different type of diversion

     21     scheme where the red flags may have been different

     22     than what they are today.

     23                    So I want to make sure that I'm not

     24     looking at things that are no longer valid in

    Golkow Litigation Services                                             Page 126
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further127Confidentiality
                                                           of 429. PageID #: 213480
                                                                               Review

      1     today's environment, so I'm looking more forward

      2     and what is today's thread, if you will, of

      3     diversion, and how best that we can identify that.

      4     Not necessarily looking retrospective to schemes

      5     that are no longer a relevant factor.

      6     BY MR. HAWAL:

      7             Q      Well, you would agree generally that if

      8     one doesn't look at past mistakes, one won't learn

      9     from their past mistakes.           Is that true?

     10                    MR. STANNER:       Object to the form of the

     11     question.

     12                    THE WITNESS:       I think that that's

     13     generally a -- a solid thing.

     14                    (Plaintiffs' Exhibit No. 9 was

     15                    marked for identification.)

     16                    MR. HAWAL:      Evan, 880.

     17     BY MR. HAWAL:

     18             Q      Mr. Boggs, I've handed you what has been

     19     marked as Plaintiffs' Exhibit 9, bearing Bates

     20     stamp MCK-AGMS-0060000880.




    Golkow Litigation Services                                             Page 127
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further128Confidentiality
                                                           of 429. PageID #: 213481
                                                                               Review

      1                    Do you recall this PowerPoint

      2     presentation?

      3             A      I do.

      4             Q      Did you have a chance to review this

      5     when you were preparing for this deposition with

      6     your counsel?

      7             A      I --

      8                    MR. STANNER:       Objection to the extent it

      9     calls for privileged information.

     10     BY MR. HAWAL:

     11             Q      Did you review this?

     12             A      I've looked at this document, yes.

     13             Q      As part of your preparation for this

     14     deposition?

     15             A      I did.

     16             Q      And this was prepared -- what does

     17     "Olive Branch" mean?

     18             A      Olive Branch is where the McKesson's

     19     national redistribution center is.               It's Olive

     20     Branch, Mississippi.

     21             Q      Okay.    And this would have been prepared

     22     after you left the DEA?

     23             A      It would.

     24             Q      Did it contain information that you

    Golkow Litigation Services                                             Page 128
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further129Confidentiality
                                                           of 429. PageID #: 213482
                                                                               Review

      1     would have learned or become aware of when you

      2     worked for the DEA?

      3             A      It did.     It does.

      4             Q      Did you seek and obtain any clearance

      5     from the DEA to make this presentation or put this

      6     material together?

      7             A      I did not.

      8             Q      Now, when you reviewed this PowerPoint

      9     presentation, did it appear to you to be correct

     10     and accurate?       Was there anything -- or was there

     11     anything that stood out as being inaccurate or

     12     that you deemed required correction?

     13             A      I --

     14                    MR. STANNER:       You're asking -- I'm

     15     sorry, Counsel, you're asking at the time it was

     16     prepared or since then?

     17                    MR. HAWAL:      No, when you -- when he

     18     reviewed it in preparation for his deposition.

     19                    MR. STANNER:       My mistake.

     20                    THE WITNESS:       When I reviewed it, it

     21     appeared to be an accurate representation of the

     22     presentation that I gave.

     23     BY MR. HAWAL:



    Golkow Litigation Services                                             Page 129
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further130Confidentiality
                                                           of 429. PageID #: 213483
                                                                               Review




    Golkow Litigation Services                                             Page 130
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further131Confidentiality
                                                           of 429. PageID #: 213484
                                                                               Review




    Golkow Litigation Services                                             Page 131
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further132Confidentiality
                                                           of 429. PageID #: 213485
                                                                               Review

      1     use of prescription painkillers."

      2                    What did you mean by that statement?

      3             A      What I meant by that statement, which is

      4     reflected in the -- the next slide, is an example

      5     of a manufacturer who was involved in an

      6     investigation or a settlement with the government

      7     that was about the false or misleading of

      8     OxyContin, which was specifically to Purdue

      9     Pharma.

     10             Q      And the next page references Purdue

     11     Pharma in a $635 million fine that was imposed on

     12     Purdue for misleading advertising about its

     13     OxyContin product?

     14             A      That's correct.

     15             Q      And you -- you consider that to be one

     16     of the causes of the opioid crisis in the United

     17     States?

     18                    MR. STANNER:       Object to the form of the

     19     question.

     20                    THE WITNESS:       I think it has a

     21     contributing factor, yes.

     22     BY MR. HAWAL:

     23             Q      And then the next page, you reference a

     24     company, Cephalon, in a $425 million fine, which

    Golkow Litigation Services                                             Page 132
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further133Confidentiality
                                                           of 429. PageID #: 213486
                                                                               Review

      1     it ended up agreeing to pay as a result of

      2     inappropriate marketing of its drug fentanyl?

      3             A      That's correct.

      4             Q      Again, a factor that you considered to

      5     be contributing to the opioid crisis in the United

      6     States?

      7                    MR. STANNER:       Object to the form.

      8                    THE WITNESS:       I did.




    Golkow Litigation Services                                             Page 133
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further134Confidentiality
                                                           of 429. PageID #: 213487
                                                                               Review




      4     BY MR. HAWAL:

      5             Q      So are you saying that you do not agree

      6     that as greater amounts of opioid pills are

      7     diverted into the illicit marketplace, that the

      8     probability is that the number of addictions and

      9     deaths will increase?

     10                    MR. STANNER:       Same -- same objection.           I

     11     think it --

     12                    MR. HAWAL:      I understand.       All you have

     13     to do is say, "Objection," Andrew.

     14                    MR. STANNER:       Okay.

     15                    MR. HAWAL:      That would be appreciated,

     16     because the rules require no speaking objections.

     17                    MR. STANNER:       I'm just trying to be

     18     helpful.

     19     BY MR. HAWAL:

     20             Q      Sir?

     21                    MR. HAWAL:      I understand.       Thank you.

     22                    THE WITNESS:       I -- I think there is a

     23     correlation between diversion and -- and

     24     associated problems with diversion.

    Golkow Litigation Services                                             Page 134
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further135Confidentiality
                                                           of 429. PageID #: 213488
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Well, true.      And the greater the amount

      3     of diversion, the greater the likelihood is of

      4     ensuing harm, such as addiction and death.                 True?

      5             A      I believe that's a fair statement, yes.

      6             Q      What was the source of this information

      7     used to create this graph or chart?

      8             A      I -- I don't recall.




    Golkow Litigation Services                                             Page 135
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further136Confidentiality
                                                           of 429. PageID #: 213489
                                                                               Review




    Golkow Litigation Services                                             Page 136
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further137Confidentiality
                                                           of 429. PageID #: 213490
                                                                               Review




    Golkow Litigation Services                                             Page 137
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further138Confidentiality
                                                           of 429. PageID #: 213491
                                                                               Review




    Golkow Litigation Services                                             Page 138
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further139Confidentiality
                                                           of 429. PageID #: 213492
                                                                               Review




    Golkow Litigation Services                                             Page 139
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further140Confidentiality
                                                           of 429. PageID #: 213493
                                                                               Review




     21             Q      Have you seen any studies or statistics

     22     that reference the cost to communities, both

     23     cities and counties and states, as it relates to

     24     the economic impact of the opioid crisis?

    Golkow Litigation Services                                             Page 140
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further141Confidentiality
                                                           of 429. PageID #: 213494
                                                                               Review

      1                    MR. STANNER:       Object to the form.

      2                    THE WITNESS:       Not that I recall

      3     specifically that, no.

      4     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 141
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further142Confidentiality
                                                           of 429. PageID #: 213495
                                                                               Review




     13     BY MR. HAWAL:

     14             Q      I mean, for example, if a small

     15     community in a given state that has, you know, 600

     16     adults -- you know, a population of 600 adults and

     17     is getting hundreds of thousands of opioid pills

     18     provided to one pharmacy in such a small

     19     community, that would indicate to you an example

     20     of an exorbitant amount of pills going to a

     21     potentially suspicious customer.              Fair?

     22             A      It could be, yes.




    Golkow Litigation Services                                             Page 142
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further143Confidentiality
                                                           of 429. PageID #: 213496
                                                                               Review




    Golkow Litigation Services                                             Page 143
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further144Confidentiality
                                                           of 429. PageID #: 213497
                                                                               Review




      9     BY MR. HAWAL:

     10             Q      I'm not -- I'm not saying automatically,

     11     but generally speaking, would you agree that an

     12     exorbitant amount going to a small community that

     13     is also in the epicenter of diversion, that that

     14     would be consistent with a greater degree of harm?

     15             A      I think it requires a greater -- you

     16     know, more diligence to determine what's going on

     17     and what the factors are there, and maybe it's

     18     diversion or maybe there's a legitimate reason.




    Golkow Litigation Services                                             Page 144
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further145Confidentiality
                                                           of 429. PageID #: 213498
                                                                               Review




     14             Q      And these would be red flags that would

     15     not have been first known in 2013, but would have

     16     been red flags that distributors should have been

     17     aware of for many years.           True?

     18                    MR. STANNER:       Object to the form.

     19                    THE WITNESS:       I don't know that that's

     20     necessarily the case.          We're -- we're talking

     21     about a couple of significant diversion schemes

     22     that occurred at a period of time that have

     23     never -- never happened before in this country.

     24     So the red flags sometimes are very specific to

    Golkow Litigation Services                                             Page 145
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further146Confidentiality
                                                           of 429. PageID #: 213499
                                                                               Review

      1     that criminal scheme that may not be applicable to

      2     other types of schemes or other day-to-day

      3     operations of regular pharmacies or practitioners.

      4     BY MR. HAWAL:

      5             Q      Well, sir, if a -- if a distributor in

      6     2005 was aware that these red flags were occurring

      7     in a given community or related to a given

      8     customer, should these have been red flags in 2005

      9     as well as they were in 2013?

     10                    MR. STANNER:       Object to the form.

     11                    MR. SATIN:      And objection.        Don't answer

     12     that if you're going to disclose non-public

     13     information that you obtained while at the DEA.

     14                    THE WITNESS:       I think that they are red

     15     flags, yes.

     16     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 146
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further147Confidentiality
                                                           of 429. PageID #: 213500
                                                                               Review




    Golkow Litigation Services                                             Page 147
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further148Confidentiality
                                                           of 429. PageID #: 213501
                                                                               Review




    Golkow Litigation Services                                             Page 148
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further149Confidentiality
                                                           of 429. PageID #: 213502
                                                                               Review




    Golkow Litigation Services                                             Page 149
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further150Confidentiality
                                                           of 429. PageID #: 213503
                                                                               Review




     17     BY MR. HAWAL:

     18             Q      Well, it could have been an industry

     19     practice earlier than that.            There's nothing

     20     unique about setting thresholds that coincides

     21     with 2006 and 2007.         True?

     22                    MR. STANNER:       Object to the form.

     23                    THE WITNESS:       It -- it's one methodology

     24     to identify and report suspicious orders.                 There

    Golkow Litigation Services                                             Page 150
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further151Confidentiality
                                                           of 429. PageID #: 213504
                                                                               Review

      1     may be others.

      2                    (Plaintiffs' Exhibit No. 10 was

      3                    marked for identification.)

      4     BY MR. HAWAL:

      5             Q      Mr. Boggs, I'm going to hand you what's

      6     been marked as Exhibit 10.            This is 301,

      7     Operations Manual.

      8                    Mr. Boggs, I take it you've seen

      9     McKesson's Operations Manual for the Controlled

     10     Substance Monitoring Program?

     11             A      I have.

     12             Q      If you look at page 13 of 16, and the

     13     numbering is at the top right-hand corner, this --

     14     is this the -- this is the manual for the

     15     Controlled Substance Monitoring Program that was

     16     enacted as a part of McKesson's obligations with

     17     its 2008 settlement?

     18                    MR. STANNER:       Object to the form of the

     19     question, foundation.

     20                    THE WITNESS:       It -- it was the -- the

     21     program for -- that was instituted in 2008 for --

     22     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 151
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further152Confidentiality
                                                           of 429. PageID #: 213505
                                                                               Review




     18                    MR. STANNER:       Object to the form of the

     19     question.      Calls for speculation, hearsay,

     20     foundation.

     21                    THE WITNESS:       I don't agree with the

     22     characterization of that.           I think that the intent

     23     is to make sure that we're clear and that there's

     24     not a -- a way to misconstrue what's being written

    Golkow Litigation Services                                             Page 152
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further153Confidentiality
                                                           of 429. PageID #: 213506
                                                                               Review

      1     so that someone -- a third party that may not know

      2     anything about what transpired would -- would

      3     understand it with -- with some clarity.

      4     BY MR. HAWAL:

      5             Q      Well, let's go to the next highlighted

      6     bullet point.       It says:      "Refrain from using the

      7     word 'suspicious' in communications.               Once

      8     McKesson deems an order and/or customer

      9     suspicious, McKesson is required to act.                 This

     10     means all controlled substances sales to that

     11     customer must cease, and the DEA must be

     12     notified."

     13                    As a former DEA representative, does it

     14     trouble you that McKesson is formally instructing

     15     its employees to refrain from using the word

     16     "suspicious" in communications because of the

     17     obligation that follows identifying an order as

     18     suspicious?

     19                    MR. STANNER:       Object to the form of the

     20     question on several bases.            I'll avoid a lengthy

     21     objection.

     22     BY MR. HAWAL:

     23             Q      Does that trouble you, sir?

     24             A      I think with my understanding and

    Golkow Litigation Services                                              Page 153
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further154Confidentiality
                                                           of 429. PageID #: 213507
                                                                               Review

      1     experience over the years is that -- and I think I

      2     spoke about it earlier, is there is a -- often

      3     misunderstanding that when we say "suspicious

      4     order," that it's automatically a suspicious

      5     customer.

      6                    And I think that over the years, I've

      7     had a better appreciation for the fact that there

      8     are many legitimate reasons why orders could be

      9     placed why they are, and oftentimes the label

     10     "suspicion" is misused in the context of how we

     11     normally would think of that term.               And I think

     12     that being prudent in terms of when something is

     13     suspicious needs to be more clearly defined and

     14     understood of when we -- when we say "suspicious,"

     15     that it is -- there is something suspicious about

     16     it, and not just label that because that's the

     17     definition in the regulation.

     18             Q      Well, or is this more consistent with

     19     the public statements that you were making to the

     20     publications that we identified earlier where you

     21     were being critical of certain wholesalers in

     22     terms of keeping their heads buried in the sand

     23     like an ostrich with regard to their failure to

     24     report suspicious orders and continue to ship to

    Golkow Litigation Services                                             Page 154
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further155Confidentiality
                                                           of 429. PageID #: 213508
                                                                               Review

      1     customers that were suspicious?

      2                    MR. STANNER:       Object to the form of the

      3     question.

      4                    THE WITNESS:       I don't think those

      5     statements that I made correlate to what you're

      6     referring to here in the document at all.

      7     BY MR. HAWAL:




     15             Q      Who were you criticizing in those

     16     statements that you made to the USA Today and

     17     Bloomberg News?

     18             A      I -- that's -- those statements were

     19     made five or six years ago.            I -- I don't even

     20     recall that it was --

     21             Q      So you don't recall --

     22                    THE REPORTER:       I need to get the rest of

     23     the answer.      "I don't even recall," and you said

     24     something else.

    Golkow Litigation Services                                             Page 155
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further156Confidentiality
                                                           of 429. PageID #: 213509
                                                                               Review

      1                    THE WITNESS:       That it was made -- that

      2     those statements were made five or six years ago,

      3     and I don't recall which specific distributor that

      4     I was referring to or if I was just referring in

      5     general -- generalities.

      6     BY MR. HAWAL:

      7             Q      Well, the one article dealt specifically

      8     with Cardinal.       True?

      9                    MR. STANNER:       Object.     Vague.     If you

     10     want to point to an exhibit.

     11                    THE WITNESS:       That's what the article

     12     was.

     13     BY MR. HAWAL:

     14             Q      Well --

     15             A      I don't know that my discussions with

     16     that reporter was more general in the context of

     17     them writing an article that related to Cardinal.

     18             Q      Well, would it be fair to characterize

     19     those statements as being critical of certain

     20     distributors in terms of their failures to monitor

     21     suspicious orders and to do due diligence in terms

     22     or preventing diversion?

     23                    MR. PERRY:      Objection.      Form.

     24                    THE WITNESS:       I -- I would think that's

    Golkow Litigation Services                                             Page 156
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further157Confidentiality
                                                           of 429. PageID #: 213510
                                                                               Review

      1     a fair statement, yes.

      2     BY MR. HAWAL:

      3             Q      Now, after the 2008 settlement

      4     agreement, you became aware when you were with

      5     McKesson that McKesson was -- continued to be

      6     under investigation by the DEA, correct?

      7                    MR. STANNER:       Object to the form.

      8                    THE WITNESS:       After I was employed by

      9     McKesson?

     10     BY MR. HAWAL:

     11             Q      Yes, sir.

     12             A      I understood that there was still a

     13     settlement being negotiated between McKesson and

     14     the government.

     15             Q      Well, did you become aware that rather

     16     than improve and adhere to the promises and

     17     obligations that were made by McKesson as a part

     18     of that 2008 settlement, that the DEA and the

     19     Department of Justice determined that McKesson had

     20     a continuing systemic or companywide failure to

     21     take meaningful steps to prevent diversion of

     22     opioids?

     23                    MR. STANNER:       Object to the form of the

     24     question.

    Golkow Litigation Services                                             Page 157
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further158Confidentiality
                                                           of 429. PageID #: 213511
                                                                               Review

      1                    THE WITNESS:       I don't know that I would

      2     agree with the characterization of "systemic."                   I

      3     don't recall anything in any of the documents that

      4     there was systemic.         There was agreements in the

      5     settlement agreement that McKesson acknowledged

      6     that at various times they had not reported

      7     suspicious orders.

      8     BY MR. HAWAL:

      9             Q      Well, did you recall that the

     10     investigation that was conducted by the Department

     11     of Justice made a determination that McKesson had

     12     a systemic problem throughout the United States at

     13     multiple distribution centers from 2008 forward?

     14                    MR. STANNER:       Object to the form of the

     15     question, misstates.

     16                    MR. SATIN:      And objection -- objection

     17     to the extent you're asking him for his -- his

     18     answer as it relates to his work at the DEA as

     19     opposed to what he learned while he was at

     20     McKesson.

     21                    MR. HAWAL:      I specifically asked what he

     22     came to know as a result of his working at

     23     McKesson.

     24                    THE WITNESS:       I --

    Golkow Litigation Services                                             Page 158
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further159Confidentiality
                                                           of 429. PageID #: 213512
                                                                               Review

      1                    MR. SATIN:      That's not in that question,

      2     just to be clear.        That's not what the question

      3     was, that one.

      4     BY MR. HAWAL:

      5             Q      Sir, after you joined McKesson, did

      6     you -- were you made aware, either by speaking to

      7     McKesson personnel or reviewing documents at

      8     McKesson, that the Department of Justice made the

      9     claim that there were systemic problems throughout

     10     various distribution centers of McKesson

     11     throughout the country?

     12                    MR. STANNER:       Object to the form.

     13                    THE WITNESS:       I'm aware that the

     14     settlement encompassed several different

     15     distribution centers.

     16                    (Plaintiffs' Exhibit No. 11 was

     17                    marked for identification.)

     18     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 159
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further160Confidentiality
                                                           of 429. PageID #: 213513
                                                                               Review




      8     BY MR. HAWAL:

      9             Q      When did you last see it?

     10             A      I looked at it briefly in some of the

     11     preparation for this deposition.              I didn't read it

     12     cover to cover, but I -- I've seen it a couple

     13     different times.




     18             Q      Who was in charge of the distribution

     19     center at Aurora from a Regulatory Affairs

     20     standpoint during 2009, 2010 through 2013?

     21                    MR. STANNER:       Objection.      Speculation.

     22                    THE WITNESS:       I believe it was Tom

     23     McDonald.

     24     BY MR. HAWAL:

    Golkow Litigation Services                                             Page 160
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further161Confidentiality
                                                           of 429. PageID #: 213514
                                                                               Review

      1             Q      And Tom McDonald is still employed with

      2     McKesson?

      3             A      He is.




     24     BY MR. HAWAL:

    Golkow Litigation Services                                             Page 161
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further162Confidentiality
                                                           of 429. PageID #: 213515
                                                                               Review

      1             Q      Well, you weren't with McKesson when

      2     this investigation was largely being conducted.

      3     True?

      4             A      You asked me if I thought that this

      5     represented indifference, and I'm --

      6             Q      Yes.

      7             A      -- saying that my time, my five years at

      8     McKesson and talking to hundreds of people in

      9     McKesson, I have not seen any evidence of

     10     indifference to its regulatory obligations.

     11             Q      Well, this --

     12             A      And I don't know that it would have just

     13     all of a sudden happened prior to that, but I

     14     didn't -- I have not seen any evidence of

     15     indifference.

     16                    MR. HAWAL:      I'm going to move to strike

     17     the answer as nonresponsive.

     18     BY MR. HAWAL:

     19             Q      My question, sir, is you were not with

     20     McKesson when this investigation was being

     21     conducted in Aurora, Colorado.             True?

     22                    MR. STANNER:       Object to the form of the

     23     question.

     24                    THE WITNESS:       That's correct.

    Golkow Litigation Services                                             Page 162
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further163Confidentiality
                                                           of 429. PageID #: 213516
                                                                               Review

      1     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 163
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further164Confidentiality
                                                           of 429. PageID #: 213517
                                                                               Review



      2     BY MR. HAWAL:

      3             Q      Would you expect that a diligent company

      4     would want to investigate whether or not these

      5     allegations were true or not?

      6                    MR. STANNER:       Object to the form.

      7                    THE WITNESS:       It's my understanding that

      8     we have, and we have taken significant steps to

      9     address these issues.

     10                    MR. HAWAL:      I'm not -- move to strike as

     11     nonresponsive.

     12     BY MR. HAWAL:

     13




    Golkow Litigation Services                                             Page 164
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further165Confidentiality
                                                           of 429. PageID #: 213518
                                                                               Review




    Golkow Litigation Services                                             Page 165
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further166Confidentiality
                                                           of 429. PageID #: 213519
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      In fact, McKesson agreed to pay a

      3     $150 million fine as a result of a settlement of

      4     many of the allegations contained in this 23-page

      5     letter.     True?

      6                    MR. STANNER:       Object to the form of the

      7     question.

      8                    THE WITNESS:       I don't think that's

      9     accurate at all.

     10     BY MR. HAWAL:

     11             Q      Well, do you --

     12             A      The civil penalties relates to

     13     non-reporting of suspicious orders.               There's no

     14     other penalty -- civil penalty provision other

     15     than that, and that's what -- the only way that

     16     the dollars can be calculated --

     17             Q      Well, you --

     18             A      -- is related to failure to report a

     19     suspicious order.

     20             Q      Were you involved in negotiating the

     21     settlement between McKesson and the Department of

     22     Justice?

     23             A      I was not.

     24             Q      And did McKesson accept responsibility

    Golkow Litigation Services                                             Page 166
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further167Confidentiality
                                                           of 429. PageID #: 213520
                                                                               Review

      1     as part of that $150 million settlement?

      2                    MR. STANNER:       Objection.      Form of the

      3     question.

      4                    THE WITNESS:       As I recall, there's --

      5     there's some context to that in the settlement

      6     agreement, yes.

      7     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 167
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further168Confidentiality
                                                           of 429. PageID #: 213521
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Did anyone at McKesson?

      3                    MR. STANNER:       Objection.      Calls for

      4     speculation.

      5     BY MR. HAWAL:

      6             Q      To your knowledge?

      7             A      We were looking at setting thresholds

      8     for -- in today, since I've been with McKesson.

      9             Q      No, that's not my question, sir.              My

     10     question is, did anyone to your knowledge go back

     11     and make a determination whether or not this

     12     statement is true?

     13                    MR. STANNER:       Same objection.

     14                    THE WITNESS:       Not to my knowledge, no.

     15     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 168
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further169Confidentiality
                                                           of 429. PageID #: 213522
                                                                               Review




    Golkow Litigation Services                                             Page 169
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further170Confidentiality
                                                           of 429. PageID #: 213523
                                                                               Review




    Golkow Litigation Services                                             Page 170
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further171Confidentiality
                                                           of 429. PageID #: 213524
                                                                               Review




    Golkow Litigation Services                                             Page 171
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further172Confidentiality
                                                           of 429. PageID #: 213525
                                                                               Review




    Golkow Litigation Services                                             Page 172
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further173Confidentiality
                                                           of 429. PageID #: 213526
                                                                               Review




      4     BY MR. HAWAL:

      5             Q      So the answer to my question is, yes --

      6                    THE REPORTER:       I have looked at?         I have

      7     looked at?

      8                    MR. STANNER:       Let him finish the

      9     question -- answer.

     10                    Did you finish your answer?

     11                    THE WITNESS:       I did.

     12                    MR. STANNER:       Okay.

     13     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 173
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further174Confidentiality
                                                           of 429. PageID #: 213527
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Was anyone reprimanded or fired or in

      3     any way negatively impacted as a result of what

      4     had been going on that resulted in McKesson paying

      5     a $150 million fine for its failure to effectively

      6     follow the Controlled Substances Act?

      7                    MR. STANNER:       Objection.      Calls for

      8     speculation.

      9                    THE WITNESS:       It's my understanding that

     10     the CEO, Mr. Hammergren, testified that someone

     11     had been displaced from McKesson.              I -- I'm not

     12     privy to that information.

     13     BY MR. HAWAL:

     14             Q      So you don't know who was in any way

     15     fired or otherwise disciplined for the violations

     16     that gave rise to the $150 million penalty?

     17             A      I don't --

     18                    MR. STANNER:       Objection to the form.

     19                    THE WITNESS:       I'm sorry.      I don't know

     20     who that individual is or what other actions were

     21     taken by senior management in the company.                 I --

     22     I'm not privy to that.

     23     BY MR. HAWAL:



    Golkow Litigation Services                                             Page 174
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further175Confidentiality
                                                           of 429. PageID #: 213528
                                                                               Review




    Golkow Litigation Services                                             Page 175
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further176Confidentiality
                                                           of 429. PageID #: 213529
                                                                               Review




     13     BY MR. HAWAL:

     14             Q      What -- what states come to mind that

     15     also were receiving large quantities of opioids

     16     from McKesson that was significantly

     17     disproportionate to the population?

     18                    MR. STANNER:       Object to the form.

     19                    THE WITNESS:       West Virginia comes to

     20     mind in terms of some pharmacies that are in more

     21     rural parts of the country with small populations.

     22     BY MR. HAWAL:

     23             Q      Is that -- is that all, West Virginia

     24     and Colorado?

    Golkow Litigation Services                                             Page 176
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further177Confidentiality
                                                           of 429. PageID #: 213530
                                                                               Review

      1             A      I haven't conducted a comprehensive

      2     study to answer that question, but I -- I don't

      3     know.    I --

      4             Q      That's -- that's one of the red flags

      5     that has long been identified as a potential

      6     indicator of diversion?

      7             A      It is a red flag, yes.

      8             Q      Despite this $150 million penalty or

      9     settlement that McKesson agreed to pay for

     10     violations of the laws and regulations relating to

     11     diversion of controlled substances, you're aware

     12     that many employees of the DEA were -- who were

     13     involved in these investigations were profoundly

     14     disappointed that the fine was not much higher and

     15     that some McKesson executives were not charged

     16     criminally?

     17                    MR. STANNER:       Object to the form of the

     18     question.

     19                    THE WITNESS:       I'm not aware of that, no.

     20     BY MR. HAWAL:

     21             Q      You've not -- have you ever watched any

     22     of the "60 Minutes" segments on the opioid crisis

     23     that contain interviews with your former

     24     colleagues at DEA?

    Golkow Litigation Services                                             Page 177
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further178Confidentiality
                                                           of 429. PageID #: 213531
                                                                               Review

      1             A      I have seen one -- one of the "60

      2     Minutes" segments, yes.

      3             Q      And do you recall that some of those

      4     "60 Minutes" segments had interviews with your

      5     former colleagues where they expressed significant

      6     disappointment that McKesson received such a small

      7     fine and that no one was held personally

      8     responsible?

      9                    MR. STANNER:       Object to the form of the

     10     question.

     11                    THE WITNESS:       I don't agree with the

     12     characterization that it was a small fine.                 It's

     13     the largest fine that the DEA has ever gotten,

     14     and -- to whether or not they were disappointed or

     15     not, I know that they -- that was what they said

     16     in that interview.

     17     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 178
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further179Confidentiality
                                                           of 429. PageID #: 213532
                                                                               Review




    Golkow Litigation Services                                             Page 179
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further180Confidentiality
                                                           of 429. PageID #: 213533
                                                                               Review




     11             Q      Other distributors were also fined by

     12     the DEA for failure to conform to the Controlled

     13     Substances Act and -- and regulations.                True?

     14     Besides McKesson.

     15             A      There were other distributors that were

     16     fined by the DEA, yes.

     17             Q      And do you know what led to other

     18     distributors' fines?

     19             A      Define --

     20                    MR. STANNER:       Objection to the form.

     21                    MR. SATIN:      Objection --

     22                    THE WITNESS:       Define --

     23                    MR. SATIN:      Sorry.     Objection to the

     24     extent you're asking -- or your answer would

    Golkow Litigation Services                                             Page 180
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further181Confidentiality
                                                           of 429. PageID #: 213534
                                                                               Review

      1     reveal information about your work at the DEA.

      2                    THE WITNESS:       From any -- the public

      3     information that I've read, it was related to a

      4     failure to report a suspicious order.                That's the

      5     only reason a civil fine can be levied on a

      6     registrant.

      7     BY MR. HAWAL:

      8             Q      How many suspicious orders did McKesson

      9     fail to report from 2008 through 2013?

     10                    MR. STANNER:       Objection to the form,

     11     speculation.

     12                    THE WITNESS:       I -- I have no idea.          I

     13     don't know.

     14     BY MR. HAWAL:

     15             Q      You don't know if it was ten or 10,000?

     16                    MR. STANNER:       Same objection.

     17                    THE WITNESS:       I don't know.

     18     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 181
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further182Confidentiality
                                                           of 429. PageID #: 213535
                                                                               Review




     17             Q      Sir, do you know how many suspicious

     18     orders were not blocked but were shipped?

     19                    MR. STANNER:       Objection to the form.

     20     BY MR. HAWAL:

     21             Q      By McKesson?

     22             A      During what time frame?

     23             Q      From 2008 to 2013.

     24                    MR. STANNER:       Same objection.

    Golkow Litigation Services                                             Page 182
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further183Confidentiality
                                                           of 429. PageID #: 213536
                                                                               Review

      1                    THE WITNESS:       It was prior to my

      2     employment.      I -- I don't know.

      3     BY MR. HAWAL:

      4             Q      So you don't -- so you don't have an

      5     answer to that question either, right?

      6             A      I do not.

      7             Q      Well, would you be concerned about a

      8     suspicious order being shipped and not blocked,

      9     and no due diligence being done to determine

     10     whether or not that suspicious order should be

     11     shipped?

     12                    MR. STANNER:       Objection to the form.

     13                    THE WITNESS:       Not necessarily.

     14     BY MR. HAWAL:

     15             Q      Okay.    Did you have a different

     16     viewpoint when you were with the DEA?

     17                    MR. STANNER:       Objection --

     18                    MR. SATIN:      Objection.

     19                    MR. STANNER:       -- to the form.

     20                    MR. SATIN:      Same instruction.         Don't

     21     answer that.

     22                    THE WITNESS:       I don't know that I can

     23     answer at this time.

     24     BY MR. HAWAL:

    Golkow Litigation Services                                             Page 183
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further184Confidentiality
                                                           of 429. PageID #: 213537
                                                                               Review

      1             Q      Do you know who Gary Hilliard is?

      2             A      I do.

      3             Q      What is he -- what's his position with

      4     McKesson?

      5             A      I don't believe he's currently employed

      6     by McKesson.

      7             Q      What was his position with McKesson?

      8             A      I believe his title was director of

      9     Regulatory Affairs.

     10             Q      For what region?

     11             A      I don't know that he had a specific

     12     region.     I think he had some different

     13     responsibilities.




    Golkow Litigation Services                                             Page 184
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further185Confidentiality
                                                           of 429. PageID #: 213538
                                                                               Review




    Golkow Litigation Services                                             Page 185
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further186Confidentiality
                                                           of 429. PageID #: 213539
                                                                               Review




      8                    (Plaintiffs' Exhibit No. 12 was

      9                    marked for identification.)

     10     BY MR. HAWAL:

     11             Q      I'm going to hand you what has been

     12     marked as Plaintiffs' Exhibit 12, which is a

     13     series of e-mails, and the page that I'm going to

     14     refer you to is MCKMDL00543972, which is an e-mail

     15     exchange between Sharon Mackarness and Gary

     16     Hilliard in 2006.

     17                    MR. STANNER:       I'm sorry, I -- the Bates

     18     number that we have here starts at --

     19                    MR. HAWAL:      Yeah, it's the second --

     20     it's the backside of that.

     21                    MR. STANNER:       Right.    I have 543916.        I

     22     believe you said 543972.

     23                    MR. HAWAL:      Well, I have one that's

     24     Bates-stamped 972, and I have the same document

    Golkow Litigation Services                                             Page 186
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further187Confidentiality
                                                           of 429. PageID #: 213540
                                                                               Review

      1     Bates-stamped 00543915.

      2                    MR. STANNER:       I --

      3                    MR. SATIN:      We have the 915.

      4                    MR. STANNER:       We have 915.

      5                    MR. HAWAL:      Okay.     Well, let's just --

      6     let's go with that one.           I mean it's the same

      7     document, but --

      8     BY MR. HAWAL:

      9             Q      Do you see the -- the e-mail that says

     10     from Sharon Mackarness to Gary Hilliard dated

     11     October 26, 2006?

     12             A      I do.




    Golkow Litigation Services                                             Page 187
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further188Confidentiality
                                                           of 429. PageID #: 213541
                                                                               Review




     23     BY MR. HAWAL:

     24             Q      And how do you know that?

    Golkow Litigation Services                                             Page 188
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further189Confidentiality
                                                           of 429. PageID #: 213542
                                                                               Review

      1             A      From reading different documents --

      2             Q      Well --

      3             A      -- and seeing things in there that --

      4     that the purpose of doing that was not to avoid a

      5     suspicious order.

      6             Q      Well, was it -- was it to avoid losing

      7     sales?

      8                    MR. STANNER:       Same objection.

      9                    THE WITNESS:       I -- at the time --

     10     what -- what was occurring at the time or on

     11     specific instances, you'd have to ask the

     12     individual what their intent was.              I don't know at

     13     this point.

     14     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 189
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further190Confidentiality
                                                           of 429. PageID #: 213543
                                                                               Review




    Golkow Litigation Services                                             Page 190
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further191Confidentiality
                                                           of 429. PageID #: 213544
                                                                               Review




    Golkow Litigation Services                                             Page 191
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further192Confidentiality
                                                           of 429. PageID #: 213545
                                                                               Review




    Golkow Litigation Services                                             Page 192
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further193Confidentiality
                                                           of 429. PageID #: 213546
                                                                               Review




    Golkow Litigation Services                                             Page 193
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further194Confidentiality
                                                           of 429. PageID #: 213547
                                                                               Review




    Golkow Litigation Services                                             Page 194
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further195Confidentiality
                                                           of 429. PageID #: 213548
                                                                               Review




     10                    MR. HAWAL:      Let's take -- let's take a

     11     lunch break.

     12                    THE VIDEOGRAPHER:         The time is 1:14 p.m.

     13     We're going off the record.

     14                    MR. STANNER:       Can we stay on the record

     15     and put two quick things on the record?

     16                    MR. SATIN:      Very quickly.       When at times

     17     I've said, "Same objection," as I think everyone

     18     here knows, I'm not referring to the same

     19     objection that another lawyer in this room makes,

     20     but the same objection I previously made as it

     21     relates to Touhy.

     22                    MR. STANNER:       I --

     23                    MR. HAWAL:      Understood.

     24                    MR. STANNER:       I'd just like to put on

    Golkow Litigation Services                                             Page 195
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further196Confidentiality
                                                           of 429. PageID #: 213549
                                                                               Review

      1     the record what I mentioned before we got started

      2     today at the beginning of the day.

      3                    So obviously since then a number of

      4     questions have come up that have implicated this

      5     DEA stuff.      It is our view that Mr. Boggs is

      6     subject to seven hours of a deposition.                So to the

      7     extent that you want reserve some time pending a

      8     Touhy ruling, I would ask you to be mindful of

      9     that throughout the day.           But we would not consent

     10     to seven hours today and any additional time based

     11     on DEA.     So please be mindful of that.

     12                    MR. HAWAL:      Will do.     Thank you.

     13                    THE VIDEOGRAPHER:        The time is 1:14 p.m.

     14     We're going off the record.

     15                    (Lunch recess.)

     16                    THE VIDEOGRAPHER:        The time is 2:05

     17     p.m., and we're back on the record.

     18                    (Plaintiffs' Exhibit No. 14 was

     19                    marked for identification.)

     20     BY MR. HAWAL:

     21             Q      Mr. Boggs, I'm going to hand you what

     22     has been marked as Plaintiffs' Exhibit 14.




    Golkow Litigation Services                                             Page 196
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further197Confidentiality
                                                           of 429. PageID #: 213550
                                                                               Review




    Golkow Litigation Services                                             Page 197
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further198Confidentiality
                                                           of 429. PageID #: 213551
                                                                               Review




     23             Q      And the crisis in West Virginia is where

     24     McKesson for years had shipped opioid pills in

    Golkow Litigation Services                                             Page 198
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further199Confidentiality
                                                           of 429. PageID #: 213552
                                                                               Review

      1     enormous quantities to small towns with

      2     populations --

      3                    MR. LIVINGSTON:        I'm sorry.      We can

      4     barely hear you on the phone.

      5                    (A discussion was held off the record.)

      6                    THE VIDEOGRAPHER:        The time is 2:08 p.m.

      7     We're going off the record.

      8                    (Pause.)

      9                    THE VIDEOGRAPHER:        The time is 2:10

     10     p.m., and we're back on the record.

     11     BY MR. HAWAL:

     12             Q      Mr. Boggs, are you aware from the time

     13     that you've been at McKesson that over the years

     14     McKesson had shipped opioid pills to communities

     15     that had small populations of hundreds or a few

     16     thousand with enormous quantities of opioids that

     17     were disproportionate to the populations of the

     18     pharmacies servicing the community?

     19                    MR. STANNER:       Object to the form of the

     20     question.

     21                    THE WITNESS:       I am.

     22     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 199
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further200Confidentiality
                                                           of 429. PageID #: 213553
                                                                               Review




     21     BY MR. HAWAL:

     22             Q      You're aware that the Attorney General

     23     of West Virginia has filed a lawsuit against

     24     McKesson and others related to the opioid epidemic

    Golkow Litigation Services                                             Page 200
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further201Confidentiality
                                                           of 429. PageID #: 213554
                                                                               Review

      1     in that state?

      2                    MR. STANNER:       Object to the form of the

      3     question.

      4                    THE WITNESS:       I am.

      5     BY MR. HAWAL:




     10             Q      By this time in September 1st of 2015,

     11     the opioid epidemic had been well established not

     12     only in West Virginia but across the country.

     13     True?

     14                    MR. STANNER:       Object to the form.

     15                    THE WITNESS:       It had.

     16     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 201
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further202Confidentiality
                                                           of 429. PageID #: 213555
                                                                               Review




    Golkow Litigation Services                                             Page 202
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further203Confidentiality
                                                           of 429. PageID #: 213556
                                                                               Review




    Golkow Litigation Services                                             Page 203
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further204Confidentiality
                                                           of 429. PageID #: 213557
                                                                               Review




    Golkow Litigation Services                                             Page 204
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further205Confidentiality
                                                           of 429. PageID #: 213558
                                                                               Review




    Golkow Litigation Services                                             Page 205
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further206Confidentiality
                                                           of 429. PageID #: 213559
                                                                               Review




    Golkow Litigation Services                                             Page 206
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further207Confidentiality
                                                           of 429. PageID #: 213560
                                                                               Review




     12




    Golkow Litigation Services                                             Page 207
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further208Confidentiality
                                                           of 429. PageID #: 213561
                                                                               Review




    Golkow Litigation Services                                             Page 208
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further209Confidentiality
                                                           of 429. PageID #: 213562
                                                                               Review




    Golkow Litigation Services                                             Page 209
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further210Confidentiality
                                                           of 429. PageID #: 213563
                                                                               Review




    Golkow Litigation Services                                             Page 210
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further211Confidentiality
                                                           of 429. PageID #: 213564
                                                                               Review




    Golkow Litigation Services                                             Page 211
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further212Confidentiality
                                                           of 429. PageID #: 213565
                                                                               Review




    Golkow Litigation Services                                             Page 212
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further213Confidentiality
                                                           of 429. PageID #: 213566
                                                                               Review




    Golkow Litigation Services                                             Page 213
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further214Confidentiality
                                                           of 429. PageID #: 213567
                                                                               Review




    Golkow Litigation Services                                             Page 214
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further215Confidentiality
                                                           of 429. PageID #: 213568
                                                                               Review




    Golkow Litigation Services                                             Page 215
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further216Confidentiality
                                                           of 429. PageID #: 213569
                                                                               Review




    Golkow Litigation Services                                             Page 216
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further217Confidentiality
                                                           of 429. PageID #: 213570
                                                                               Review




     21                    (Plaintiffs' Exhibit No. 15 was

     22                    marked for identification.)

     23     BY MR. HAWAL:

     24             Q      Was that Exhibit 14?

    Golkow Litigation Services                                             Page 217
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further218Confidentiality
                                                           of 429. PageID #: 213571
                                                                               Review

      1             A      Yes.

      2             Q      I'm handing you what we've marked as

      3     Exhibit 15.      It's an e-mail chain --

      4                    MR. WOLFE:      I don't --

      5                    MR. HAWAL:      Yeah, it's 692, but I'm not

      6     sure that you have it, Evan.            I may put it on the

      7     ELMO.

      8     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 218
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further219Confidentiality
                                                           of 429. PageID #: 213572
                                                                               Review




      4     BY MR. HAWAL:

      5             Q      Do you know who Jenny Melton is?

      6             A      I've been on some conference calls

      7     throughout my tenure at McKesson that she was on.

      8             Q      Is she with Regulatory Affairs, do you

      9     know?

     10             A      I know she's not.




     21                    Don Walker was in Regulatory Affairs,

     22     correct?

     23                    MR. STANNER:       Object to the form.

     24                    THE WITNESS:       He was the senior vice

    Golkow Litigation Services                                             Page 219
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further220Confidentiality
                                                           of 429. PageID #: 213573
                                                                               Review

      1     president over the distribution operations, and as

      2     part of his duties and responsibilities, the

      3     Regulatory Affairs folks reported up to him.

      4     BY MR. HAWAL:




     13     BY MR. HAWAL:

     14             Q      When you were with the DEA, did you

     15     expect suspicious order reports to be sent to DEA

     16     by a company like McKesson?

     17                    MR. SATIN:      Objection.      Pursuant to

     18     Touhy, do not answer that, to the extent that

     19     doing so would reveal information you obtained

     20     while at DEA.

     21     BY MR. HAWAL:

     22             Q      Are you willing to answer that, sir?

     23             A      I'm not able to answer that at this

     24     time.

    Golkow Litigation Services                                             Page 220
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further221Confidentiality
                                                           of 429. PageID #: 213574
                                                                               Review

      1             Q      Are you -- you mentioned -- you

      2     referenced Mr. Hammergren's testimony before

      3     Congress previously.

      4                    Mr. Hammergren, you're aware, testified

      5     before Congress in his capacity as president of

      6     McKesson dealing with the opioid crisis.

      7             A      It was my understanding he testified as

      8     the CEO of the company.

      9             Q      Okay.

     10             A      But -- I'm aware of that.

     11             Q      Did you -- were you present for that

     12     hearing or did you listen to it?

     13             A      I was not present, but, yes, I did

     14     listen to it.

     15             Q      Do you remember that Mr. Hammergren

     16     testified before Congress that if McKesson had its

     17     current algorithm in place in 2007, that orders

     18     which exceeded thresholds would not have been

     19     shipped?     Do you recall that?

     20                    MR. STANNER:       Object to the form.

     21                    THE WITNESS:       I don't recall

     22     specifically that, but I'll take your word for it.

     23     BY MR. HAWAL:

     24             Q      Well, does that -- does that sound

    Golkow Litigation Services                                             Page 221
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further222Confidentiality
                                                           of 429. PageID #: 213575
                                                                               Review

      1     correct that --

      2             A      I don't have any reason to doubt it.




    Golkow Litigation Services                                             Page 222
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further223Confidentiality
                                                           of 429. PageID #: 213576
                                                                               Review




     24                    (Plaintiffs' Exhibit No. 16 was

    Golkow Litigation Services                                             Page 223
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further224Confidentiality
                                                           of 429. PageID #: 213577
                                                                               Review

      1                    marked for identification.)

      2     BY MR. HAWAL:

      3             Q      Sir, I'm handing you what we've marked

      4     as Exhibit 16.

      5                    It's a number of statements that I'm

      6     going to ask you whether you agree with that apply

      7     to establishing opioid thresholds at McKesson.

      8                    Do you agree that thresholds are a

      9     critical part of CSMP at McKesson?

     10                    MR. STANNER:       Objection.      Form and

     11     foundation.

     12                    THE WITNESS:       I think they're an

     13     important part of our program, yes.

     14     BY MR. HAWAL:

     15             Q      And they were an important part of

     16     McKesson's program certainly going back to the

     17     creation of the CSMP in 2008 with its settlement

     18     agreement, right?

     19                    MR. STANNER:       Same -- same objection.

     20                    MR. SATIN:      Objection with respect to

     21     Touhy.      Don't answer if it would -- if your answer

     22     would reveal information about your time at the

     23     DEA.

     24                    THE WITNESS:       It is my understanding

    Golkow Litigation Services                                             Page 224
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further225Confidentiality
                                                           of 429. PageID #: 213578
                                                                               Review

      1     they were -- started back around 2007 under the

      2     Lifestyle Drug Monitoring Program.

      3     BY MR. HAWAL:

      4             Q      And do you agree that McKesson takes

      5     great care in setting thresholds, or should?

      6             A      I -- McKesson does take great care in

      7     setting thresholds.

      8             Q      And they should have taken great care in

      9     doing so back to 2007, correct?

     10                    MR. STANNER:       Object to the form.

     11                    THE WITNESS:       I don't know that they

     12     didn't.

     13     BY MR. HAWAL:

     14             Q      I didn't ask you that.          I'm asking you

     15     whether they should have.

     16             A      I think it would have been an important

     17     thing, yes.

     18             Q      And would you agree that each customer

     19     is unique so that the threshold is specific to

     20     each customer's business needs?             Is that a true

     21     statement?

     22             A      I would agree with it, yes.

     23             Q      And McKesson should make informed

     24     decisions based on established threshold

    Golkow Litigation Services                                             Page 225
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further226Confidentiality
                                                           of 429. PageID #: 213579
                                                                               Review

      1     information.       Is that a fair statement?

      2                    MR. STANNER:       Object to the form.

      3                    THE WITNESS:       I agree with the

      4     statement, yes.

      5                    MR. HAWAL:      I didn't mean to throw it.

      6                    MR. STANNER:       I was going to say, I'm

      7     going to give you the benefit of the doubt that

      8     but you didn't mean to throw it.

      9                    (Plaintiffs' Exhibit No. 17 was

     10                    marked for identification.)

     11     BY MR. HAWAL:

     12             Q      Have you seen this e-mail before, dated

     13     December 27th, 2010?

     14             A      I don't believe I've ever seen this

     15     document.

     16             Q      This is a document from Jay Kramer -- or

     17     to Jay Kramer from SharePoint?

     18                    MR. STANNER:       Object to the form.

     19     BY MR. HAWAL:

     20             Q      It's MCK_00168027.

     21                    MR. STANNER:       So just for the record, it

     22     doesn't have the MDL Bates on it, so maybe it's

     23     cut off due to some sizing or imaging.                The -- I

     24     think it's 165027.         Bill, I --

    Golkow Litigation Services                                             Page 226
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further227Confidentiality
                                                           of 429. PageID #: 213580
                                                                               Review

      1                    MR. HAWAL:      Yeah, the copying -- it's

      2     been copied so many times, it -- it's hard to make

      3     out, but we've used it before.

      4                    MR. STANNER:       Sure.    It's a SharePoint

      5     e-mail dated Monday, December 27, 2010, at

      6     6:12 p.m.

      7     BY MR. HAWAL:

      8             Q      Have you seen this before?

      9             A      I've never seen this before.

     10             Q      Are you familiar with SharePoint?

     11             A      I -- yes.

     12             Q      What -- what is SharePoint?

     13             A      SharePoint's kind of a software system

     14     that McKesson and other companies use as a way to

     15     manage certain functions.

     16             Q      And is Dale's Pharmacy familiar to you?

     17             A      It is not.

     18             Q      No?   I want you to assume that Dale's

     19     Pharmacy was indicted for distributing, selling

     20     opioids to illicit customers in the state of

     21     Colorado.




    Golkow Litigation Services                                             Page 227
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further228Confidentiality
                                                           of 429. PageID #: 213581
                                                                               Review




     19             Q      Which is pure speculation on your part,

     20     correct?

     21                    MR. STANNER:       Objection.      You've asked

     22     him to speculate.

     23                    THE WITNESS:       Yeah, that was my

     24     understanding.       You asked for my opinion on it.

    Golkow Litigation Services                                             Page 228
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further229Confidentiality
                                                           of 429. PageID #: 213582
                                                                               Review

      1     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 229
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further230Confidentiality
                                                           of 429. PageID #: 213583
                                                                               Review




     24                    (Plaintiffs' Exhibit No. 18 was

    Golkow Litigation Services                                             Page 230
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further231Confidentiality
                                                           of 429. PageID #: 213584
                                                                               Review

      1                    marked for identification.)

      2     BY MR. HAWAL:

      3             Q      I'm handing you what we marked as

      4     Exhibit 18, is MCKMDL00596566, which is a

      5     Controlled Substance Monitoring Program document.




    Golkow Litigation Services                                             Page 231
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further232Confidentiality
                                                           of 429. PageID #: 213585
                                                                               Review




    Golkow Litigation Services                                             Page 232
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further233Confidentiality
                                                           of 429. PageID #: 213586
                                                                               Review




     15                    (Plaintiffs' Exhibit No. 19 was

     16                    marked for identification.)

     17     BY MR. HAWAL:

     18             Q      I'm handing you what we marked as

     19     Exhibit 19.      It's another Controlled Substance

     20     Monitoring Program document relating to

     21     thresholds.      Correct?

     22             A      That's correct.




    Golkow Litigation Services                                             Page 233
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further234Confidentiality
                                                           of 429. PageID #: 213587
                                                                               Review




    Golkow Litigation Services                                             Page 234
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further235Confidentiality
                                                           of 429. PageID #: 213588
                                                                               Review




     23                    (Plaintiffs' Exhibit No. 20 was

     24                    marked for identification.)

    Golkow Litigation Services                                             Page 235
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further236Confidentiality
                                                           of 429. PageID #: 213589
                                                                               Review

      1     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 236
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further237Confidentiality
                                                           of 429. PageID #: 213590
                                                                               Review




     19                    MR. STANNER:       Objection to the form.

     20                    MR. SATIN:      Objection.      The insinuation

     21     of some of your questions, when you use the word

     22     "you," if you could be clear as to whom you are

     23     referring to.

     24                    MR. HAWAL:      I'm referring to you as

    Golkow Litigation Services                                             Page 237
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further238Confidentiality
                                                           of 429. PageID #: 213591
                                                                               Review

      1     McKesson.

      2                    MR. STANNER:       Well, I think that's the

      3     issue.      To the extent he being -- he's being asked

      4     to speak for McKesson, I would have a standing

      5     objection to some of the earlier questions.                  I

      6     think he is here in his personal capacity.                 He can

      7     speak to what he personally knows.

      8     BY MR. HAWAL:

      9             Q      Well, sir, you were -- you were retained

     10     by McKesson to make changes because of problems

     11     McKesson had been having with its Controlled

     12     Substance Monitoring Program and its

     13     anti-diversion procedures prior to your arrival,

     14     right?

     15                    MR. STANNER:       Objection.      Calls for

     16     speculation.       Object to the form.

     17                    THE WITNESS:       I was hired to work and

     18     oversee the regulatory program and improve it

     19     wherever we could --

     20     BY MR. HAWAL:

     21             Q      Well --

     22             A      -- improve it and evolve it.

     23             Q      -- you knew that McKesson had had a

     24     problem that resulted in a settlement agreement

    Golkow Litigation Services                                               Page 238
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further239Confidentiality
                                                           of 429. PageID #: 213592
                                                                               Review

      1     and fine in 2008 where they promised to make

      2     changes, and you know that changes -- well, you

      3     know that -- that problems continued that resulted

      4     in a $150 -- a $150 million settlement in 2000 and

      5     -- what was it, '18 or '17?

      6             A      '17.

      7             Q      '17.    And those problems were occurring

      8     from 2008 through 2013, right?

      9                    MR. STANNER:       Same objections, compound.

     10                    MR. SATIN:      And objection pursuant to

     11     Touhy.      Do not answer if it would reveal

     12     information you learned while at DEA.

     13                    THE WITNESS:       I was not aware of the

     14     second matter until after I was retained by

     15     McKesson.

     16     BY MR. HAWAL:

     17             Q      Right.    But you -- do you understand

     18     that the reason they hired you as a former DEA

     19     agent was to come aboard and clean up what had

     20     been happening with regard to their anti-diversion

     21     programs?

     22                    MR. STANNER:       Same objection, calls for

     23     speculation.

     24                    THE WITNESS:       I don't know if I agree

    Golkow Litigation Services                                             Page 239
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further240Confidentiality
                                                           of 429. PageID #: 213593
                                                                               Review

      1     with the characterization.            I believe that I have

      2     skill sets that can help improve and expand a

      3     program and to continue to evolve that program.

      4     BY MR. HAWAL:

      5             Q      I want you to assume that Marc's is a

      6     chain pharmacy that exists in Cuyahoga and Summit

      7     counties in Ohio, and this is -- well, I

      8     apologize.      I haven't marked it or identified it.

      9     I'll do that.

     10                    (Plaintiffs' Exhibit No. 21 was

     11                    marked for identification.)

     12     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 240
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further241Confidentiality
                                                           of 429. PageID #: 213594
                                                                               Review




    Golkow Litigation Services                                             Page 241
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further242Confidentiality
                                                           of 429. PageID #: 213595
                                                                               Review




    Golkow Litigation Services                                             Page 242
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further243Confidentiality
                                                           of 429. PageID #: 213596
                                                                               Review




    Golkow Litigation Services                                             Page 243
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further244Confidentiality
                                                           of 429. PageID #: 213597
                                                                               Review




    Golkow Litigation Services                                             Page 244
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further245Confidentiality
                                                           of 429. PageID #: 213598
                                                                               Review




    Golkow Litigation Services                                             Page 245
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further246Confidentiality
                                                           of 429. PageID #: 213599
                                                                               Review




    Golkow Litigation Services                                             Page 246
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further247Confidentiality
                                                           of 429. PageID #: 213600
                                                                               Review




      7             Q      He's not.      Was he?

      8             A      He may have before I came on.             I

      9     don't -- I don't know that.

     10                    MR. STANNER:       Yes, let me just note

     11     quickly for the record here, there's a previous




     16                    (Plaintiffs' Exhibit No. 22 was

     17                    marked for identification.)

     18     BY MR. HAWAL:

     19             Q      Mr. Boggs, was what your lawyer just

     20     said accurate?

     21             A      It is.

     22             Q      I'm handing you what we've marked as

     23     Exhibit 22, which is a series of e-mails between

     24     someone at McKesson and someone at CVS.

    Golkow Litigation Services                                             Page 247
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further248Confidentiality
                                                           of 429. PageID #: 213601
                                                                               Review




      6                    MR. STANNER:       Object to the form.

      7                    And if you need time to read the

      8     document, it's fairly lengthy.

      9                    Counsel, if there a specific point --

     10     part you want to point us to, let -- also I don't

     11     believe that --

     12                    MR. HAWAL:      I'm sorry.

     13                    MR. STANNER:       I don't believe this -- I

     14     don't believe the document that's up there is this

     15     document, unless I'm missing something.                I have

     16     MCKMDL00627048.

     17                    MR. HAWAL:      That's what I'm referring

     18     to, but -- let me put it on the ELMO.

     19                    Can you zoom in on it, Evan?            Okay.

     20     Thank you.

     21     BY MR. HAWAL:

     22             Q      The e-mail -- this is MCKMDL00627048.

     23     The e-mail is from Ned McKenna to Brian Whalen,

     24     with copies to Tom McDonald and others, and

    Golkow Litigation Services                                             Page 248
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further249Confidentiality
                                                           of 429. PageID #: 213602
                                                                               Review

      1     including Donald Walker.




     21                    MR. STANNER:       Object to the form,

     22     speculation.       Vague, "you."

     23                    MR. SATIN:      Again, also you used the

     24     word -- this is a 2010 document, and he wasn't at

    Golkow Litigation Services                                             Page 249
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further250Confidentiality
                                                           of 429. PageID #: 213603
                                                                               Review

      1     McKesson.

      2     BY MR. HAWAL:




     19     BY MR. HAWAL:

     20             Q      It is your understanding that CVS has

     21     a -- has its own suspicious order monitoring

     22     program?

     23             A      CVS would not have a suspicious order

     24     monitoring program.

    Golkow Litigation Services                                             Page 250
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further251Confidentiality
                                                           of 429. PageID #: 213604
                                                                               Review

      1             Q      It would not have its own, is that what

      2     you're saying?

      3             A      They don't -- they fill prescriptions to

      4     patients.      They don't --

      5             Q      I'm talking about its corporate -- you

      6     said you deal with the chains' corporate

      7     representatives.

      8             A      Right.

      9             Q      Does the corporate headquarters have

     10     some type of Regulatory Affairs department or

     11     suspicious monitoring program?

     12                    MR. STANNER:       Objection to the form.          He

     13     did not said that he did it personally.

     14                    THE WITNESS:       They would have a

     15     suspicious order -- or, I'm sorry, they would have

     16     a Controlled Substance Monitoring Program, but

     17     they would not have a suspicious order program.

     18     BY MR. HAWAL:

     19             Q      What does their controlled substance

     20     monitoring program consist of, if you know?

     21             A      I -- I don't know.

     22                    MR. STANNER:       Object to the form.

     23     BY MR. HAWAL:

     24             Q      Who at the company should know that?

    Golkow Litigation Services                                             Page 251
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further252Confidentiality
                                                           of 429. PageID #: 213605
                                                                               Review

      1                    MR. STANNER:       Object to the form.

      2                    THE WITNESS:       I would say that Nate

      3     Hartle would be -- be knowledgeable about that.

      4     BY MR. HAWAL:

      5             Q      Are you aware that CVS had multiple

      6     instances where they were fined by the Department

      7     of Justice as a result of their failure to

      8     appropriately implement a suspicious monitoring

      9     program and its failure to adhere to the

     10     obligations under the Controlled Substances Act

     11     and -- and regulations?

     12                    MR. STANNER:       Object to the form.

     13                    THE WITNESS:       I'm only aware of -- of

     14     one for that.       I'm not aware of multiple ones.

     15                    (Plaintiffs' Exhibit No. 23 was

     16                    marked for identification.)

     17     BY MR. HAWAL:

     18             Q      Sir --

     19                    MR. HAWAL:      Evan, I'm going to use the

     20     ELMO because you have the wrong one.

     21     BY MR. HAWAL:

     22             Q      I'm handing you what we marked as

     23     Exhibit 23.      It's a document from the United

     24     States Attorney's Office for the Eastern District

    Golkow Litigation Services                                             Page 252
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further253Confidentiality
                                                           of 429. PageID #: 213606
                                                                               Review

      1     of California, referencing the fact that CVS had

      2     paid a $5 million penalty to resolve allegations

      3     that it had violated the Controlled Substances

      4     Act.

      5                    Do you see that?

      6                    MR. STANNER:       Object to the form.

      7                    THE WITNESS:       From my reading of this,

      8     it -- it was a fine -- fine for recordkeeping

      9     violations.

     10     BY MR. HAWAL:

     11             Q      Mm-hmm.     In violation of the Controlled

     12     Substances Act?

     13             A      Or the implementing regulations, yes.

     14                    (Plaintiffs' Exhibit No. 24 was

     15                    marked for identification.)

     16     BY MR. HAWAL:

     17             Q      I'm handing you what we marked as

     18     Exhibit 24.      It is another release from the U.S.

     19     Attorney's office for the District of

     20     Massachusetts where CVS paid $3.5 million because

     21     its pharmacists were filling fake prescriptions.

     22                    MR. STANNER:       Object to the form of the

     23     question.

     24                    THE WITNESS:       I see that.

    Golkow Litigation Services                                             Page 253
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further254Confidentiality
                                                           of 429. PageID #: 213607
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Were you aware of that?

      3             A      No, I was not.

      4                    (Plaintiffs' Exhibit No. 25 was

      5                    marked for identification.)

      6     BY MR. HAWAL:

      7             Q      I'm handing you what has been marked as

      8     Exhibit 25.      It is another release from the U.S.

      9     Department -- or from, yeah, the U.S. Attorney's

     10     Office for the District of Rhode Island where CVS

     11     paid another civil penalty of $450,000 for

     12     violations of the Controlled Substances Act by

     13     filling invalid prescriptions and maintaining

     14     deficient records.

     15                    MR. STANNER:       Objection to the form.

     16                    THE WITNESS:       I see it.

     17     BY MR. HAWAL:

     18             Q      Aware of that -- were you aware of that?

     19             A      I was not aware of that, no.

     20                    (Plaintiffs' Exhibit No. 26 was

     21                    marked for identification.)

     22     BY MR. HAWAL:

     23             Q      Sir, I'm handing you what I've marked as

     24     Exhibit 26.      Is that correct, is it 26 or 27?

    Golkow Litigation Services                                             Page 254
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further255Confidentiality
                                                           of 429. PageID #: 213608
                                                                               Review

      1             A      26.

      2             Q      Is -- this one is from the Western

      3     District of Oklahoma whereby CVS agreed to pay

      4     $11 million to settle -- settle claims that it

      5     violated the Controlled Substances Act.

      6                    MR. STANNER:       Objection to the form of

      7     the question.

      8     BY MR. HAWAL:

      9             Q      Do you see that?

     10             A      I do see that.

     11             Q      And at the bottom, in identifying the

     12     reasons, it said it created and entered and

     13     maintained invalid dummy DEA registration numbers

     14     other than the valid DEA registration numbers of

     15     the prescribing practitioners on dispensing

     16     records, and in filling prescriptions for certain

     17     prescribers whose DEA registration numbers were

     18     not current or valid.

     19                    Were you aware of this civil penalty?

     20                    MR. STANNER:       Objection to the form,

     21     assumes facts.       Calls for speculation.

     22     BY MR. HAWAL:

     23             Q      Which ones -- which CVS infractions were

     24     you aware of that resulted in some type of -- of

    Golkow Litigation Services                                             Page 255
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further256Confidentiality
                                                           of 429. PageID #: 213609
                                                                               Review

      1     penalty or action by the Department of Justice?

      2             A      I'm aware of two CVS, Sanford, Florida,

      3     pharmacies that were -- there was some issues

      4     related to them.        I don't know whether or not

      5     there was actually a fine or what the final

      6     outcome of that was, but I -- I'm aware of that

      7     one.

      8             Q      Do you believe that these types of

      9     reports would be monitored by someone at McKesson

     10     who is responsible for the CVS account?

     11                    MR. STANNER:       Objection to the form.

     12                    THE WITNESS:       I would expect that to

     13     some extent.       I mean every -- every one of these

     14     appear to be a large -- there was a large focus

     15     related to the civil fine on recordkeeping

     16     violations.

     17     BY MR. HAWAL:

     18             Q      Well, are recordkeeping violations

     19     important to you?

     20                    MR. STANNER:       Objection to the form.

     21     Vague.

     22                    THE WITNESS:       They're important, yes.

     23     BY MR. HAWAL:

     24             Q      And do you believe that this type of

    Golkow Litigation Services                                             Page 256
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further257Confidentiality
                                                           of 429. PageID #: 213610
                                                                               Review

      1     history with CVS would be something that McKesson

      2     should be aware of and should be monitoring?

      3             A      I -- to some degree, yes.




     21                    MR. HAWAL:      What are we on now, 28?

     22                    MR. STANNER:       That last one was 26, I

     23     thought.

     24                    (Plaintiffs' Exhibit No. 27 was

    Golkow Litigation Services                                             Page 257
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further258Confidentiality
                                                           of 429. PageID #: 213611
                                                                               Review

      1                    marked for identification.)

      2     BY MR. HAWAL:

      3             Q      I'm handing you what has been marked as

      4     Exhibit 27.      It is several e-mails,

      5     MCKMDL00544143, between Bruce Skidgel and Donald

      6     Walker.




     14                    MR. STANNER:       Objection to the form.

     15     Foundation, speculation.

     16                    THE WITNESS:       If I could just take a

     17     minute to read it.

     18     BY MR. HAWAL:

     19             Q      Mm-hmm.

     20             A      (Peruses document.)         Could you repeat

     21     your question?




    Golkow Litigation Services                                             Page 258
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further259Confidentiality
                                                           of 429. PageID #: 213612
                                                                               Review




      6     BY MR. HAWAL:

      7             Q      Mr. Boggs, I'm going to hand you what we

      8     previously marked at your earlier deposition as

      9     Exhibit 6, MCKMDL00407451.

     10                    MR. STANNER:       Is this 28?

     11                    MR. HAWAL:      Yeah.

     12     BY MR. HAWAL:

     13             Q      And we're going to mark it as Exhibit 28

     14     for your deposition today.

     15                    (Plaintiffs' Exhibit No. 28 was

     16                    marked for identification.)

     17     BY MR. HAWAL:

     18             Q      You're familiar with the term

     19     "diversion," "drug diversion"?

     20             A      I am.

     21             Q      And what is your understanding -- well,

     22     strike that.

     23                    Are you familiar with the term "drug

     24     migration" as it relates to diversion?

    Golkow Litigation Services                                             Page 259
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further260Confidentiality
                                                           of 429. PageID #: 213613
                                                                               Review

      1             A      I am.

      2             Q      In other words, drugs that find their

      3     way into the illegal distribution system in a

      4     given community will not remain in that community;

      5     they will -- some of those drugs will migrate to

      6     adjacent communities and even different states.

      7     Is that a fair statement as to what drug migration

      8     refers to?

      9                    MR. STANNER:       Objection to form.

     10                    THE WITNESS:       I agree with that.

     11     BY MR. HAWAL:

     12             Q      That is something that has been well

     13     recognized for quite a few years now?

     14                    MR. STANNER:       Objection to form.

     15                    THE WITNESS:       I -- I agree with the --

     16     the definition of it.          As long as it's been

     17     recognized, I don't know.

     18     BY MR. HAWAL:

     19             Q      In fact, I've heard the term referred to

     20     as the "Blue Highway."          Have you heard that

     21     phrase?

     22             A      I've not heard that one, no.

     23             Q      In any event, on page 465 of the -- this

     24     is a PowerPoint that you created; is that correct?

    Golkow Litigation Services                                             Page 260
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further261Confidentiality
                                                           of 429. PageID #: 213614
                                                                               Review

      1             A      I believe so, yes.

      2             Q      And on page 465 of this PowerPoint,

      3     there is a map of the United States, and the title

      4     is "Drug Diversion Migration Out of Florida," and

      5     it has a series of arrows.

      6                    Is that intended to show where drugs

      7     that were being diverted in Florida were finding

      8     their way to different parts of the country?

      9                    MR. STANNER:       Objection to the form.

     10                    THE WITNESS:       What this is depicting is

     11     the criminal schemes of pill mills in Florida, and

     12     where those that were complicit in that criminal

     13     scheme would -- would take those, you know, out of

     14     Florida and into other locations throughout the

     15     United States.

     16     BY MR. HAWAL:

     17             Q      And sell them in communities in Georgia,

     18     Tennessee, Kentucky, Ohio, and Missouri?

     19             A      That could be.

     20             Q      And I take it this was based upon

     21     information that you either researched or had

     22     knowledge about?

     23                    MR. STANNER:       Objection to form.

     24     Foundation.

    Golkow Litigation Services                                             Page 261
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further262Confidentiality
                                                           of 429. PageID #: 213615
                                                                               Review

      1                    THE WITNESS:       It is.

      2                    (Plaintiffs' Exhibit No. 29 was

      3                    marked for identification.)

      4     BY MR. HAWAL:

      5             Q      The last exhibit I'm going to have

      6     marked and ask you about is Exhibit No. 29.

      7                    And although it is an Insys document and

      8     the Bates number is INSYS_MDL006972647, it is a

      9     communication from John Bonner, director of

     10     Product Management, Branded Rx, at McKesson Drug

     11     in San Francisco.

     12                    Do you know John Bonner?

     13             A      I -- I do not.




     18             Q      And do you believe that certain

     19     pharmaceutical -- or pharmaceutical distributors

     20     of opioid drugs consider the DEA the enemy?

     21                    MR. STANNER:       Objection to form.

     22     Objection to foundation as to this exhibit.

     23                    THE WITNESS:       Can I just take a minute

     24     and finish reading it?

    Golkow Litigation Services                                             Page 262
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further263Confidentiality
                                                           of 429. PageID #: 213616
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Sure.

      3             A      (Peruses document.)

      4             Q      Have you read it?

      5             A      I have.




     20                    MR. STANNER:       Object to the form of the

     21     question.

     22                    MR. SATIN:      Objection.      Pursuant to

     23     Touhy, don't answer that question to the extent it

     24     would disclose information you obtained while at

    Golkow Litigation Services                                             Page 263
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further264Confidentiality
                                                           of 429. PageID #: 213617
                                                                               Review

      1     DEA.




     19     BY MR. HAWAL:

     20             Q      You're aware that a congressman in

     21     Pennsylvania has sponsored legislation through

     22     Congress that has changed the enforcement

     23     responsibilities of the DEA and the Department of

     24     Justice as it relates to wholesalers?

    Golkow Litigation Services                                             Page 264
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further265Confidentiality
                                                           of 429. PageID #: 213618
                                                                               Review

      1                    MR. STANNER:       Object to the form.

      2     BY MR. HAWAL:

      3             Q      Marino.     Tom Marino.

      4                    MR. STANNER:       Same objection.

      5                    THE WITNESS:       I'm aware --

      6                    MR. SATIN:      Same objection with respect

      7     to Touhy.

      8                    THE WITNESS:       I'm aware of that

      9     legislation.       I'm not agree -- I'm not sure I

     10     would agree with the characterization that you

     11     framed it out.

     12     BY MR. HAWAL:

     13             Q      Well, it's legislation that was passed

     14     in 2016, correct?

     15             A      That's correct.

     16             Q      Do you know how much money McKesson has

     17     contributed to lobbying efforts with Congressman

     18     Marino and other congressmen to facilitate the

     19     passage of that legislation?

     20                    MR. STANNER:       Object to the form.

     21                    THE WITNESS:       I do not.

     22                    MR. HAWAL:      Okay.    That's all the

     23     questions I have.

     24                    MR. RAFFERTY:       Not for the plaintiffs,

    Golkow Litigation Services                                             Page 265
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further266Confidentiality
                                                           of 429. PageID #: 213619
                                                                               Review

      1     though.

      2                    MR. STANNER:       Understood.

      3                    MR. RAFFERTY:       Let's take a ten-minute

      4     break and will swap out some stuff.

      5                    MR. STANNER:       That will be fine.

      6                    THE VIDEOGRAPHER:        The time is 3:31 p.m.

      7     We're going off the record.

      8                    (Recess.)

      9                    THE VIDEOGRAPHER:        The time is 3:49 p.m.

     10     We're back on the record.

     11                          DIRECT EXAMINATION

     12     BY MR. RAFFERTY:

     13             Q      Mr. Boggs, good afternoon.            My name is

     14     Troy Rafferty.       I'm representing the plaintiffs in

     15     this case along with Mr. Hawal.             I'm going to ask

     16     you some additional questions here for a bit,

     17     okay?

     18             A      Sure.

     19             Q      Okay.    And if I talk over you, I

     20     certainly don't mean to.           I know we're under time

     21     crunches, and I'm going to do my best not to do

     22     that, but if I do, I apologize, and I don't mean

     23     to, and just point it out to me, or your counsel

     24     will point it out to me.           Okay?

    Golkow Litigation Services                                             Page 266
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further267Confidentiality
                                                           of 429. PageID #: 213620
                                                                               Review

      1             A      Sure.

      2             Q      You were just being asked some questions

      3     about a bill that was passed in 2016 by Mr. Hawal.

      4     Are you familiar with that?

      5             A      I am.

      6             Q      In fact, you have been of the opinion

      7     for several years, dating back even to your time

      8     at the DEA, that the distributors of opioids and

      9     narcotics had basically blown off the DEA.

     10     Correct?

     11                    MR. STANNER:       Objection to form.

     12                    THE WITNESS:       I don't know if I would

     13     necessarily characterize it that in its entirety.

     14     BY MR. RAFFERTY:

     15             Q      Well, how would you -- do you believe as

     16     we sit here today that leading up to your

     17     employment at McKesson that the distributors had

     18     blown off the DEA?

     19                    MR. SATIN:      Objection pursuant to Touhy.

     20     Don't ask that -- don't answer that if it's going

     21     to reveal information you learned while at the

     22     DEA.

     23                    THE WITNESS:       I don't believe I can

     24     answer the question at this time.

    Golkow Litigation Services                                             Page 267
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further268Confidentiality
                                                           of 429. PageID #: 213621
                                                                               Review

      1     BY MR. RAFFERTY:

      2             Q      All right.      Well, let me -- let me show

      3     you what we're marking as Exhibit 30.

      4                    (Plaintiffs' Exhibit No. 30 was

      5                    marked for identification.)

      6                    MR. STANNER:       Thank you.

      7     BY MR. RAFFERTY:

      8             Q      Two -- 1.2033.       And this is

      9     Bates-numbered MCKMDL00661483.

     10                    I'm going to direct your attention to

     11     the middle e-mail.         That's the one I'm going to

     12     ask you about, Mr. Boggs.

     13                    Do you know who Ann Berkey is?

     14             A      She used to be employed by McKesson.               I

     15     don't believe she's any longer employed by

     16     McKesson.

     17             Q      You had conversations with her in the

     18     past about your time at the DEA and your

     19     impressions of the -- of the interaction between

     20     the distributors and DEA, correct?

     21             A      I don't know that I had multiple

     22     conversations with her.           I -- I recall a

     23     conversation.

     24             Q      Okay.    Well, let's take a look at what

    Golkow Litigation Services                                             Page 268
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further269Confidentiality
                                                           of 429. PageID #: 213622
                                                                               Review

      1     Ms. Berkey says here in this e-mail dated April 8,

      2     2014.    You were at -- at McKesson at that time,

      3     correct?

      4             A      I was.




    Golkow Litigation Services                                             Page 269
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further270Confidentiality
                                                           of 429. PageID #: 213623
                                                                               Review




     22             Q      Okay.    And a distributor of narcotics

     23     just like McKesson, right?

     24             A      That's correct.

    Golkow Litigation Services                                             Page 270
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further271Confidentiality
                                                           of 429. PageID #: 213624
                                                                               Review




     19     BY MR. RAFFERTY:

     20             Q      So you were -- at least in 2014, you

     21     were sharing information from your time at DEA

     22     with employees of McKesson.            True?

     23             A      In -- in generalities, yes.

     24             Q      Okay.    Including how -- how the DEA had

    Golkow Litigation Services                                             Page 271
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further272Confidentiality
                                                           of 429. PageID #: 213625
                                                                               Review

      1     processes in place to collaborate with the

      2     wholesalers, correct?

      3             A      That's correct.

      4             Q      Okay.    And while you were at the DEA,

      5     what processes were in place for you to

      6     collaborate with wholesalers?

      7                    MR. SATIN:      Objection.      Pursuant to

      8     Touhy, don't answer that question.

      9     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 272
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further273Confidentiality
                                                           of 429. PageID #: 213626
                                                                               Review

      1     as Exhibit 31.        It's going to be a lot later --

      2     lot lighter trip home for me.

      3                    (Plaintiffs' Exhibit No. 31 was

      4                    marked for identification.)

      5     BY MR. RAFFERTY:

      6             Q      So it is 1.1555.

      7                    MR. STANNER:       This is Boggs 31?

      8                    MR. RAFFERTY:       Boggs 31, yes, sir.

      9     BY MR. RAFFERTY:

     10             Q      Do you recognize this as Section 55,

     11     Mr. Boggs?      Do you see at the top it says "55 -

     12     Controlled Substances"?

     13             A      Yes.    I do.

     14             Q      And it's dated July 2000.           Do you see

     15     that?

     16             A      I do.




    Golkow Litigation Services                                             Page 273
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further274Confidentiality
                                                           of 429. PageID #: 213627
                                                                               Review




      9     BY MR. RAFFERTY:

     10             Q      Well, but you reviewed it, you said,

     11     right?

     12             A      Only cursory.       I haven't -- this is --

     13     this is not in place since I came to McKesson.




     21     BY MR. RAFFERTY:

     22             Q      Okay.    Are you -- okay.

     23                    Let's go ahead and just turn the page.

     24     It should be at .29.          Down at the bottom, it

    Golkow Litigation Services                                             Page 274
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further275Confidentiality
                                                           of 429. PageID #: 213628
                                                                               Review

      1     should say at some point 1.555.29.

      2                    MR. STANNER:       Sorry, at the top right of

      3     our documents.

      4                    MR. RAFFERTY:       Top right, yes.        I'm

      5     sorry.      Mine is at the bottom.

      6                    THE WITNESS:       What would -- what's the

      7     number again?

      8     BY MR. RAFFERTY:

      9             Q      29.

     10             A      Okay.

     11                    MR. STANNER:       555.29.

     12                    THE WITNESS:       Okay.

     13     BY MR. RAFFERTY:




    Golkow Litigation Services                                              Page 275
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further276Confidentiality
                                                           of 429. PageID #: 213629
                                                                               Review




    Golkow Litigation Services                                             Page 276
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further277Confidentiality
                                                           of 429. PageID #: 213630
                                                                               Review




    Golkow Litigation Services                                             Page 277
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further278Confidentiality
                                                           of 429. PageID #: 213631
                                                                               Review




    Golkow Litigation Services                                             Page 278
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further279Confidentiality
                                                           of 429. PageID #: 213632
                                                                               Review




    Golkow Litigation Services                                             Page 279
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further280Confidentiality
                                                           of 429. PageID #: 213633
                                                                               Review




    Golkow Litigation Services                                             Page 280
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further281Confidentiality
                                                           of 429. PageID #: 213634
                                                                               Review




     15             Q      Okay.    I'm going to hand you what we're

     16     marking as exhibit -- I think we're at 33, right?

     17     I hope so because that's the next one I got.

     18                    MR. STANNER:       I had this as 31.

     19                    MS. MONAGHAN:       Yeah, we're on 32.

     20                    MR. RAFFERTY:       We're on 32?

     21                    (A discussion was held off the record.)

     22                    MR. RAFFERTY:       Go off the record for

     23     just one second.

     24                    THE VIDEOGRAPHER:        The time is 4:02 p.m.

    Golkow Litigation Services                                             Page 281
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further282Confidentiality
                                                           of 429. PageID #: 213635
                                                                               Review

      1     We're going off the record.

      2                    (A discussion was held off the record.)

      3                    THE VIDEOGRAPHER:        The time is 4:02 p.m.

      4     We're back on the record.

      5                    (Plaintiffs' Exhibit No. 32 was

      6                    marked for identification.)

      7     BY MR. RAFFERTY:

      8             Q      All right.      I've just handed your

      9     counsel what we've marked as Exhibit 32,

     10     Mr. Boggs.      And it is 1.2100.

     11                    So have you ever seen -- this, I'm going

     12     to represent to you, was produced to us as an

     13     example of a DU45 report that was submitted by

     14     McKesson to the DEA.

     15                    Are you familiar -- have you seen any

     16     type of document like that?

     17             A      I have not seen it, no.

     18             Q      Could you hold it up for the camera just

     19     so -- because I'm going to represent to you that

     20     that is two-sided, it's printed on both sides, and

     21     it's approximately 600 pages long.




    Golkow Litigation Services                                             Page 282
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further283Confidentiality
                                                           of 429. PageID #: 213636
                                                                               Review




    Golkow Litigation Services                                             Page 283
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further284Confidentiality
                                                           of 429. PageID #: 213637
                                                                               Review




     18             Q      In fact, you're aware that the DEA made

     19     clear to all of the distributors that simply

     20     submitting these excess purchase orders reports

     21     did not satisfy the distributors' duties and

     22     obligations under the Controlled Substances Act,

     23     correct?

     24                    MR. SATIN:      Objection pursuant to Touhy.

    Golkow Litigation Services                                             Page 284
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further285Confidentiality
                                                           of 429. PageID #: 213638
                                                                               Review

      1     Don't answer if it's going to reveal any

      2     information from your time at DEA.

      3                    THE WITNESS:       I don't believe I can

      4     answer that question right at this time.

      5     BY MR. RAFFERTY:

      6             Q      Okay.    In fact, if we look at what I'm

      7     going to mark as exhibit -- I just found 32.

      8     Okay.

      9                    MR. RAFFERTY:       Well, too late now.

     10     BY MR. RAFFERTY:

     11             Q      So Exhibit 33 -- all right.            So I'm

     12     marking as Exhibit 33 -- that's why I don't

     13     pre-mark exhibits.

     14                    (Plaintiffs' Exhibit No. 33 was

     15                    marked for identification.)

     16     BY MR. RAFFERTY:

     17             Q      What years were you work -- working at

     18     the -- in the diversion -- or at the DEA in

     19     regards to diversion?

     20                    MR. STANNER:       Objection.      Form.

     21                    THE WITNESS:       I started in January of

     22     2006, and I retired from that position and the

     23     Agency at the end of June of 2012.

     24     BY MR. RAFFERTY:

    Golkow Litigation Services                                             Page 285
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further286Confidentiality
                                                           of 429. PageID #: 213639
                                                                               Review

      1             Q      And then started with McKesson in 2013?

      2             A      Almost the end of 2013, yes.

      3             Q      Okay.    So here, looking at this

      4     particular -- it's 1823.           Here it says:       "Summary

      5     of DEA-HDMA meeting on suspicious orders.                 Meeting

      6     date, September 7th, 2007."

      7                    And it's got the different attendees of

      8     the HDMA, and then the DEA.            Mark Caverly, Kathy

      9     Gallagher, Mike Mapes and Lisa Sullivan.                 Do you

     10     know who those are?

     11             A      I do.

     12             Q      Okay.    You worked with them at the DEA?

     13             A      I did.




     20             Q      Did you meet with any of the wholesalers

     21     one on one during the September 2007 time period?

     22                    MR. SATIN:      Objection pursuant to Touhy.

     23                    THE WITNESS:       I don't believe I can

     24     answer that question at this time.

    Golkow Litigation Services                                             Page 286
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further287Confidentiality
                                                           of 429. PageID #: 213640
                                                                               Review

      1     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 287
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further288Confidentiality
                                                           of 429. PageID #: 213641
                                                                               Review




     23     BY MR. RAFFERTY:

     24             Q      Okay.    What about when you were at the

    Golkow Litigation Services                                             Page 288
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further289Confidentiality
                                                           of 429. PageID #: 213642
                                                                               Review

      1     DEA, did you agree that DEA did not have the

      2     resources to inspect every pharmacy?

      3                    MR. SATIN:      Objection pursuant to Touhy.

      4                    THE WITNESS:       I don't think I can answer

      5     that question at this time.

      6     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 289
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further290Confidentiality
                                                           of 429. PageID #: 213643
                                                                               Review




    Golkow Litigation Services                                             Page 290
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further291Confidentiality
                                                           of 429. PageID #: 213644
                                                                               Review




    Golkow Litigation Services                                             Page 291
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further292Confidentiality
                                                           of 429. PageID #: 213645
                                                                               Review




    Golkow Litigation Services                                             Page 292
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further293Confidentiality
                                                           of 429. PageID #: 213646
                                                                               Review




      3             Q      Now, you -- you agree with me that not

      4     only must -- speaking of today, while you're here

      5     at -- since you've been at McKesson, you would

      6     agree that you have an obligation not to just

      7     report but also to block suspicious orders --

      8                    MR. STANNER:       Object --

      9     BY MR. RAFFERTY:

     10             Q      -- and then perform due diligence on

     11     those to determine whether or not they're likely

     12     to be diverted to illegal uses, correct?

     13                    MR. STANNER:       Objection to the form on

     14     several bases.        I'll save you the time unless you

     15     want them.

     16                    MR. RAFFERTY:       That's okay.

     17                    THE WITNESS:       A regulatory obligation?

     18     BY MR. RAFFERTY:

     19             Q      Yes.

     20             A      No, I don't agree with that at all.

     21             Q      You don't agree with that.

     22             A      I don't know anywhere in the regulation

     23     that that's a requirement.

     24             Q      Did you believe that when you were at

    Golkow Litigation Services                                             Page 293
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further294Confidentiality
                                                           of 429. PageID #: 213647
                                                                               Review

      1     the DEA?

      2                    MR. SATIN:      Objection pursuant to Touhy.

      3                    THE WITNESS:       I don't believe I can

      4     answer that question at this time.

      5     BY MR. RAFFERTY:

      6             Q      In fact, let's go ahead and mark this as

      7     Exhibit 34, 1946.

      8                    (Plaintiffs' Exhibit No. 34 was

      9                    marked for identification.)

     10     BY MR. RAFFERTY:

     11             Q      This is a -- this is a document,

     12     Mr. Boggs, dated September 1 -- well, it's

     13     actually dated October 20, 2005 up in the top

     14     right corner, but it's referencing a presentation

     15     on September 1st, 2005.

     16                    Do you see that?

     17             A      I do.




    Golkow Litigation Services                                             Page 294
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further295Confidentiality
                                                           of 429. PageID #: 213648
                                                                               Review




      8             Q      Did you become aware while you were at

      9     the DEA that these meetings were taking place?

     10                    MR. SATIN:      Objection pursuant to Touhy.

     11                    THE WITNESS:       During the time frame of

     12     this -- this memorandum, I was not in -- in the

     13     diversion program, so I didn't -- I wasn't aware

     14     of this.

     15     BY MR. RAFFERTY:

     16             Q      It says here that the -- it looks at --

     17     it's to Joseph Rannazzisi from Michael Mapes.

     18                    I believe you said you knew Michael

     19     Mapes?

     20             A      I do.




    Golkow Litigation Services                                             Page 295
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further296Confidentiality
                                                           of 429. PageID #: 213649
                                                                               Review




    Golkow Litigation Services                                             Page 296
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further297Confidentiality
                                                           of 429. PageID #: 213650
                                                                               Review




     16             Q      And you know today in your work with

     17     McKesson that that's a requirement and has been a

     18     requirement of the Controlled Substances Act since

     19     its passage, correct?

     20             A      That's correct.




    Golkow Litigation Services                                             Page 297
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further298Confidentiality
                                                           of 429. PageID #: 213651
                                                                               Review




      5             Q      Okay.    And you know that as -- as of

      6     today that's true, correct?

      7                    MR. STANNER:       Objection to form.

      8     BY MR. RAFFERTY:

      9             Q      That simply reporting a suspicious order

     10     does not relieve the distributor of its

     11     responsibility to maintain effective controls

     12     against diversion.

     13                    MR. STANNER:       Object to the form.

     14                    THE WITNESS:       I do.

     15     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 298
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further299Confidentiality
                                                           of 429. PageID #: 213652
                                                                               Review




     13     BY MR. RAFFERTY:

     14             Q      Okay.    And in fact, that never changed.

     15     I think Mr. Hawal showed you Mr. Rannazzisi's

     16     letter.     Do you recall that?

     17             A      There were a couple of them.            Is there

     18     one in particular that you are referencing?

     19             Q      1464.

     20                    MR. RAFFERTY:       Exhibit 1?

     21                        (Counsel conferring.)

     22                    THE WITNESS:       Exhibit 1?

     23     BY MR. RAFFERTY:

     24             Q      Exhibit 1, yeah.

    Golkow Litigation Services                                             Page 299
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further300Confidentiality
                                                           of 429. PageID #: 213653
                                                                               Review

      1                    So -- and this is in 2006.            So about a

      2     year after that presentation we just saw, the DEA

      3     was once again -- on page -- I'm sorry, sir,

      4     page 2, .2 -- on page 2 is telling McKesson and

      5     the other distributors:           "In addition to reporting

      6     all suspicious orders, a distributor has a

      7     statutory responsibility to exercise due diligence

      8     to avoid filling suspicious orders that might be

      9     diverted into then legitimate, medical

     10     scientific -- into other than legitimate, medical,

     11     scientific and industrial channels."

     12                    Do you see that?

     13             A      I do.

     14             Q      Okay.    And Mr. Rannazzisi, you know who

     15     he is, right?

     16             A      I do.

     17             Q      Did you work with him at the DEA?

     18             A      I did.

     19             Q      Okay.    And here he says:         "There is a

     20     statutory responsibility to exercise due diligence

     21     to avoid filling suspicious orders."

     22                    When you avoid filling a suspicious

     23     order, that means you block that suspicious order,

     24     correct?

    Golkow Litigation Services                                             Page 300
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further301Confidentiality
                                                           of 429. PageID #: 213654
                                                                               Review

      1                    MR. SATIN:      You're asking him today

      2     about what he believes?

      3                    MR. RAFFERTY:       Today.

      4     BY MR. RAFFERTY:

      5             Q      You understand that's what --

      6                    MR. STANNER:       Objection to form.

      7     BY MR. RAFFERTY:

      8             Q      That's what -- when you avoid filling --

      9     if McKesson avoids filling a suspicious order,

     10     that means they're blocking that order, they're

     11     not shipping it.

     12                    MR. STANNER:       Objection to form.

     13                    THE WITNESS:       I'm not sure I understand

     14     your question.       We -- we do block orders.

     15     BY MR. RAFFERTY:

     16             Q      That isn't my question.

     17                    Here's my question:         It says here that:

     18     "There is a statutory responsibility to exercise

     19     due diligence to avoid filling suspicious orders?"

     20                    Right?    That's what it says?

     21             A      I'm not aware of a statutory or

     22     regulatory obligation to block and not ship an

     23     order.      We have -- we have a legal obligation to

     24     maintain effective controls against diversion.

    Golkow Litigation Services                                             Page 301
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further302Confidentiality
                                                           of 429. PageID #: 213655
                                                                               Review

      1             Q      And here, Mr. Rannazzisi at the DEA is

      2     saying that you have -- you have a statutory

      3     responsibility to avoid filling suspicious orders.

      4     That's what he's saying, right?

      5             A      That's what it says.

      6             Q      Okay.    And you knew this letter had gone

      7     out to these distributors, correct?

      8                    MR. SATIN:      Objection pursuant to Touhy.

      9                    THE WITNESS:       I've seen the letter since

     10     I've been at McKesson.

     11     BY MR. RAFFERTY:

     12             Q      Had you seen this letter prior to being

     13     at McKesson?

     14                    MR. SATIN:      Objection pursuant to Touhy.

     15                    THE WITNESS:       I don't know that I can

     16     answer that question at this time.

     17     BY MR. RAFFERTY:

     18             Q      All right.      Then in 2007 -- if we look

     19     at this, which we will mark as Exhibit 35 --

     20                    (Plaintiffs' Exhibit No. 35 was

     21                    marked for identification.)

     22     BY MR. RAFFERTY:

     23             Q      And I'm going to ask you specifically

     24     about one particular portion of this.

    Golkow Litigation Services                                             Page 302
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further303Confidentiality
                                                           of 429. PageID #: 213656
                                                                               Review

      1                    Down at the bottom under -- the Gary

      2     Hilliard e-mail dated September 11th, 2007, Do you

      3     see that?

      4             A      I do.




    Golkow Litigation Services                                             Page 303
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further304Confidentiality
                                                           of 429. PageID #: 213657
                                                                               Review




     20             Q      Okay.    Well, and you would agree with me

     21     today in your working with McKesson, and you would

     22     agree that registrants like McKesson that

     23     routinely report suspicious orders but fill the

     24     orders with reason to believe that they are

    Golkow Litigation Services                                             Page 304
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further305Confidentiality
                                                           of 429. PageID #: 213658
                                                                               Review

      1     destined for the illicit market are in fact

      2     failing to maintain effective controls against

      3     diversion, true?

      4                    MR. STANNER:       Objection to the form of

      5     the question.

      6                    THE WITNESS:       If they have reason to

      7     believe they're going to be destined, yes.

      8     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 305
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further306Confidentiality
                                                           of 429. PageID #: 213659
                                                                               Review




      4     McKesson, you have testified, I believe, that you

      5     have thought that that obligation was being met;

      6     is that true?

      7             A      Since my -- my time with McKesson, I

      8     believe that that's correct, yes.

      9             Q      Well, have you gone back and looked at

     10     whether or not that had been being done since

     11     2006?

     12             A      I did not.

     13             Q      Okay.    In 2006, you would agree that

     14     there was a requirement that suspicious orders be

     15     reported to the DEA, correct?

     16             A      I would agree with that, yes.

     17             Q      Okay.    I'm handing you what we're

     18     marking as Exhibit 36.

     19                    (Plaintiffs' Exhibit No. 36 was

     20                    marked for identification.)

     21     BY MR. RAFFERTY:

     22             Q      And I'm going to represent the first

     23     page is something that I -- I typed up and

     24     calculated for use of -- in the -- for use in the

    Golkow Litigation Services                                             Page 306
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further307Confidentiality
                                                           of 429. PageID #: 213660
                                                                               Review

      1     deposition, because it's a voluminous record there

      2     that I'm attaching.

      3                    I'm also going to hand you -- while

      4     we're doing it, I might as well give you the next

      5     one too, which is 37.

      6                    (Plaintiffs' Exhibit No. 37 was

      7                    marked for identification.)

      8     BY MR. RAFFERTY:

      9             Q      And 36 -- here, if we look at that, I

     10     will tell you that this was -- this document, the

     11     spreadsheet starting on page 2, was information

     12     produced to us by McKesson as the omit reports

     13     from 2006 forward.

     14                    Are you familiar with what omit reports

     15     are, sir?

     16             A      I am.




    Golkow Litigation Services                                             Page 307
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further308Confidentiality
                                                           of 429. PageID #: 213661
                                                                               Review




    Golkow Litigation Services                                             Page 308
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further309Confidentiality
                                                           of 429. PageID #: 213662
                                                                               Review




    Golkow Litigation Services                                             Page 309
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further310Confidentiality
                                                           of 429. PageID #: 213663
                                                                               Review

      1                    MR. RAFFERTY:       Cuyahoga is 36.

      2                    MR. STANNER:       Cuyahoga is 36.

      3                    MR. RAFFERTY:       30 -- no, 30 -- whatever

      4     the first one was I handed you.

      5                    THE WITNESS:       36 is Cuyahoga.

      6                    MR. RAFFERTY:       Cuyahoga.      And Summit is

      7     37.

      8                    MR. STANNER:       And so which one are you

      9     on now?

     10                    MR. RAFFERTY:       Cuyahoga, the first one.

     11                    MR. STANNER:       Got it.

     12     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 310
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further311Confidentiality
                                                           of 429. PageID #: 213664
                                                                               Review




      8             Q      In fact, if you go -- you can go all the

      9     way to page .9.        And if you go down towards the

     10     middle of the page --

     11                    MR. STANNER:       So the page -- your page

     12     numbers are cut off on ours.            Can you give -- is

     13     there a Bates or is it all the same?

     14                    MR. RAFFERTY:       912.    Bates 912.

     15                    MR. STANNER:       They're all 912.        Sorry.

     16     So -- you just got to give us a different marker.

     17     The first entry on page 9, I believe is --




    Golkow Litigation Services                                             Page 311
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further312Confidentiality
                                                           of 429. PageID #: 213665
                                                                               Review




    Golkow Litigation Services                                             Page 312
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further313Confidentiality
                                                           of 429. PageID #: 213666
                                                                               Review




    Golkow Litigation Services                                             Page 313
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further314Confidentiality
                                                           of 429. PageID #: 213667
                                                                               Review




    Golkow Litigation Services                                             Page 314
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further315Confidentiality
                                                           of 429. PageID #: 213668
                                                                               Review




    Golkow Litigation Services                                             Page 315
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further316Confidentiality
                                                           of 429. PageID #: 213669
                                                                               Review




    Golkow Litigation Services                                             Page 316
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further317Confidentiality
                                                           of 429. PageID #: 213670
                                                                               Review




    Golkow Litigation Services                                             Page 317
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further318Confidentiality
                                                           of 429. PageID #: 213671
                                                                               Review

      1                    MR. STANNER:       Objection to the form of

      2     the question.

      3     BY MR. RAFFERTY:

      4             Q      All right.      Now, interestingly --

      5                    MR. STANNER:       Mr. Rafferty, I don't mean

      6     to interrupt you, if you're moving on to the next

      7     document, we have a new attorney in the room.

      8                    Can you put your appearance on the

      9     record, please?

     10                    MS. DEFRANCESCO:        Absolutely.       Lindsay

     11     DeFrancesco from Reed Smith for AmerisourceBergen.

     12                    MR. RAFFERTY:       Good.

     13                    MR. STANNER:       Fire away.

     14     BY MR. RAFFERTY:

     15             Q      All right.      Now, interestingly, if we

     16     look at what we're going to mark as Exhibit 38.

     17                    (Plaintiffs' Exhibit No. 38 was

     18                    marked for identification.)

     19                    MR. RAFFERTY:       1433, Evan.

     20     BY MR. RAFFERTY:

     21             Q      And this may have been marked by

     22     Mr. Hawal before, I don't know.             This is -- this

     23     is the lengthy -- this is the 22, 23 pages --

     24                    MR. STANNER:       You can make it a new one.

    Golkow Litigation Services                                             Page 318
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further319Confidentiality
                                                           of 429. PageID #: 213672
                                                                               Review

      1                    MR. RAFFERTY:       What's that?

      2                    MR. STANNER:       You want to make a new

      3     one?

      4                    MR. RAFFERTY:       Yeah, let's just do that.

      5     It'll be faster and easier.

      6                    MR. STANNER:       So this is 30 -- 38.

      7     BY MR. RAFFERTY:

      8             Q      Okay.    38, okay.

      9                    All right.      So if we look at this, this

     10     is a letter from the Department of Justice,

     11     August 2014.       You're at McKesson at this point,

     12     right?

     13             A      That's correct.

     14             Q      And were you made aware of this

     15     correspondence when you were at -- while you've

     16     been at McKesson?

     17             A      (Peruses document.)

     18             Q      Do you recognize it, sir?

     19             A      (Peruses document.)

     20                    MR. STANNER:       Oh, that -- what's up on

     21     the visual and what's here are different

     22     documents, at least what we have in our hands.

     23     This is dated November 4th, 2014.

     24                    MR. RAFFERTY:       What's the number of it?

    Golkow Litigation Services                                             Page 319
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further320Confidentiality
                                                           of 429. PageID #: 213673
                                                                               Review

      1     Oh, that's 1443.        I marked the wrong one.           I'm

      2     sorry.      It's 1430 -- it's 1433.         I should have

      3     marked it.      It's my fault.

      4                    MR. STANNER:       Do you want these back?

      5                    MR. RAFFERTY:       Yeah -- well, you can

      6     have them.      I don't care.       We've got plenty.

      7                        (Counsel conferring.)

      8                    MR. STANNER:       Exhibit 11.

      9                    MR. RAFFERTY:       This is Exhibit -- this

     10     is Exhibit 11?

     11                    MS. MONAGHAN:       What is up there is

     12     Exhibit 11.

     13                    MR. RAFFERTY:       Okay.    Okay.     Good.     That

     14     helps.

     15                    Okay.    Now I'm going --

     16                    MR. STANNER:       Okay.

     17                    MR. RAFFERTY:       Well, if I had gone

     18     first, I would've had more time.

     19     BY MR. RAFFERTY:

     20             Q      All right.      Now, I'm going to screw

     21     things up because I actually had marked the right

     22     one.    I just pulled my -- my working copy was the

     23     wrong one in that file.           So now we're going to

     24     mark 38.

    Golkow Litigation Services                                              Page 320
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further321Confidentiality
                                                           of 429. PageID #: 213674
                                                                               Review

      1                    (Plaintiffs' Exhibit No. 38 was

      2                    remarked for identification.)

      3                    MR. STANNER:       This is --

      4                    MR. RAFFERTY:       This is 38, and this is

      5     one that had not --

      6                    MR. STANNER:       This is the one from

      7     before?

      8                    MR. RAFFERTY:       Yes.

      9                    MR. STANNER:       Okay.    So not that one.

     10                    MR. RAFFERTY:       Right.

     11                    THE WITNESS:       We're looking at the --

     12                    MR. SATIN:      The one, the 38 that we had

     13     marked 38 before and then we crossed out, we're

     14     going back to that one?

     15                    MR. RAFFERTY:       Yeah.

     16     BY MR. RAFFERTY:




     24             Q      Which is a part of the Department of

    Golkow Litigation Services                                             Page 321
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further322Confidentiality
                                                           of 429. PageID #: 213675
                                                                               Review

      1     Justice, true?

      2             A      It is, but it's not -- the letter is not

      3     from the Department of Justice.

      4             Q      Okay.    And in fact, if we look at this,

      5     and we look at the -- it says -- if we look at




     15             Q      Okay.    Are you familiar with this

     16     document, sir?

     17             A      I believe I read it before, yes.

     18             Q      Okay.    And in fact, they say it was

     19     systemic in that paragraph.




    Golkow Litigation Services                                             Page 322
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further323Confidentiality
                                                           of 429. PageID #: 213676
                                                                               Review




    Golkow Litigation Services                                             Page 323
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further324Confidentiality
                                                           of 429. PageID #: 213677
                                                                               Review




    Golkow Litigation Services                                             Page 324
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further325Confidentiality
                                                           of 429. PageID #: 213678
                                                                               Review




    Golkow Litigation Services                                             Page 325
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further326Confidentiality
                                                           of 429. PageID #: 213679
                                                                               Review




     13     BY MR. RAFFERTY:

     14             Q      Now, going to the LDMP you talked about,

     15     and so you told Mr. Hawal, you were familiar with

     16     the LDMP.      Do you recall that?

     17             A      I -- I've read the documents regarding

     18     that to some extent, yes.

     19             Q      Okay.    And in fact, without going

     20     through it, you know that the LD -- the LDMP

     21     started in 2007, right?

     22             A      That's my understanding, yes.




    Golkow Litigation Services                                             Page 326
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further327Confidentiality
                                                           of 429. PageID #: 213680
                                                                               Review




    Golkow Litigation Services                                             Page 327
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further328Confidentiality
                                                           of 429. PageID #: 213681
                                                                               Review




     20     BY MR. RAFFERTY:

     21             Q      Do you know whether or not the LDMP --

     22     if we look at exhibit -- I don't know what the

     23     LDMP was, so --

     24                    MR. SATIN:      I don't -- I actually don't

    Golkow Litigation Services                                             Page 328
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further329Confidentiality
                                                           of 429. PageID #: 213682
                                                                               Review

      1     know that we've actually seen the LDMP.

      2                    MR. RAFFERTY:       Okay.    Well, let's go

      3     ahead and do that real quick.             That will be

      4     Exhibit 39.

      5                    (Plaintiffs' Exhibit No. 39 was

      6                    marked for identification.)

      7                    MR. RAFFERTY:       1333.

      8     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 329
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further330Confidentiality
                                                           of 429. PageID #: 213683
                                                                               Review




     23                    MR. RAFFERTY:       Okay.    Let's look

     24     at 1829.     1829.     And mark that as Exhibit 40.

    Golkow Litigation Services                                             Page 330
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further331Confidentiality
                                                           of 429. PageID #: 213684
                                                                               Review

      1                    (Plaintiffs' Exhibit No. 40 was

      2                    marked for identification.)

      3     BY MR. RAFFERTY:

      4             Q      And if you look at this, this is a

      5     letter to the Associate Chief Counsel, Diversion

      6     and Regulatory Litigation Section, DEA, back in

      7     April of 2007.       Do you see that?

      8             A      I do.




    Golkow Litigation Services                                             Page 331
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further332Confidentiality
                                                           of 429. PageID #: 213685
                                                                               Review




    Golkow Litigation Services                                             Page 332
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further333Confidentiality
                                                           of 429. PageID #: 213686
                                                                               Review




      8                    MR. RAFFERTY:       Okay.    So let's mark 2112

      9     as Exhibit 41.

     10                    (Plaintiffs' Exhibit No. 41 was

     11                    marked for identification.)

     12     BY MR. RAFFERTY:

     13             Q      Another very small spreadsheet.             And

     14     this, I'll represent to you, is information from

     15     the ARCOS database, Mr. Boggs.




    Golkow Litigation Services                                             Page 333
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further334Confidentiality
                                                           of 429. PageID #: 213687
                                                                               Review




    Golkow Litigation Services                                             Page 334
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further335Confidentiality
                                                           of 429. PageID #: 213688
                                                                               Review




     13     BY MR. RAFFERTY:

     14             Q      Okay.    And, in fact, there is no due

     15     diligence -- there's no indication that any due

     16     diligence had been done on this particular

     17     pharmacy for these orders, and in that regard,

     18     that would be not maintaining -- McKesson not

     19     maintaining effective controls against diversion,

     20     correct?

     21                    MR. STANNER:       Objection to the form.

     22     Assumes facts, misstates, vague --

     23                    THE WITNESS:       I don't know if there was

     24     due diligence done or not.

    Golkow Litigation Services                                             Page 335
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further336Confidentiality
                                                           of 429. PageID #: 213689
                                                                               Review

      1     BY MR. RAFFERTY:




      9     BY MR. RAFFERTY:

     10             Q      But if --

     11             A      I have no idea what was done or not.

     12     This is way before my time.

     13             Q      But if there wasn't, that would concern

     14     you, correct?

     15                    MR. STANNER:       Objection to form.

     16                    THE WITNESS:       It might.      I don't know

     17     what was known.

     18     BY MR. RAFFERTY:

     19             Q      And it's important -- you would agree --

     20     I think you told Mr. Hawal earlier in the day that

     21     it's important to document that due diligence is

     22     being done.

     23                    You would agree with that, true?

     24                    MR. STANNER:       Objection to form.

    Golkow Litigation Services                                             Page 336
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further337Confidentiality
                                                           of 429. PageID #: 213690
                                                                               Review

      1                    THE WITNESS:       I think it's important to

      2     do that, yeah.

      3     BY MR. RAFFERTY:

      4             Q      Okay.    Now, if we look at one particular

      5     pharmacy.

      6                    MR. RAFFERTY:       How much time have I

      7     used?

      8                    THE VIDEOGRAPHER:        You have four

      9     minutes --

     10                    MR. RAFFERTY:       Four minutes.       All right.

     11     BY MR. RAFFERTY:

     12             Q      You understood there were some red flags

     13     -- you understand what the concept of red flags

     14     are in terms of diversion, correct?

     15             A      I do.

     16             Q      And some of those red flags are, for

     17     example, if a pharmacy is in a geographic area

     18     where there's historical -- there's been a

     19     historical high amount of abuse or usage of

     20     opioids, correct?

     21                    MR. STANNER:       Objection to form.

     22                    THE WITNESS:       That -- that can be a red

     23     flag, yes.

     24     BY MR. RAFFERTY:

    Golkow Litigation Services                                             Page 337
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further338Confidentiality
                                                           of 429. PageID #: 213691
                                                                               Review




     12             Q      Okay.

     13                    MR. RAFFERTY:       If we look at

     14     Exhibit 1891.

     15                    MR. STANNER:       Sorry, are you handing us

     16     one?

     17                    MR. RAFFERTY:       No, I say that for Evan's

     18     purposes.      I'm sorry.

     19                    No, you know what, let's look at --

     20     let's look at 1865, Evan.

     21                    And this will be Exhibit 42.

     22                    (Plaintiffs' Exhibit No. 42 was

     23                    marked for identification.)

     24                    MR. STANNER:       Thank you.

    Golkow Litigation Services                                             Page 338
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further339Confidentiality
                                                           of 429. PageID #: 213692
                                                                               Review

      1     BY MR. RAFFERTY:




     14     BY MR. RAFFERTY:

     15             Q      Okay.    If we look at what we've marked

     16     as Exhibit 42, I'll represent to you this is a

     17     document discussing a pharmacy in Warren, Ohio.

     18                    Do you know where Warren, Ohio, is?

     19             A      In Ohio.     I don't know -- I don't know

     20     exactly where in Ohio it is.

     21             Q      It's approximately 56 miles, as I

     22     calculated on my phone, from Cleveland.

     23             A      Okay.

     24             Q      Okay.    So it says here in this one, if

    Golkow Litigation Services                                             Page 339
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further340Confidentiality
                                                           of 429. PageID #: 213693
                                                                               Review




    Golkow Litigation Services                                             Page 340
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further341Confidentiality
                                                           of 429. PageID #: 213694
                                                                               Review




      4             Q      Leakage, what is that?

      5             A      Leakage, as I understand it, would be a

      6     customer's need that -- hypothetically, they

      7     needed 15,000 doses, they bought 10,000 from us

      8     and maybe 5,000 from Cardinal or ABC.                That would

      9     be -- the 5,000 would be the leakage."




     16     BY MR. RAFFERTY:

     17             Q      Okay.    All right.      Then if we go --

     18     that's 2007.

     19                    And then if we look at -- and this is a

     20     time period that the LDMP is established, correct,

     21     November 2007?

     22             A      I believe around that time frame, yes.




    Golkow Litigation Services                                             Page 341
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further342Confidentiality
                                                           of 429. PageID #: 213695
                                                                               Review




      3                    MR. STANNER:       Objection to form.

      4     BY MR. RAFFERTY:

      5             Q      We saw that in the policy.

      6                    MR. STANNER:       Same objection, prior two

      7     questions.

      8                    MR. RAFFERTY:       Okay.    And then if we

      9     look at 1881, Evan.         And mark that as Exhibit 43.

     10                    (Plaintiffs' Exhibit No. 43 was

     11                    marked for identification.)

     12     BY MR. RAFFERTY:

     13             Q      It says here January 2009.            Do you see

     14     that?




    Golkow Litigation Services                                             Page 342
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further343Confidentiality
                                                           of 429. PageID #: 213696
                                                                               Review




    Golkow Litigation Services                                             Page 343
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further344Confidentiality
                                                           of 429. PageID #: 213697
                                                                               Review




      9                    MR. RAFFERTY:       Okay.    Well, let's take a

     10     look at 1876.       1876 is -- 1876.        We'll mark it as

     11     Exhibit 44.

     12                    (Plaintiffs' Exhibit No. 44 was

     13                    marked for identification.)

     14     BY MR. RAFFERTY:




     21             Q      And it says 35.65 controls to Rx

     22     purchased, and 31.25 oxy percentage of controls,

     23     and that's high, isn't it?

     24                    MR. STANNER:       Objection to form.

    Golkow Litigation Services                                             Page 344
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further345Confidentiality
                                                           of 429. PageID #: 213698
                                                                               Review

      1                    THE WITNESS:       Not just on the surface,

      2     no.

      3     BY MR. RAFFERTY:

      4             Q      Oh, okay.      Well, it says at the top:

      5     "We are going to set up CSMP visits for all of the

      6     accounts below.        This is based on Joel Lumpkin's

      7     monthly reports.        The first column represents

      8     higher than normal controls percent to total

      9     purchases.      The second column represents" -- this

     10     would be IMSMC over 25 percent.             "The second

     11     column represents high OxyContin purchases to

     12     total control purchases (this is over 25

     13     percent)."

     14                    Do you see that?

     15             A      I do.

     16             Q      So according to this, it's high, and

     17     that's why it's being flagged, correct?

     18                    MR. STANNER:       Objection to form.

     19                    THE WITNESS:       I don't know what the

     20     purpose of it is.

     21                    MR. RAFFERTY:       Okay.    Well, let's look

     22     at 1912 now.       This is Exhibit 45.

     23                    (Plaintiffs' Exhibit No. 45 was

     24                    marked for identification.)

    Golkow Litigation Services                                             Page 345
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further346Confidentiality
                                                           of 429. PageID #: 213699
                                                                               Review

      1     BY MR. RAFFERTY:

      2             Q      And here, it says -- this is to Gary

      3     Boggs from Gary Davis.          So does this reflect

      4     your -- or refresh your memory that you're

      5     familiar with this Franklin Pharmacy?

      6             A      No, I --

      7                    MR. STANNER:       Objection to form.

      8     BY MR. RAFFERTY:




    Golkow Litigation Services                                             Page 346
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further347Confidentiality
                                                           of 429. PageID #: 213700
                                                                               Review




    Golkow Litigation Services                                             Page 347
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further348Confidentiality
                                                           of 429. PageID #: 213701
                                                                               Review




     21                    It says at the top, "In 2013, the

     22     population of Warren was listed at 40,768,"

     23     correct?

     24             A      It does.

    Golkow Litigation Services                                             Page 348
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further349Confidentiality
                                                           of 429. PageID #: 213702
                                                                               Review




    Golkow Litigation Services                                             Page 349
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further350Confidentiality
                                                           of 429. PageID #: 213703
                                                                               Review




      4                    MR. STANNER:       Objection to the form of

      5     the question.       Objection to the "you."

      6                    MR. SATIN:      And it's a foundational

      7     question.

      8     BY MR. RAFFERTY:

      9             Q      True?

     10                    MR. SATIN:      You haven't established that

     11     he was the one doing the shipping, sir.

     12                    MR. RAFFERTY:       McKesson.

     13                    MR. STANNER:       Same objections.

     14                    THE WITNESS:       I'm trying to put this in

     15     proper perspective for me to understand --

     16     BY MR. RAFFERTY:

     17             Q      I'm asking -- you don't get to ask --

     18     you don't get to rephrase my question.

     19                    MR. STANNER:       Excuse me.      You can't talk

     20     over him.      You asked the question.           He's giving

     21     you the answer.

     22                    MR. RAFFERTY:       No, he's not.       He is

     23     giving his answer he wants to give.

     24                    MR. STANNER:       You didn't even -- you

    Golkow Litigation Services                                             Page 350
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further351Confidentiality
                                                           of 429. PageID #: 213704
                                                                               Review

      1     didn't even listen to the words.

      2     BY MR. RAFFERTY:




     13                    MR. RAFFERTY:       Nothing further.        I will

     14     reserve the rest for the Touhy.

     15                    MR. STANNER:       So, we understand that's

     16     your position, and I understand why.               Obviously

     17     by -- if you choose to leave this open, that's

     18     fine.    We do not concede necessarily that you're

     19     entitled to do this.          We haven't -- we don't waive

     20     any objections to your request to the DEA filed in

     21     January, so we'll deal with all that in front of

     22     the special master when the time comes.                But

     23     understood.

     24                    MR. RAFFERTY:       Well, and one of the

    Golkow Litigation Services                                             Page 351
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further352Confidentiality
                                                           of 429. PageID #: 213705
                                                                               Review

      1     things -- I also want to make sure our position on

      2     the record is that if for some reason there is no

      3     ability to ask the Touhy questions, that we then

      4     are reserving the right to come back and finish up

      5     the time.

      6                    MR. STANNER:       And we would object to

      7     that.

      8                    The witness is here.         If you have

      9     non-Touhy questions, you should feel free to ask

     10     them.

     11                    MR. RAFFERTY:       All right.      So how much

     12     time do we have left?

     13                    THE VIDEOGRAPHER:        Six hours and 12

     14     minutes is currently used on the record.

     15                    MR. RAFFERTY:       48 minutes.

     16                    THE VIDEOGRAPHER:        Do you want to go

     17     back on -- off the record?

     18                    MR. RAFFERTY:       Off the record, yeah.

     19     I'm sorry.

     20                    THE VIDEOGRAPHER:        The time is 5:09 p.m.

     21     We're going off the record.

     22                    (Recess.)

     23                    THE VIDEOGRAPHER:        The time is 5:19 p.m.

     24     We're back on the record.

    Golkow Litigation Services                                             Page 352
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further353Confidentiality
                                                           of 429. PageID #: 213706
                                                                               Review

      1                          CROSS-EXAMINATION

      2     BY MR. STANNER:

      3             Q      Mr. Boggs, good evening.

      4             A      Good evening.

      5             Q      I want to ask you briefly about your

      6     career before McKesson.           How long did you work at

      7     the DEA?

      8             A      Probably a little over 27 years.

      9             Q      Okay.    And why did you decide to leave

     10     your position at the DEA?

     11             A      As a special agent for the government,

     12     they have mandatory retirement at age 57.                 There

     13     are some exceptions that you can get a waiver,

     14     which I was given a waiver for one year.                 I worked

     15     for about six or so months into that waiver, and

     16     then I decided that I wanted to retire and spend

     17     more time with my grandchildren and my daughter.

     18             Q      And how long were you retired before you

     19     started to work again?

     20             A      I retired the end of June of 2012.               I

     21     started doing some consulting probably around the

     22     summer of 2013.

     23             Q      And before you were at the DEA, what was

     24     your job before that?

    Golkow Litigation Services                                             Page 353
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further354Confidentiality
                                                           of 429. PageID #: 213707
                                                                               Review

      1             A      Before the DEA, I was a deputy sheriff

      2     in Orange County, Florida, for about eight and a

      3     half years.

      4             Q      What did you do before that?

      5             A      College student.

      6             Q      Mr. Boggs, I want to ask you some

      7     questions about diversion.            What is diversion?

      8             A      Diversion is the act of taking

      9     pharmaceutical controlled substances out of the

     10     closed system of distribution or from legitimate

     11     channels, patients, and then moving them into --

     12     outside of that for abuse.

     13             Q      And at McKesson, is it your

     14     responsibility to prevent diversion?

     15             A      Well, we can certainly present --

     16     prevent -- try to prevent some of diversion.                  We

     17     certainly are not able to prevent all diversion.

     18             Q      Well, why can't you prevent all

     19     diversion?

     20             A      Diversion can occur at different levels

     21     outside of the distribution's control.                Diversion

     22     can occur at a pharmacy by an employee pilfering

     23     it.   It can occur by a pharmacy being burglarized

     24     or robbed.      Diversion can occur even after

    Golkow Litigation Services                                             Page 354
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further355Confidentiality
                                                           of 429. PageID #: 213708
                                                                               Review

      1     controlled substances have left with a legitimate

      2     patient and are sitting in a medicine cabinet of

      3     someone's home, and someone steals them out of

      4     that medicine cabinet, that's diversion.                 We

      5     certainly can't control that.

      6             Q      Everything you just described is a

      7     crime.      Is that -- is there diversion other than

      8     crime?

      9             A      No, diversion --

     10                    MR. RAFFERTY:       Objection.

     11                    THE WITNESS:       Diversion is a crime.

     12                    MR. STANNER:       Sorry, can you tell me the

     13     basis?

     14                    MR. RAFFERTY:       Well, I think it's lack

     15     of foundation.

     16                    MR. STANNER:       Oh, okay.      I'll try and

     17     lay a foundation then.

     18     BY MR. STANNER:

     19             Q      Is diversion crime?

     20             A      In my opinion, it is, yes.

     21             Q      Is it always a crime?

     22             A      Yes.

     23             Q      Okay.    So in your capacity at McKesson,

     24     when you say you try to limit diversion, does that

    Golkow Litigation Services                                             Page 355
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further356Confidentiality
                                                           of 429. PageID #: 213709
                                                                               Review

      1     mean you're trying to limit crime?

      2             A      I'm sorry, could you repeat the

      3     question?

      4             Q      Sure.    In your -- at McKesson, when you

      5     say you -- part of your role is to try to limit

      6     diversion, does that mean you're trying to limit

      7     crime?

      8             A      It means we're trying to identify or

      9     prevent situations where a crime would occur.                   As

     10     I said earlier, we have security measures in our

     11     facility to prevent employee pilferage.                If the --

     12     if a rogue employee was to pilfer, that would be a

     13     crime.

     14             Q      And can you describe, what is a

     15     diversion trend?

     16             A      There's different types of schemes that

     17     can occur that would cause a -- what I would

     18     consider a trend.        We've -- we've seen diversion

     19     trends, such as rogue internet pharmacies, be a

     20     diversion trend.        It's a massive criminal scheme.

     21     We've seen pill mills in Florida.              That's a

     22     diversion trend and is a criminal scheme.

     23             Q      Are pill mills still a problem?

     24                    MR. RAFFERTY:       Objection.

    Golkow Litigation Services                                             Page 356
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further357Confidentiality
                                                           of 429. PageID #: 213710
                                                                               Review

      1                    THE WITNESS:       There are still some pill

      2     mills that can be a rogue pain management facility

      3     or something to that nature, yes.

      4     BY MR. STANNER:

      5             Q      Okay.    Is that -- is that a diversion

      6     trend that you're particularly focused on now?

      7             A      We try to focus on anything within our

      8     ability to prevent diversion, and we see some pain

      9     management clinics that are rogue.               We see some

     10     specifically bad doctors.           They're -- they're

     11     certainly not in the same context as what we knew

     12     like the Florida pill mills to be, they're nothing

     13     like that at all.

     14             Q      Okay.    What are diversion trends that

     15     are occurring -- that have been occurring since

     16     your time at McKesson?

     17             A      Well, first, they're vastly different

     18     than before.       They're looking at the pharmacies

     19     where the pharmacists or their staff may not be

     20     exercising appropriate due diligence.                That can be

     21     one -- one area that we look at.              We certainly

     22     still continue security measures around our

     23     facility.

     24             Q      Well, what -- what do you do to keep

    Golkow Litigation Services                                             Page 357
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further358Confidentiality
                                                           of 429. PageID #: 213711
                                                                               Review

      1     abreast of diversion trends?

      2             A      I read anything on the internet that I

      3     can identify as diversion trends.              I read the

      4     National Survey on Drug Use and Health.                I read

      5     the DEA's annual report that they would put out on

      6     their website on drug -- the national drug trend.

      7     We attend conferences such as the National

      8     Association of Drug Diversion Investigator

      9     conferences, the National Association of State

     10     Controlled Substance Authority, associations -- we

     11     attend those conferences.           We attend other

     12     conferences where DEA might be a keynote speaker

     13     or break- -- have presentations at breakout

     14     groups.

     15             Q      What if a doctor writes a large

     16     prescription, is that diversion?

     17             A      It can be.      It may not be.        The mere

     18     fact that it's large in and of itself doesn't mean

     19     that it's diversion.          For the -- part of the

     20     opioid epidemic has been fueled by

     21     overprescribing.        That's not illegal prescribing

     22     but it's overprescribing.

     23             Q      Can you explain what the difference --

     24     you just used two different terms,

    Golkow Litigation Services                                             Page 358
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further359Confidentiality
                                                           of 429. PageID #: 213712
                                                                               Review

      1     "overprescribing" and "illegal prescribing."                  Can

      2     you explain what you mean by those?

      3             A      Sure.    Illegal prescribing would be when

      4     a doctor would be complicit in a scheme that they

      5     know the patient doesn't need it, the patient is

      6     paying in cash, the doctor writes a prescription

      7     for a patient they've never seen before or

      8     examined before.        The doctor meets -- meets

      9     someone in a parking lot and writes a prescription

     10     in exchange for money.          Those would be illegal

     11     prescriptions.

     12                    Overprescribing, on the other hand,

     13     might be a situation where a doctor has a

     14     legitimate patient, has a legitimate need for the

     15     drugs, but instead of writing that prescription

     16     for, say, 15 days, they write it for 30 days.

     17     It's a perfectly legitimate prescription but it's

     18     overprescribing.        It's prescribing more than what

     19     that patient would need.

     20             Q      Can you give a -- can you give the jury

     21     an example of a prescription that might be

     22     overprescription -- that might be an

     23     overprescription without being diversion?

     24             A      Sure.    You might have a patient go to a

    Golkow Litigation Services                                             Page 359
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further360Confidentiality
                                                           of 429. PageID #: 213713
                                                                               Review

      1     dentist and have a tooth -- tooth extraction, and

      2     the patient needs the medication for maybe a

      3     couple of days, but the doctor writes it for

      4     30 days.     That's overprescribing.

      5             Q      So does the -- does McKesson's

      6     compliance program target overprescribing, as

      7     you've just described it?

      8             A      It -- it can't.

      9             Q      Why not?

     10             A      We don't see the prescription.             We're

     11     prohibited by law under HIPAA from knowing

     12     anything about the patient or any consultation

     13     between the patient and the doctor, and we don't

     14     have access to prescription -- the prescription

     15     itself.

     16             Q      You were asked some questions earlier

     17     today about towns that received larger volumes of

     18     pills relative to their population.               Do you

     19     remember some of those questions?

     20             A      I do.

     21             Q      Do you know if those numbers are the

     22     result of diversion or of overprescribing?

     23             A      I don't.

     24                    MR. RAFFERTY:       Objection.

    Golkow Litigation Services                                             Page 360
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further361Confidentiality
                                                           of 429. PageID #: 213714
                                                                               Review

      1     BY MR. STANNER:

      2             Q      If -- if you know, do you -- do you know

      3     if those numbers are the result of prescribing --

      4     overprescribing or diversion?

      5             A      It could be a combination of both.

      6             Q      Are you able to say with any specificity

      7     how much overprescribing is part of the problem

      8     versus diversion?

      9             A      I -- it would be my experience that a --

     10     a very large percentage of opioids that are out

     11     there are -- are through overprescribing.

     12                    MR. RAFFERTY:       Objection.

     13     BY MR. STANNER:

     14             Q      While at McKesson, has your role

     15     included responsibility for submitting suspicious

     16     order reports?

     17             A      It has.

     18             Q      What is a suspicious order?

     19             A      A suspicious order would be an order

     20     placed by the customer that is -- has been deemed

     21     as an order of unusual size, an order that

     22     deviated substantially from a normal pattern or

     23     frequent -- unusual frequency.



    Golkow Litigation Services                                             Page 361
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further362Confidentiality
                                                           of 429. PageID #: 213715
                                                                               Review




      6             Q      Mr. Boggs, I'll rephrase.

      7                    Mr. Boggs, do you know how many

      8     suspicious orders McKesson reports to the DEA in a

      9     typical month?

     10                    MR. RAFFERTY:       Objection.

     11                    THE WITNESS:       Thousands.




    Golkow Litigation Services                                             Page 362
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further363Confidentiality
                                                           of 429. PageID #: 213716
                                                                               Review




    Golkow Litigation Services                                             Page 363
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further364Confidentiality
                                                           of 429. PageID #: 213717
                                                                               Review




    Golkow Litigation Services                                             Page 364
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further365Confidentiality
                                                           of 429. PageID #: 213718
                                                                               Review




    Golkow Litigation Services                                             Page 365
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further366Confidentiality
                                                           of 429. PageID #: 213719
                                                                               Review




    Golkow Litigation Services                                             Page 366
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further367Confidentiality
                                                           of 429. PageID #: 213720
                                                                               Review




    Golkow Litigation Services                                             Page 367
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further368Confidentiality
                                                           of 429. PageID #: 213721
                                                                               Review




    Golkow Litigation Services                                             Page 368
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further369Confidentiality
                                                           of 429. PageID #: 213722
                                                                               Review




     21             Q      So, Mr. Boggs, I'm going to show you

     22     what I will mark here as Exhibit 47.               This is

     23     Bates No. MCKMDL00616425.

     24                    MR. STANNER:       Here's some copies for

    Golkow Litigation Services                                             Page 369
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further370Confidentiality
                                                           of 429. PageID #: 213723
                                                                               Review

      1     counsel.     I can put it on the ELMO.

      2                    It's a native -- it's not on there --

      3                    MS. MONAGHAN:       It's a native and the

      4     Bates number is --

      5                    MR. STANNER:       MCKMDL00616425.

      6                    (Plaintiffs' Exhibit No. 47 was

      7                    marked for identification.)

      8     BY MR. STANNER:

      9             Q      Mr. Boggs, looking here at Exhibit 47,

     10     does this look familiar to you?

     11             A      It does.




    Golkow Litigation Services                                             Page 370
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further371Confidentiality
                                                           of 429. PageID #: 213724
                                                                               Review




    Golkow Litigation Services                                             Page 371
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further372Confidentiality
                                                           of 429. PageID #: 213725
                                                                               Review




    Golkow Litigation Services                                             Page 372
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further373Confidentiality
                                                           of 429. PageID #: 213726
                                                                               Review




    Golkow Litigation Services                                             Page 373
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further374Confidentiality
                                                           of 429. PageID #: 213727
                                                                               Review




    Golkow Litigation Services                                             Page 374
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further375Confidentiality
                                                           of 429. PageID #: 213728
                                                                               Review




    Golkow Litigation Services                                             Page 375
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further376Confidentiality
                                                           of 429. PageID #: 213729
                                                                               Review




    Golkow Litigation Services                                             Page 376
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further377Confidentiality
                                                           of 429. PageID #: 213730
                                                                               Review




    Golkow Litigation Services                                             Page 377
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further378Confidentiality
                                                           of 429. PageID #: 213731
                                                                               Review




     17             Q      Do you think that McKesson takes its --

     18     its obligations -- its regulatory obligations

     19     seriously?

     20             A      I do.    In fact, if I didn't think they

     21     did, I wouldn't work for them.

     22             Q      Well, when you went to work for them,

     23     did you have -- was it -- was it your impression

     24     that they took the regulatory obligations

    Golkow Litigation Services                                             Page 378
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further379Confidentiality
                                                           of 429. PageID #: 213732
                                                                               Review

      1     seriously then?

      2             A      It was my understanding that they -- I

      3     mean they hired me.         That was an example that they

      4     were taking their regulatory obligations

      5     seriously.      People that I had talked to during the

      6     consulting periods of time, I was -- the

      7     impression I had was that McKesson took the

      8     regulatory obligations seriously.

      9             Q      When you say the people that you -- took

     10     their regulatory obligations seriously, who -- who

     11     do you have in mind?          Did you -- did you ever

     12     meet, for example, Don Walker?

     13             A      I did.

     14             Q      What were your impressions of Don

     15     Walker?

     16                    MR. RAFFERTY:       Objection.

     17                    THE WITNESS:       That he was attempting to

     18     do the right thing and he took his regulatory

     19     obligations seriously.          He hired me for

     20     consulting, and then ultimately hired me in the

     21     role that I'm in now.

     22     BY MR. STANNER:

     23             Q      Have you ever seen anything in your time

     24     at McKesson that makes you think that McKesson

    Golkow Litigation Services                                             Page 379
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further380Confidentiality
                                                           of 429. PageID #: 213733
                                                                               Review

      1     would prioritize profits over following the law?

      2             A      I have not.

      3             Q      In your time at McKesson, have you ever

      4     suggested terminating a customer and had the

      5     company push back on that?

      6             A      I have not.      They -- I have unilateral

      7     authority to terminate a customer regardless of

      8     any financial gain or loss to the company or

      9     financial gain or loss to the -- to the customer.

     10     And since I've been at McKesson, our program has

     11     probably stopped shipping to 250-some-odd

     12     customers.




    Golkow Litigation Services                                             Page 380
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further381Confidentiality
                                                           of 429. PageID #: 213734
                                                                               Review




    Golkow Litigation Services                                             Page 381
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further382Confidentiality
                                                           of 429. PageID #: 213735
                                                                               Review




    Golkow Litigation Services                                             Page 382
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further383Confidentiality
                                                           of 429. PageID #: 213736
                                                                               Review




      5             Q      You were -- are you familiar with

      6     Franklin Pharmacy in Warren, Ohio?

      7             A      The one we spoke about earlier, yes.




    Golkow Litigation Services                                             Page 383
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further384Confidentiality
                                                           of 429. PageID #: 213737
                                                                               Review




    Golkow Litigation Services                                             Page 384
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further385Confidentiality
                                                           of 429. PageID #: 213738
                                                                               Review




    Golkow Litigation Services                                             Page 385
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further386Confidentiality
                                                           of 429. PageID #: 213739
                                                                               Review




     12                    MR. STANNER:       Nothing further.

     13                    (A discussion was held off the record.)

     14                    THE VIDEOGRAPHER:        You want to go off

     15     the record?

     16                    MR. RAFFERTY:       Let's Go off the record,

     17     yeah.

     18                    THE VIDEOGRAPHER:        The time is 5:58 p.m.

     19     We're going off the record.

     20                    (Recess.)

     21                    THE VIDEOGRAPHER:        The time is 6:07 p.m.

     22     We're back on the record.

     23                    MR. RAFFERTY:       Before I get started on

     24     behalf of plaintiffs, does anyone else on the line

    Golkow Litigation Services                                             Page 386
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further387Confidentiality
                                                           of 429. PageID #: 213740
                                                                               Review

      1     or present have any questions of the witness?

      2                    And by virtue of everyone's silence,

      3     I'll proceed.

      4                         REDIRECT EXAMINATION

      5     BY MR. HAWAL:

      6             Q      Mr. Boggs, how many other former DEA

      7     representatives or agents are now employed at

      8     McKesson besides yourself, if you can estimate?

      9             A      About six or seven.

     10             Q      Does that include former DEA attorneys

     11     as well as agents?

     12             A      It did not, but there -- we -- there's

     13     one.

     14             Q      Just one.      And before 2013, do you know

     15     whether any DEA agents were employed at McKesson,

     16     former DEA agents?

     17             A      There's a -- was a diversion

     18     investigator, not a DEA agent, that was employed

     19     by --

     20             Q      Just one?

     21             A      -- prior to my arrival, yes.

     22             Q      Just one.      Okay.

     23                    Well, I heard you say that a company

     24     like McKesson cannot prevent all diversion.                  Is

    Golkow Litigation Services                                             Page 387
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further388Confidentiality
                                                           of 429. PageID #: 213741
                                                                               Review

      1     that -- is that correct?

      2             A      That's correct.

      3             Q      Would you agree, though, that

      4     wholesalers like McKesson can play an important

      5     role in preventing diversion?

      6             A      I would.




     14             Q      I want to take you back to Exhibit 38.

     15                    MR. HAWAL:      If Evan can bring it up.

     16     BY MR. HAWAL:

     17             Q      Which is the November 4th, 2014 letter

     18     from the DEA to Geoffrey Hobart of Covington &

     19     Burling.     Do you recall that Mr. Rafferty asked

     20     you about this letter?

     21             A      I believe so, yes.

     22             Q      In fact, Covington & Burling is the law

     23     firm that represents McKesson and has its counsel

     24     seated directly to your left representing you in

    Golkow Litigation Services                                             Page 388
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further389Confidentiality
                                                           of 429. PageID #: 213742
                                                                               Review

      1     this deposition?

      2                    MR. STANNER:       Objection to the form.

      3                    THE WITNESS:       That's correct.

      4     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 389
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further390Confidentiality
                                                           of 429. PageID #: 213743
                                                                               Review




    Golkow Litigation Services                                             Page 390
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further391Confidentiality
                                                           of 429. PageID #: 213744
                                                                               Review




    Golkow Litigation Services                                             Page 391
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further392Confidentiality
                                                           of 429. PageID #: 213745
                                                                               Review




    Golkow Litigation Services                                             Page 392
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further393Confidentiality
                                                           of 429. PageID #: 213746
                                                                               Review




    Golkow Litigation Services                                             Page 393
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further394Confidentiality
                                                           of 429. PageID #: 213747
                                                                               Review




    Golkow Litigation Services                                             Page 394
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further395Confidentiality
                                                           of 429. PageID #: 213748
                                                                               Review




    Golkow Litigation Services                                             Page 395
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further396Confidentiality
                                                           of 429. PageID #: 213749
                                                                               Review




     10     BY MR. HAWAL:

     11             Q      You're aware, as we discussed earlier,

     12     that McKesson ended up paying a $150 million fine

     13     or penalty as a result of these types of

     14     administrative proceedings that were initiated

     15     against it by the Department of Justice and the

     16     DEA --

     17                    MR. STANNER:       Objection to form.

     18     BY MR. HAWAL:

     19             Q      -- right?

     20                    MR. STANNER:       Objection to form.

     21                    THE WITNESS:       The $150 million fine

     22     would be associated for not reporting suspicious

     23     orders.

     24     BY MR. HAWAL:

    Golkow Litigation Services                                             Page 396
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further397Confidentiality
                                                           of 429. PageID #: 213750
                                                                               Review

      1             Q      And that's exactly what it wasn't doing

      2     in these examples, right?

      3                    MR. STANNER:       Same objection.

      4                    THE WITNESS:       According to the document,

      5     that's correct, yes.

      6     BY MR. HAWAL:

      7             Q      Which you have no basis to refute as you

      8     sit here today, right?

      9             A      I do not.

     10                    MR. STANNER:       Same objections.

     11     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 397
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further398Confidentiality
                                                           of 429. PageID #: 213751
                                                                               Review




    Golkow Litigation Services                                             Page 398
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further399Confidentiality
                                                           of 429. PageID #: 213752
                                                                               Review




     12             Q      So if diversion occurs, it's your

     13     position that it's the pharmacy's fault, not the

     14     distributor's fault, right?

     15                    MR. STANNER:       Objection to the form.

     16     Misstates.

     17     BY MR. HAWAL:

     18             Q      Is that your testimony?

     19                    MR. STANNER:       Same objection.

     20                    THE WITNESS:       Well, I think we were

     21     assuming that on some of these that diversion was

     22     occurring when we don't even know that there's not

     23     evidence in here that diversion was actually

     24     occurring.      In some -- some of them there is, and

    Golkow Litigation Services                                             Page 399
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further400Confidentiality
                                                           of 429. PageID #: 213753
                                                                               Review

      1     some of them there's no information that diversion

      2     has ever occurred at these locations.

      3     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 400
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further401Confidentiality
                                                           of 429. PageID #: 213754
                                                                               Review




    Golkow Litigation Services                                             Page 401
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further402Confidentiality
                                                           of 429. PageID #: 213755
                                                                               Review




    Golkow Litigation Services                                             Page 402
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further403Confidentiality
                                                           of 429. PageID #: 213756
                                                                               Review




      5                    MR. HAWAL:      Move to strike as

      6     nonresponsive.

      7                    MR. STANNER:       Objection.

      8     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 403
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further404Confidentiality
                                                           of 429. PageID #: 213757
                                                                               Review




     14     BY MR. HAWAL:

     15             Q      Well, you can certainly answer the fact

     16     that Mr. Rannazzisi, by virtue of the letters that

     17     he wrote, he considered suspicious order reports

     18     important and valuable, true?

     19                    MR. STANNER:       Objection.

     20     BY MR. HAWAL:

     21             Q      By virtue of what he put in the letters

     22     that you saw, Exhibit 1 and Exhibit 2 or 3.

     23                    MR. STANNER:       Objection to the form.

     24                    THE WITNESS:       I -- I understand what was

    Golkow Litigation Services                                             Page 404
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further405Confidentiality
                                                           of 429. PageID #: 213758
                                                                               Review

      1     in the letters in terms of what he thought about

      2     it, and I would suggest --

      3     BY MR. HAWAL:

      4             Q      It spoke -- spoke for itself.

      5                    THE REPORTER:       You didn't get the rest

      6     out.

      7                    THE WITNESS:       Yeah.    I would suggest if

      8     you want to know what he was thinking about that,

      9     you might have to ask him.

     10     BY MR. HAWAL:

     11             Q      Well, it's evident from the letters that

     12     he wrote what he was thinking, true?

     13                    MR. STANNER:       Objection to the form.

     14                    THE WITNESS:       I -- I will take the

     15     letter at face value, yes.

     16     BY MR. HAWAL:

     17             Q      And he was your supervisor, correct?

     18             A      He was.

     19             Q      He was the head of the Department of

     20     Diversion Control at the DEA the entire time you

     21     were in that department, true?

     22             A      He was.

     23             Q      And in terms of Mr. Rannazzisi's

     24     letters, would -- do you believe it's unusual that

    Golkow Litigation Services                                             Page 405
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further406Confidentiality
                                                           of 429. PageID #: 213759
                                                                               Review

      1     he would have to send repetitive letters to

      2     wholesalers to remind them of their obligations

      3     under the Controlled Substances Act and their

      4     obligations to send suspicious order reports to

      5     the DEA if he didn't believe that that was an

      6     important part of their obligation?

      7                    MR. STANNER:       Object to the form.

      8                    MR. SATIN:      Objection pursuant to Touhy,

      9     don't answer that question.

     10     BY MR. HAWAL:

     11             Q      As you sit here today, and based on what

     12     you know and what you've seen in those letters, do

     13     you believe that he would have sent those letters

     14     if he did not have concerns about McKesson's and

     15     other distributors' failures to live up to their

     16     obligations under the Controlled Substances Act?

     17                    MR. STANNER:       Object to the form of the

     18     question.

     19                    MR. SATIN:      Objection pursuant to Touhy

     20     to the extent it still relies -- the answer relies

     21     on the information you obtained at that time when

     22     you were at the DEA.

     23                    THE WITNESS:       I don't believe I can

     24     answer that question at this time.

    Golkow Litigation Services                                             Page 406
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further407Confidentiality
                                                           of 429. PageID #: 213760
                                                                               Review

      1     BY MR. HAWAL:

      2             Q      Well, since you've left the DEA, has --

      3     has Mr. Rannazzisi or any other DEA representative

      4     sent McKesson a letter saying, We don't want your

      5     suspicious order reports, they're of no value to

      6     us?    Has that ever happened?

      7             A      I'm not familiar with any letters that

      8     have that, no.

      9             Q      If those letters did go to the -- to

     10     McKesson, you would know about it, wouldn't you?

     11                    MR. STANNER:       Object -- object to the

     12     form of the question.

     13     BY MR. HAWAL:

     14             Q      Wouldn't you?

     15             A      I would hope so, yes.

     16             Q      Now, you testified that you send

     17     suspicious order reports that -- that you believe

     18     are legitimate suspicious -- represent suspicious

     19     orders to the DEA as well as suspicious order

     20     reports that you don't believe represent or are

     21     suspicious.      Is that -- is that your statement --

     22     was that your testimony?

     23             A      I don't believe that was my testimony at

     24     all.

    Golkow Litigation Services                                             Page 407
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further408Confidentiality
                                                           of 429. PageID #: 213761
                                                                               Review

      1             Q      Well, I thought you said that you --

      2     with Exhibit -- I can't remember the number, but

      3     the exhibit that your counsel referenced --

      4                    MR. STANNER:       Exhibit 47.

      5     BY MR. HAWAL:




     13     BY MR. HAWAL:

     14             Q      Oh, okay.      Well, did you believe it was

     15     a suspicious order?

     16             A      I believe it was a suspicious order as

     17     that is defined in the regulation, yes.




    Golkow Litigation Services                                             Page 408
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further409Confidentiality
                                                           of 429. PageID #: 213762
                                                                               Review



      2     BY MR. HAWAL:

      3             Q      But you were -- you also would send

      4     reports to the DEA that you thought could

      5     represent diversion -- suspicious order reports

      6     that could represent diversion, true?

      7             A      I --

      8                    MR. STANNER:       Objection to the form.

      9                    THE WITNESS:       I don't believe I said

     10     that at all.

     11     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 409
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further410Confidentiality
                                                           of 429. PageID #: 213763
                                                                               Review




      9     BY MR. HAWAL:

     10             Q      In any event, wholesalers like McKesson

     11     play an integral part of the efforts at preventing

     12     diversion.      True?

     13             A      I believe we --

     14                    MR. STANNER:       Objection to form.

     15                    THE WITNESS:       -- play an important part.

     16     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 410
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further411Confidentiality
                                                           of 429. PageID #: 213764
                                                                               Review




    Golkow Litigation Services                                             Page 411
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further412Confidentiality
                                                           of 429. PageID #: 213765
                                                                               Review




      8     BY MR. HAWAL:

      9             Q      What are you -- are you -- are you

     10     telling us what you understood as a DEA agent at

     11     that time?      Where are -- where are you getting

     12     that information from?

     13                    MR. STANNER:       Objection.      Counsel,

     14     you've asked him to speculate.

     15                    MR. HAWAL:      Well, I understand, but

     16     he's -- he's now telling -- I think he's giving us

     17     information in violation of Touhy without his

     18     counsel even objecting to it.

     19                    MR. SATIN:      Well, then maybe -- I don't

     20     believe so.      I thought your question was asking

     21     for him based on his time at McKesson to be

     22     evaluating what he understood McKesson was doing

     23     during those years that he learned in the course

     24     of his work at McKesson.

    Golkow Litigation Services                                             Page 412
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further413Confidentiality
                                                           of 429. PageID #: 213766
                                                                               Review

      1                    But I will certainly advise you,

      2     Mr. Boggs, not to disclose information that's

      3     non-public and official that you learned while you

      4     were at the DEA and -- and to make that clear.

      5                    MR. HAWAL:      Okay.    P -- P-1431, please.

      6                    (Plaintiffs' Exhibit No. 48 was

      7                    marked for identification.)

      8     BY MR. HAWAL:

      9             Q      Sir, I'm handing you another letter from

     10     the Department of Justice to another lawyer at

     11     your lawyer's law firm, Covington & Burling, dated

     12     March 20th, 2004 -- March 20, 2014.               I'm sorry.




    Golkow Litigation Services                                             Page 413
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further414Confidentiality
                                                           of 429. PageID #: 213767
                                                                               Review




    Golkow Litigation Services                                             Page 414
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further415Confidentiality
                                                           of 429. PageID #: 213768
                                                                               Review




      5     BY MR. HAWAL:

      6             Q      And do you have any documents from the

      7     DEA indicating otherwise?

      8                    MR. STANNER:       Objection to form.

      9                    THE WITNESS:       Not to my knowledge, no.

     10     BY MR. HAWAL:




    Golkow Litigation Services                                             Page 415
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further416Confidentiality
                                                           of 429. PageID #: 213769
                                                                               Review



      2     BY MR. HAWAL:

      3             Q      Were any of the answers that you gave in

      4     your direct examination by your counsel informed

      5     by information that you gained as a DEA

      6     representative?

      7                    MR. STANNER:       Objection to the form of

      8     the question.

      9                    THE WITNESS:       Not that I recall, no.

     10                    MR. STANNER:       Can I ask how long we've

     11     been on the record?

     12                    THE VIDEOGRAPHER:        30 minutes.

     13                    MR. SATIN:      And I think the last

     14     question asked about direct examination by his

     15     counsel.     I never asked him any questions.

     16                    MR. HAWAL:      Yes.

     17                    MR. SATIN:      You're asking about the

     18     direct examination that counsel for McKesson made.

     19                    MR. HAWAL:      Well, Counsel -- yeah,

     20     Counsel --

     21     BY MR. HAWAL:

     22             Q      Let me ask you this, Mr. Boggs.             In your

     23     preparation sessions for this deposition, were you

     24     with counsel for McKesson?

    Golkow Litigation Services                                             Page 416
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further417Confidentiality
                                                           of 429. PageID #: 213770
                                                                               Review

      1             A      I was.

      2             Q      Okay.

      3                    (Plaintiffs' Exhibit No. 49 was

      4                    marked for identification.)

      5     BY MR. HAWAL:

      6             Q      I'm going to hand you what's been marked

      7     as Exhibit 49, which is some e-mails in two

      8     thousand -- March of 2014, when you were with --

      9     an employee of McKesson.




    Golkow Litigation Services                                             Page 417
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further418Confidentiality
                                                           of 429. PageID #: 213771
                                                                               Review




    Golkow Litigation Services                                             Page 418
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further419Confidentiality
                                                           of 429. PageID #: 213772
                                                                               Review




    Golkow Litigation Services                                             Page 419
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further420Confidentiality
                                                           of 429. PageID #: 213773
                                                                               Review




    Golkow Litigation Services                                             Page 420
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further421Confidentiality
                                                           of 429. PageID #: 213774
                                                                               Review




      9     BY MR. HAWAL:

     10             Q      So it's about documentation.

     11             A      Documentation is a requirement of it.

     12     And if the customer had a legitimate need for

     13     that --

     14             Q      Well --

     15             A      -- there was no -- there's nothing

     16     nefarious here.




    Golkow Litigation Services                                             Page 421
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further422Confidentiality
                                                           of 429. PageID #: 213775
                                                                               Review




    Golkow Litigation Services                                             Page 422
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further423Confidentiality
                                                           of 429. PageID #: 213776
                                                                               Review




    Golkow Litigation Services                                             Page 423
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further424Confidentiality
                                                           of 429. PageID #: 213777
                                                                               Review




      9                    MR. STANNER:       I'm sorry, Mr. Hawal, are

     10     you really doing an inquiry about whether or not

     11     this man wants to spend time with his

     12     grandchildren?       Is that how you want to end the

     13     day?

     14                    MR. HAWAL:      Is -- is that on objection

     15     or -- I don't understand.

     16                    MR. STANNER:       Yeah, it's a standing

     17     objection to the line of inquiry, yes.

     18                    MR. HAWAL:      Thank you.

     19                    MR. STANNER:       How much time is left on

     20     the record?

     21                    THE VIDEOGRAPHER:        37 minutes, 50 -- 58

     22     seconds.

     23                    MR. STANNER:       You've got eight seconds.

     24                    MR. HAWAL:      Yeah, I'm waiting for an

    Golkow Litigation Services                                             Page 424
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further425Confidentiality
                                                           of 429. PageID #: 213778
                                                                               Review

      1     answer.

      2                    THE WITNESS:       What was the question?

      3     BY MR. HAWAL:




      8                    MR. HAWAL:      No further questions.

      9                    THE VIDEOGRAPHER:        Off the record.         The

     10     time is 6:45 p.m.        We're going off the record.

     11                    (Whereupon, the deposition of

     12                    GARY L. BOGGS was adjourned at

     13                    6:45 p.m.)

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    Golkow Litigation Services                                             Page 425
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further426Confidentiality
                                                           of 429. PageID #: 213779
                                                                               Review

      1          CERTIFICATE OF CERTIFIED SHORTHAND REPORTER

      2           The undersigned Certified Shorthand Reporter

      3     does hereby certify:

      4           That the foregoing proceeding was taken before

      5     me at the time and place therein set forth, at

      6     which time the witness was duly sworn; That the

      7     testimony of the witness and all objections made

      8     at the time of the examination were recorded

      9     stenographically by me and were thereafter

     10     transcribed, said transcript being a true and

     11     correct copy of my shorthand notes thereof; That

     12     the dismantling of the original transcript will

     13     void the reporter's certificate.

     14           In witness thereof, I have subscribed my name

     15     this date:      January 21, 2019.

     16

     17                             ________________________

     18                             LESLIE A. TODD, CSR, RPR

     19                             Certificate No. 5129

     20     (The foregoing certification of

     21     this transcript does not apply to any

     22     reproduction of the same by any means,

     23     unless under the direct control and/or

     24     supervision of the certifying reporter.)

    Golkow Litigation Services                                             Page 426
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further427Confidentiality
                                                           of 429. PageID #: 213780
                                                                               Review

      1                      INSTRUCTIONS TO WITNESS

      2           Please read your deposition over carefully and

      3     make any necessary corrections. You should state

      4     the reason in the appropriate space on the errata

      5     sheet for any corrections that are made.

      6     After doing so, please sign the errata sheet

      7     and date it.

      8           You are signing same subject to the changes

      9     you have noted on the errata sheet, which will be

     10     attached to your deposition.            It is imperative

     11     that you return the original errata sheet to the

     12     deposing attorney within thirty (30) days of

     13     receipt of the deposition transcript by you. If

     14     you fail to do so, the deposition transcript may

     15     be deemed to be accurate and may be used in court.

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    Golkow Litigation Services                                             Page 427
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further428Confidentiality
                                                           of 429. PageID #: 213781
                                                                               Review

      1                             - - - - - -

      2                             E R R A T A

      3                             - - - - - -

      4     PAGE LINE CHANGE

      5     ____ ____ ________________________________________

      6     REASON: ________________________________________

      7     ____ ____ ________________________________________

      8     REASON: ________________________________________

      9     ____ ____ ________________________________________

     10     REASON: ________________________________________

     11     ____ ____ ________________________________________

     12     REASON: ________________________________________

     13     ____ ____ ________________________________________

     14     REASON: ________________________________________

     15     ____ ____ ________________________________________

     16     REASON: ________________________________________

     17     ____ ____ ________________________________________

     18     REASON: ________________________________________

     19     ____ ____ ________________________________________

     20     REASON: ________________________________________

     21     ____ ____ ________________________________________

     22     REASON: ________________________________________

     23     ____ ____ ________________________________________

     24     REASON: ________________________________________

    Golkow Litigation Services                                             Page 428
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-5
               Confidential           Filed:to07/24/19
                                Subject         Further429Confidentiality
                                                           of 429. PageID #: 213782
                                                                               Review

      1                     ACKNOWLEDGMENT OF DEPONENT

      2           I,___________________________, do hereby

      3     certify that I have read the foregoing pages, and

      4     that the same is a correct transcription of the

      5     answers given by me to the questions therein

      6     propounded, except for the corrections or changes

      7     in form or substance, if any, noted in the

      8     attached Errata Sheet.

      9

     10     __________________________________________________

     11     GARY L. BOGGS                                  DATE

     12

     13

     14     Subscribed and sworn to

     15     before me this

     16     ______day of_______________,20___.

     17     My commission expires:_______________

     18     _____________________________________

     19     Notary Public

     20

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    Golkow Litigation Services                                             Page 429
